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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9   IN RE AMAZON SUBSCRIPTION                     Case No. 2:22-cv-00910-RSM
     SERVICES LITIGATION
10                                                 PLAINTIFFS’ SECOND
                                                   CONSOLIDATED AMENDED CLASS
11
                                                   ACTION COMPLAINT
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                                                   JURY TRIAL DEMANDED
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     PLS.’ SECOND CONSOLIDATED AMENDED CA COMPLAINT               1301 Second Avenue, Suite 2000, Seattle, WA 98101
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 1             For their Second Consolidated Amended Class Action Complaint against defendants

 2   Amazon.com, Inc. and Amazon.com Services LLC (collectively, “Amazon” or “Defendants”),

 3   Plaintiffs Thomas Dorobiala, Mark Daly, Elena Nacarino, Susan Sylvester, Michael

 4   Sonnenschein, and Cynthia Adams (collectively, “Plaintiffs”) allege the following based on

 5   personal knowledge as to their own acts and experiences and, as to all other matters, based on the

 6   investigation of their counsel. Plaintiffs file this consolidated complaint in compliance with the

 7   Court’s February 28, 2024 Order Granting in Part and Denying in Part Defendant’s Motion To

 8   Consolidate and Granting Defendant’s Motion To Supplement, ECF No. 38 (“Consolidation

 9   Order”) and in view of the Court’s order of April 16, 2024, ECF No. 49. All Plaintiffs now proceed

10   on the basis of Washington law and assert a Washington Consumer Protection Act claim as their

11   sole nationwide claim, along with alternative claims based on California, Oregon, and Virginia

12   state laws as alleged herein. Further, Plaintiffs have revised their alternative California Consumer

13   Legal Remedies Act claim per the Court’s order on Defendants’ Motion To Dismiss in the Daly

14   matter. Consolidation Order at 9; Order Denying in Part and Granting in Part Defendants’ Motion

15   To Dismiss First Amended Class Action Complaint, ECF No. 37 (“Order on Daly MTD”), at 19.

16                                         I.      INTRODUCTION

17   A.        Introductory allegations re: Amazon Subscriptions cancellation

18             1.      This matter concerns Amazon Subscriptions, including but not limited to Amazon

19   Prime subscriptions. Other Amazon Subscriptions at issue, as alleged herein, include Amazon

20   Prime Video, Amazon Prime Video Channels, Amazon Music, Amazon Music Unlimited,

21   Amazon Prime Book Box, ComiXology Unlimited, Amazon Subscription Boxes, Blink for Home,

22   Amazon Kids+, Amazon Photos, Kindle Unlimited, Audible, and Audible Premium Plus.1

23             2.      Amazon.com, Inc. is the largest online retailer in the United States and worldwide.

24   It’s also a prominent provider of cloud and web-based products and services, including

25   subscriptions such as Amazon Prime. While Amazon is open to all shoppers, it offers benefits,

26
27        Plaintiffs’ alternative claim for relief pursuant to California’s Consumers Legal Remedies
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     Act (“CLRA”), Cal. Civ. Code §§ 1750, et seq., is not based upon Amazon’s ComiXology, Blink,
28   Prime Video Channels, or Book Box subscriptions.

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 1   including free shipping on Prime items, to its 163 million U.S. Prime subscribers.2

 2             3.      Plaintiffs begin by focusing on Prime subscriptions in part because Amazon collects

 3   $25 billion a year globally in Prime subscription fees, with U.S. subscribers accounting for about

 4   three-quarters of its subscription revenue.3 Amazon values its Prime members not only for the

 5   subscription fees it collects from them, currently $139 a year, but also because Prime members

 6   spend more than twice as much as other Amazon customers, averaging about $1,400 per year.4

 7             4.      Having so many Prime members also increases Amazon’s share of online retail

 8   commerce. On average Prime members in the U.S. do 53% of their shopping online and make

 9   most of their online purchases on Amazon.5 Among Prime members, 92% look forward to being

10   able to order all goods through one retailer and 93% are more likely to buy from Amazon Prime

11   than directly from a retailer’s online site.6

12             5.      Amazon also values Prime members for the wealth of data they provide Amazon. 7

13   As the Guardian reports, “whether it’s the shopping app, the Kindle e-reader, the Ring doorbell,

14   Echo smart speaker or the Prime streaming service,” the more you use them, “the more their

15   algorithms can infer what kind of person you are and what you are most likely to buy next.”8

16             6.      Because Prime members are so valuable to Amazon, it is loath to let them go. And

17   it shows. Cancelling Prime “requires multiple steps of confirmation offers before one can

18

19       2
          David Chang, The average Amazon Prime member spends this much per year, MOTLEY FOOL
20   (July 22, 2022), https://www.fool.com/the-ascent/personal-finance/articles/the-average-amazon-
     prime-member-spends-this-much-per-year/.
21       3
           Brian Dean, Amazon Prime User and Revenue Statistics (2022), BACKLINKO (Jan. 5, 2022),
     https://backlinko.com/amazon-prime-users.
22
         4
             Chang, supra, n.2.
23       5
           Patrick Munden, The Amazon Prime Effect – setting a new standard for customer loyalty,
24   WUNDERMAN THOMPSON, https://www.wundermanthompson.com/insight/the-amazon-prime-
     effect (last accessed Nov. 8, 2022).
25       6
             Id.
26       Kate O’Flaherty, The data game: what Amazon knows about you and how to stop it, THE
         7

     GUARDIAN (Feb. 27, 2022), https://www.theguardian.com/technology/2022/feb/27/the-data-
27   game-what-amazon-knows-about-you-and-how-to-stop-it.
         8
28           Id.

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 1   ultimately pull the plug on the ongoing fee.”9 In effect, the process tests the Prime member’s will

 2   to quit Amazon.

 3             7.      The hurdles to cancellation are intentional. In March 2022, Business Insider

 4   reviewed internal Amazon documents admitting that for several years and continuing today,

 5   Amazon has engaged in willfully deceptive practices to keep its Prime members locked into their

 6   memberships.10 The documents refer to a secret project known as “Project Iliad,” which Amazon

 7   implemented to thwart Prime membership cancellations by adding multiple layers of questions

 8   and new offers before a Prime member could cancel their subscription.11 The project was a success.

 9   After launching Project Iliad, Amazon managed to reduce the number of Prime cancellations by

10   14% at one point in 2017 as fewer members managed to reach the final cancellation page.12

11             8.      This layered and confusing cancellation process relies on “dark patterns,” i.e.,

12   methods of deception derived from behavioral psychology that exploit cognitive biases to

13   influence and manipulate consumer choices. “Dark patterns are design features used to deceive,

14   steer, or manipulate users into behavior that is profitable for an online service, but often harmful

15   to users or contrary to their intent . . . . This could include using buttons with the same style but

16   different language, a checkbox with double negative language, disguised ads, or time pressure

17   designed to dupe users into clicking, subscribing, consenting, or buying.”13

18             9.      As explained in a January 2021 report by the Norwegian Consumer Council,

19   Amazon employs dark patterns in the wording, graphic design, and redundancies which Amazon

20
         Gerald Lynch, Amazon Prime memberships are now harder to cancel—and it’s no accident,
         9
21   TECH RADAR (Mar. 17, 2022), https://www.techradar.com/news/amazon-prime-memberships-are-
     now-harder-to-cancel-and-its-no-accident.
22       10
            Hannah Towey & Eugene Kim, Amazon used a sneaky tactic to make it harder to quit Prime
23   and cancellations dropped 14%, according to leaked data, BUSINESS INSIDER (Mar. 16, 2022),
     https://www.businessinsider.com/amazon-project-iliad-made-cancel-prime-membership-harer-
24   leaked-data-2022-3.
         11
              Id.
25
         12
              Id.
26       13
           Rohit Chopra, Statement of Commissioner Rohit Chopra Regarding Dark Patterns in the
27   Matter of Age of Learning, Inc., FTC File No. 1723186 (Sept. 2, 2020), https://www.ftc.gov/
     system/files/documents/public_statements/1579927/172_3086_abcmouse_-_rchopra_
28   statement.pdf.

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 1   employs to make its cancellation process needlessly difficult, time-consuming, and frustrating to

 2   users.14 To begin with, whereas signing up with Amazon is simple and intuitive, cancellation

 3   involves navigating through three pages or “clicks,” just to start the process. Users who want to

 4   unsubscribe first need to log in to their Amazon account, navigate to the Amazon account menu,

 5   and find the “Prime membership” option:15

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           Forbrukerrådet, You Can Log Out, But You Can Never Leave. How Amazon manipulates
25   consumers to keep them subscribed to Amazon Prime (Jan. 14, 2021), https://storage.for
     brukerradet.no/media/wp-content/uploads/2021/01/2021-01-14-you-can-log-out-but-you-can-
26   never-leave-final.pdf.
         15
27         Complaint filed against Amazon by the Electronic Privacy Information Center (EPIC) with
     the D.C. Attorney General, at Figures E-G (Feb. 23, 2021), available at https://epic.org/privacy/
28   dccppa/amazon/EPIC-Complaint-In-Re-Amazon.pdf (hereafter “EPIC Complaint”).

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22            10.      Notably, the third page, which the user gets to by clicking the “Manage

23   membership” button, is confusingly labeled “Membership Sharing” and prompts the user in the

24   first instance to “Share your benefits,” whereas the “End Membership” button is at the bottom of

25   the page after the prompt “Remind me before renewing.” This pattern of multiple redundant layers

26   and needless sidetracks, which Amazon uses throughout the cancellation process, is a dark pattern

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     known as a “‘roach motel,’ where it is easy to get in, but almost impossible to escape.”16 Whereas
 2
     signing up with Amazon requires only a few clicks, that is not the case for cancellation.17
 3
               11.         The “End Membership” button is also accompanied by a warning that “[b]y ending
 4
     your membership you will lose access to your Prime benefits.” This vague warning is an example
 5
     of a dark pattern known as confirm-shaming, which Amazon’s cancellation process also frequently
 6
     relies on.18 This dark pattern exploits a cognitive bias of loss aversion, where the disadvantages of
 7
     leaving a service appear more prominent than the advantages, so that individuals have a strong
 8
     tendency to remain at the status quo (i.e., subscribed to the service).19 Amazon exploits the user’s
 9
     fear of missing out on benefits to undermine the user’s resolve to cancel the Prime membership.20
10
               12.         After clicking on the “End Membership” button, canceling a Prime subscription
11
     further requires multiple clicks, decisions, and confirmations. Prime members are required to
12
     navigate as many as six additional webpages, and along the way Amazon provides confusing or
13
     manipulative messages.21 Business Insider reported that when its reporter clicked on the “End
14
     Membership” button, the first prompt said “don’t give up on movie night” and notified her of the
15
     number of days left until the next billing cycle.22 The complaint filed by the Electronic Privacy
16
     Information Center (EPIC) with the Attorney General of the District of Columbia reported similar
17
     prompts:23
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21       16
              EPIC Complaint ¶ 17 n.27 (quotation omitted).
         17
22            Id. ¶ 9.
         18
              Forbrukerrådet, supra, n.14, at 19.
23
         19
              Id. at 6.
24       20
              Id. at 19.
25       21
          Emma Woollacott, Amazon Prime Too Hard To Cancel, Consumer Watchdog Complains,
     FORBES (Jan. 14, 2021), https://www.forbes.com/sites/emmawoollacott/2021/01/14/amazon-
26   prime-too-hard-to-cancel-consumer-watchdog-complains/.
27       22
              Towey & Kim, supra, n.10.
         23
28            EPIC Complaint, figure H.

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14             13.         Amazon continues with further confirm-shaming and visual interferences to divert

15   the Prime member from giving up his or her subscription.24 For example, clicking on any of the

16   warnings of lost benefits takes the user to a different Amazon page and stops the cancellation

17   process.25

18             14.         If Prime members persist, after scrolling past the list of benefits that will be lost,

19   they will be faced with multiple choices on the next page, along with further graphics and

20   description of Prime membership benefits.26

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26       24
              Forbrukerrådet, supra n.14, at 21.
27       25
              Id. at 19.
         26
28            EPIC Complaint, figure I.

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14             15.        The first button, which is colored bright blue, states “Use your benefits today.”
15   This is followed by three yellow buttons. The first yellow button, “Keep My Benefits,” cancels the
16   process, meaning that the user stays subscribed to Amazon Prime. The second yellow button,
17   “Cancel My benefits,” continues the process to unsubscribe. Here, Amazon creates uncertainty by
18   changing the names of the buttons. On a previous page, the cancellation button was neutrally titled
19   “End Membership,” but on this page the user must select “Cancel My Benefits” to proceed to
20   cancellation. Changing the wording to “Cancel My Benefits” frames the option negatively and
21   uses confirm-shaming to make the user feel like they will lose out if they continue the process to
22   cancel the subscription.27 The third yellow button, “Remind Me Later,” is highlighted as a default
23   option, which further exploits the user’s bias towards the status quo: it does not require any action
24   by the user and offers to provide a reminder three days before the membership renews.28
25

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27       27
              Forbrukerrådet, supra, n.14, at 20.
         28
28            Id. at 6.

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 1             16.     After clicking the “Cancel My Benefits” button, the user is taken to a new page,

 2   where he or she is told how much money could be saved by switching to an annual membership

 3   (if currently a monthly subscriber) or is prompted to switch to a monthly subscription (if currently

 4   an annual subscriber): 29

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28            Forbrukerrådet, supra, n.14, at 21; EPIC Complaint, figure J.

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 1
               17.     These pages include a yellow triangle with the accompanying warning that “Items
 2
     tied to your Prime membership will be affected if you cancel your membership.” It is not
 3
     immediately clear what benefits or items will be affected, and in what way, which is likely to cause
 4
     unease at the prospect of losing access to paid services (for example, purchased e-books or
 5
     movies). This warning is followed by another alert that “[b]y cancelling, you will no longer be
 6
     eligible for your unclaimed Prime exclusive offers,” along with more graphics, which the user
 7
     must scroll past to proceed to cancellation.
 8
               18.     The next page reiterates the prompt to switch subscription types: 30
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23             19.     Like a previous page, it again offers three buttons to choose from, but this page

24   varies the language and presents the options in a slightly different order. The first two options,

25   “Keep My Membership” (no longer referring to the subscription as “Benefits”) and “Remind Me

26   Later” divert the user from the cancellation process. Clicking on “Continue to Cancel,” the third

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         30
28            EPIC complaint, figure K.

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 1   button (on a previous page it was the second option) allows the user to continue the cancellation:

 2             20.     The last prompt asks users to confirm the cancellation of their membership:31

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23             21.     Amazon again combines the vague warnings of lost benefits with the option of

24   retaining the subscription or postponing the decision to a later date. The first three yellow buttons

25   on the page offer to pause or keep the membership, or be reminded later, and further down the

26   page are two final yellow buttons listing different options of when to cancel the membership.
27
         31
28            Towey & Kim, supra, n.10.

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 1   Clicking on any of the warnings or the alternative means of managing the user’s membership (like

 2   pausing the membership) takes the user to a different Amazon page and stops the cancellation

 3   process.32

 4             22.     At this point in the procedure, the user has already confirmed multiple times the

 5   desire to cancel his or her Prime subscription. But unless the user clicks the “End Now” button on

 6   this final page, the user remains subscribed with Amazon Prime.

 7             23.     The consumer group EPIC describes Amazon’s convoluted cancellation process as

 8   a misdirection designed to foster uncertainty about the choice to cancel Amazon Prime.33 EPIC

 9   submitted a joint letter with other consumer groups to request that the FTC investigate Amazon’s

10   employment of dark patterns in the Amazon Prime subscription cancellation process, which the

11   agency acted on. 34 As part of its investigation, the FTC subpoenaed 20 current and former Amazon

12   employees and executives to testify, including Amazon founder Jeff Bezos and current Amazon

13   CEO Andy Jassy.35 As part of its probe, the FTC asked Amazon to identify its executives who use

14   disappearing messaging apps to talk about things like Prime program enrollment and cancellation

15   processes and to provide the agency a log of those messages.36

16             24.     At the same time as the FTC initiated proceedings in the United States, the EU

17   Commission also launched a probe into Amazon’s conduct.37 As part of its cooperation with

18   European authorities, Amazon began modifying its Prime web interface last year, labelling the

19
         32
              Forbrukerrådet, supra, n.14, at 19.
20
         33
              EPIC complaint ¶14.
21       34
           EPIC, Press Release, D.C. Attorney General Files Antitrust Suit Against Amazon (May 25,
22   2021), available at https://epic.org/d-c-attorney-general-files-antitrust-suit-against-amazon/
         35
            Marcy Gordon, Amazon: FTC probe hounding Bezos, execs; subpoenas too broad, AP WIRE,
23   (Aug. 17, 2022) https://apnews.com/article/technology-amazoncom-inc-subpoenas-federal-trade-
     commission-5a2ab123f8b395b4bb19949c7a70ee90; Eugene Kim & Katie Canales, If Jeff Bezos
24   or Amazon executives like CEO Andy Jassy used vanishing messages to discuss Prime, the FTC
     wants them handed over as it investigates the company’s sign-up tactics, YAHOO! (Aug. 16, 2022),
25   https://www.yahoo.com/news/jeff-bezos-amazon-executives-ceo-203730883.html.
26       36
              Kim & Canales, supra, n.35.
         37
27         European Commission, Press Release, Consumer protection: Amazon Prime changes its
     cancellation practices to comply with EU consumer rules (July 1, 2022), https://ec.europa.eu
28   /commission/presscorner/detail/en/ip_22_4186.

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 1   cancel button more clearly and shortening the explanatory text.38 In July 2022, to comply fully

 2   with the agency, Amazon also eliminated distracting warnings that deterred consumers from

 3   cancelling, so that European consumers can now cancel their Prime subscription within two clicks,

 4   using a prominent and clear “cancel button.”39 However, these changes apply only to Prime

 5   members in Amazon’s European online marketplaces. Amazon’s dark patterns continue unabated

 6   in the U.S.40

 7   B.         Allegations as to alternative claims for relief

 8              25.    As indicated above, Amazon sells other subscriptions beyond Amazon Prime.

 9   More generally, and as relevant to all Plaintiffs’ claims, including the alternative claims brought

10   by the Oregon, California, and Virginia Plaintiffs, when consumers sign up for the Amazon

11   Subscriptions, Defendants actually enroll consumers in a program that automatically renews the

12   Amazon Subscriptions from month-to-month or year-to-year and results in monthly or annual

13   charges to the consumer’s credit card, debit card, or third-party payment account (“Payment

14   Method”). In doing so, Defendants fail to provide the requisite disclosures and authorizations

15   required to be made: to California consumers under California’s Automatic Renewal Law (the

16   “California ARL”), Cal. Bus. Prof. Code §§ 17600, et seq., in violation of California’s Unfair

17   Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq. (among other California

18   statutes); to Oregon consumers under Oregon’s Automatic Renewal Law (the “Oregon ARL”),

19   ORS 646A.295, in violation of Oregon’s Unlawful Trade Practices Act (“UTPA”), ORS

20   646.608(1)(ttt), and under Oregon’s Free Offer Law (“FOL”), ORS 646.644, in violation of the

21   UTPA, ORS 646.608(1)(sss); and to Virginia consumers under Virginia’s Automatic Renewal

22   Law (the “Virginia ARL”), Va. Code §§ 59.1-207.45, et seq., in direct violation of Virginia’s

23   Consumer Protection Act (“VCPA”), Va. Code § 59.1-200(A)(58); see also id. § 59.1-207.49.

24

25        38
               Id.
26        39
               Id.
27         Natasha Lomas, Amazon agrees to drop Prime cancellation ‘dark patterns’ in Europe,
          40

     TECHCRUNCH (July 1, 2022), https://techcrunch.com/2022/07/01/amazon-ends-prime-
28   cancellation-dark-patterns-europe/.

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 1            26.      Amazon is the world’s largest online retailer and a prominent provider of cloud

 2   and web-based products and services, including the Amazon Subscriptions.41 Defendants are thus

 3   considered “one of the most influential economic and cultural forces in the world,”42 and Amazon

 4   is regarded as one of the world’s most valuable brands.43 Relevant here, Defendants own and

 5   operate the Amazon Subscriptions. Defendants also own and operate the Amazon Platform, which

 6   is accessible via the Amazon Website or the Amazon Apps.

 7            27.      Through the Amazon Platform, Defendants market, advertise, and sell to

 8   consumers in California, Oregon, and throughout the United States paid memberships to the

 9   Amazon Subscriptions, among other things, including without limitation, the following automatic

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           See ZD Net, Amazon AWS: The complete business guide to the world’s leading cloud service
     provider (Mar. 29, 2021), https://www.zdnet.com/article/amazon-aws-everything-you-should-
20   know-about-the-largest-cloud-provider/ (“Amazon is the company most associated with ‘the
     cloud,’ in the minds of the general public. It also happens to be the world’s largest e-retailer.
21   Today, Amazon Web Services (AWS) is the world’s largest provider of computing services
     accessible through the Web, from globally distributed servers in highly automated data centers. …
22   Amazon Web Services, as was evident from the division’s original name, enables Web sites to be
     hosted remotely. Since its inception, though, AWS has grown into the world’s principal provider
23   of virtual infrastructure—the operating systems, hypervisors, service orchestrators, monitoring
     functions, and support systems upon which the economy of the public cloud is based.”) (emphasis
24   added).
25       42
           PBS, Amazon Empire: The Rise and Reign of Jeff Bezos (Feb. 18, 2020), https://www.
     pbs.org/wgbh/frontline/film/amazon-empire/.
26       43
           See Cision PR Newswire, Accelerated Growth Sees Amazon Crowned 2019’s BrandZ™ Top
27   100 Most Valuable Global Brand (June 11, 2019), https://www.prnewswire.com/news-
     releases/accelerated-growth-sees-amazon-crowned-2019s-brandz-top-100-most-valuable-global-
28   brand-300863486.html.

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 1   renewal programs: Amazon Prime44, Amazon Prime Video45, Amazon Prime Video Channels46,

 2   Amazon Music Unlimited47, Amazon Prime Book Box48, Amazon Kids+49, Kindle Unlimited50,

 3

 4       44
             Amazon Prime (or “Prime”) is a subscription-based automatic renewal program that
     provides paying subscribers in the United States with benefits otherwise unavailable to other
 5   Amazon customers without a paid Prime subscription, including Amazon Prime Video. Currently,
     a standard Prime subscription costs $14.99 per month or $139 per year.                    See
 6   https://www.amazon.com/gp/help/customer/display.html?nodeId=G34EUPKVMYFW8N2U.
     Additionally, Defendants offer a discounted Amazon Prime Student membership, which currently
 7   costs $7.49 per month or $69 per year. See id.; see also https://www.amazon.com/amazon
     prime?ref_=nav_cs_primelink_nonmember.
 8
         45
            Amazon Prime Video (or “Prime Video”), which is offered as a standalone subscription or
 9   as part of the Prime subscription, primarily distributes films and television series produced by
     Amazon Studios or licensed to Amazon, as Amazon Originals, with the service also hosting
10   content from other providers, content add-ons, live sporting events, and video rental and
     purchasing services. As a standalone subscription, Prime Video automatically renews at a standard
11   rate of $8.99 per month.
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           Amazon Prime Video Channels (or “Prime Video Channels”) are optional content add-on
     subscriptions available, for an additional monthly fee, to consumers with a pre-existing Prime or
13   Prime Video subscription. Prime Video Channels subscriptions provide on-demand or live
     streaming access to TV shows, movies, and other video content from over 100 premium third-
14   party networks and other streaming entertainment channels, such as Epix, Starz, Discovery+,
     Cinemax, Curiosity Stream, Tastemade, Showtime, BET+, Paramount+, CBS All Access,
15   Cinemax, and more. Prime Video Channel subscriptions renew on a monthly basis at various rates
     ranging from $3 to $29 per month, depending on the channel.
16       47
           Amazon Music Unlimited (or “Music Unlimited”) is a premium music subscription service
     featuring “75 million songs and thousands of expert-programmed playlists and stations.” Amazon
17   Music FAQs, https://www.amazon.com/b?ie=UTF8&node=15730321011#amu (last accessed
     June 13, 2022); see also https://www.amazon.com/music/unlimited/?_encoding=UTF8&ref_=
18   sv_dmusic_1. Prime members can enroll in a Music Unlimited subscription at the renewal rate of
     $7.99 per month or $79 per year. Id. Non-Prime customers pay $9.99 per month. Id.
19
         48
            Amazon Prime Book Box (or “Prime Book Box”) is an automatically renewing subscription
20   program available, for an additional monthly fee, exclusively to Amazon Prime members, which
     delivers a box of children’s books to customers on monthly intervals. With Prime Book Box,
21   subscribers receive a delivery of curated children’s books every 1, 2, or 3 months, depending on
     the user’s selection.           See https://www.amazon.com/dp/B072J4QS9F/ref=insider_ar_
22   reading_prbookboxlaunch. Each Prime Book Box costs $22.99 per box (plus tax), and contains
     four board books or beautiful hardcover books. See id.; Introducing Amazon Prime Book Box,
23   https://www.amazon.com/primeinsider/reading/prime-book-box-launch.html.
24
         49
            Amazon Kids+ (formerly “FreeTime Unlimited”) is a paid subscription that provides kids
     aged 3 to 12 years access to age-appropriate books, movies, and TV shows. Prime members can
25   enroll in a Music Unlimited subscription at the renewal rate of $4.99 per month or $48 per year,
     plus applicable taxes. See https://www.amazon.com/ftu/home. Non-Prime customers pay $7.99
26   per month plus tax. Id.
         50
           Kindle Unlimited is an automatically renewing subscription program that provides paying
27   subscribers access to an unlimited quantity of eBooks and audiobooks, and up to three magazine
     subscriptions, which the subscriber may download and retain. Kindle Unlimited costs $9.99 per
28   month, plus applicable taxes. See https://www.amazon.com/Kindle-eBooks/b?ie=UTF8&node
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 1   Audible51, ComiXology Unlimited52, Amazon Subscription Boxes53, Blink for Home54, and

 2   Amazon Photos55 (collectively, the “Amazon Subscriptions”).

 3            28.      To sign up for any of Defendants’ Amazon Subscriptions through the Amazon

 4   Platform, customers provide Defendants with their billing information and Defendants then

 5

 6   =18473854011.
 7       51
            Audible is a subscription-based automatic renewal program that allows paid subscribers to
     access and stream audiobooks or other forms of spoken word content from Defendants’ expansive
 8   “Plus Catalog” (i.e., the library of content available to paid Audible subscribers). Audible is
     offered in three different tiers: Audible Plus, Audible Premium Plus, and Audible Premium Plus
 9   Annual. Currently, Audible Plus costs $7.95 per month, Audible Premium Plus costs $14.95 per
     month, and Audible Premium Plus Annual costs $149.50 per year.                              See
10   https://www.amazon.com/hz/audible/mlp/compare;           https://www.amazon.com/hz/audible/mlp/
     membership/premiumplus/prime.
11       52
           ComiXology Unlimited is an automatically renewing subscription program that provides
12   paying subscribers access to a growing selection of thousands of titles, including comic books,
     graphic novels, and manga. See Learn About ComiXology Unlimited, https://www.amazon.com/
13   gp/help/customer/display.html?nodeId=GMQTKN5RM78V9393.               Currently, a Comixology
     Unlimited costs $5.99 per month, plus applicable tax. See id.; see also https://www. amazon
14   .com/kindle-dbs/cu/signup/?_encoding=UTF8&ref_=sv_kstore_cmx_3.
         53
           Amazon Subscription Boxes are automatically renewing subscription programs that provide
15   paying subscribers monthly deliveries of curated products within themed product categories such
     as beauty, grocery & snacks, lifestyle, toys, and more. Amazon offers more than 200 different
16   monthly subscription boxes, including those from qualified third-party sellers. See forb.
17       54
             Blink for Home (or “Blink”) is an automatically renewing subscription program that
     provides paying subscribers with extra features and benefits to be used with Blink-branded smart
18   home security devices. See https://www.amazon.com/b?ie=UTF8&node=21154643011. Blink
     subscription plans are only sold and managed on Amazon.com, see https://support.blinkfor
19   home.com/en_US/subscriptions/purchasing-a-blink-subscription-plan-through-amazon, and are
     offered in two different tiers: Blink Subscription Basic and Blink Subscription Plus. See
20   https://www.amazon.com/b?ie=UTF8&node=21154643011. Blink Subscription Basic covers
     currently costs $3 per month or $30 per year and includes 90 minutes continuous, motion detection
21   video recording, live view recording, 60-day unlimited video history, rapid video access (whereby
     paying subscribers may instantly watch videos as soon as they are recorded), and video sharing.
22   Id. Additionally, for paying subscribers with Blink Indoor and Outdoor cameras and/or the new
     Blink Video Doorbell, the Blink Subscription Basic provides photo capture, whereby images are
23   captured periodically for more coverage. Id. Blink Subscription Plus currently costs $10 per
     month or $100 per year and includes all the benefits of the Basic plan, in addition to the ability to
24   activate video recording for an unlimited number of devices per account (whereas the Basic
     subscription plan only covers 1 supported Blink device, an extra 10% off Blink devices at
25   Amazon.com, and extended warranty coverage. Id.
         55
26         Amazon Photos is a secure online subscription storage service for photos and videos. While
     all Amazon customers get 5GB of storage, and Prime subscribers get unlimited photo storage and
27   5GB of video storage, Defendants also offer a range of extra storage plans at an additional monthly
     or annual fee to Prime subscribers who want an Amazon Photos membership with the capacity to
28   store more than 5GB of video.

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 1   automatically charge customers’ Payment Method as payments are due, typically on a monthly or

 2   annual basis. Thus, Defendants have made the deliberate decision to charge Plaintiffs and other

 3   similarly situated customers on a monthly or yearly basis, relying on consumer confusion and

 4   inertia to retain customers, combat consumer churn, and bolster their revenues.

 5            29.      Pursuant to the California, Oregon, and Virginia ARL, online retailers who offer

 6   automatically renewing subscriptions to California, Oregon, and Virginia consumers must provide

 7   an acknowledgment that includes clear and conspicuous disclosures regarding the required offer

 8   terms and identifies a cost-effective, timely, and easy-to-use mechanism for consumers to cancel

 9   their subscriptions, see Cal. Bus. & Prof. Code § 17602(a)(3), (b); see also ORS 646A.295(1)(c),

10   (2); see also Va. Code § 59.1-207.46(A)(3), (B). See also Cal. Bus. & Prof. Code § 17601(b)(1)-

11   (5) (setting forth definition of “Automatic renewal offer terms” as used in Cal. Bus. & Prof. Code

12   § 17602); ORS 646A.293(5)(a)-(e) (setting forth definition of “offer terms” as used in ORS

13   646A.295); Va. Code § 59.1-207.45 (setting forth definition of “Automatic renewal offer terms”

14   as used in Va. Code § 59.1-207.46). Further, if the offer includes a free trial, the retailer or supplier

15   must disclose in the acknowledgment how to cancel the free trial before the consumer pays or

16   becomes obligated to pay for the goods or services. See Cal. Bus. & Prof. Code § 17602(a)(3);

17   ORS 646A.295(1)(c); Va. Code § 59.1-207.46(A)(3).

18            30.      In addition to the “cost-effective, timely, and easy-to-use” requirement noted

19   above, the California and Virginia ARL also require that the cancellation mechanism itself meet

20   certain additional criteria. For example, the California ARL mandates that “a business that allows

21   a consumer to accept an automatic renewal or continuous service offer online shall allow a

22   consumer to terminate the automatic renewal or continuous service exclusively online, at will, and

23   without engaging any further steps that obstruct or delay the consumer’s ability to terminate the

24   automatic renewal or continuous service immediately.” Cal. Bus. & Prof. Code § 17602(d)(1)

25   (emphasis added); id. (further specifying that the online “method of termination” must be “in the

26   form of either … [a] prominently located direct link or button which may be located within either
27   a customer account or profile, or within either device or user settings[; or] … [b]y an immediately

28   accessible termination email formatted and provided by the business that a consumer can send to

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 1   the business without additional information”) (emphasis added). Similarly, under the Virginia

 2   ARL, “[e]ach supplier making automatic renewal or continuous service offers through an online

 3   website shall make available a conspicuous online option to cancel a recurring purchase of a good

 4   or service.” Va. Code § 59.1-207.46(B) (emphasis added).

 5            31.      Consumers purchasing the Amazon Subscriptions do so either by choosing a free

 6   trial that automatically renews with a paid subscription at the end of the trial period, or a paid

 7   monthly or annual subscription (at either the full standard recurring rate that Defendants ordinarily

 8   charge, or at a promotional or discounted rate that remains static for a limited period of time, after

 9   which period the subscription then automatically renews at the full standard rate). As will be

10   discussed in detail below, the acknowledgment requirement and cancellation process for the

11   Amazon Subscriptions on the Amazon Platform uniformly violates the core requirements of the

12   California, Oregon, and Virginia ARL.

13            32.      Specifically, Defendants systematically violate the California, Oregon, and

14   Virginia law by failing to provide an acknowledgment that includes the automatic renewal offer

15   terms and information regarding how to cancel in a manner that is capable of being retained by

16   the consumer, in violation of California’s ARL under Cal. Bus. & Prof. Code § 17602(a)(3),

17   Oregon’s ARL under ORS 646A.295(1)(c), and Virginia’s ARL under Va. Code § 59.1-

18   207.46(A)(3). The acknowledgment also fails to disclose a toll-free telephone number or describe

19   another cost-effective, timely, and easy-to-use mechanism for cancellation, and in fact Defendants

20   make it exceedingly difficult and unnecessarily confusing for consumers to cancel their Amazon

21   Subscriptions, in violation of California’s ARL under Cal. Bus. & Prof. Code § 17602(c),

22   Oregon’s ARL under ORS 646A.295(2), and Virginia’s ARL under Va. Code § 59.1-207.46(B).

23   Defendants’ online cancellation mechanism is also not prominent, conspicuous, or otherwise

24   provided in a form that complies with the criteria set forth by the California and Virginia ARL

25   under Cal. Bus. & Prof. Code § 17602(d)(1)(A)-(B) and Va. Code § 59.1-207.46(B), respectively.

26            33.      As a result, all goods, wares, merchandise, or products sent to Plaintiffs and the
27   Class under the automatic renewal or continuous service agreements are deemed to be

28   “unconditional gifts” under the California, Oregon, and Virginia ARL. Cal. Bus. & Prof. Code

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 1   § 17603; ORS 646A.295(5); Va. Code § 59.1-207.47.

 2            34.      For the foregoing reasons, Plaintiffs bring this action individually and on behalf of

 3   all similarly situated purchasers of any of Defendants’ Amazon Subscriptions from the Amazon

 4   Platform who, within the applicable statute of limitations periods, up to and including the date of

 5   judgment in this action, incurred unauthorized fees for the renewal of their Amazon Subscriptions

 6   in violation of Washington law. Based on Defendants’ unlawful conduct, Plaintiffs seek damages,

 7   restitution, declaratory relief, injunctive relief, and reasonable attorneys’ fees and costs pursuant

 8   to Washington laws as alleged herein.

 9            35.      In the alternative, based on Defendants’ unlawful conduct, Plaintiffs seek actual,

10   compensatory, and/or statutory damages, restitution, declaratory relief, injunctive relief, and

11   reasonable attorneys’ fees and costs, for: (i) violation of Oregon’s Unlawful Trade Practices Act

12   (the “UTPA”), ORS 646.608(1)(ttt); (ii) violation of Oregon’s UTPA, ORS 646.608(1)(sss);

13   (iii) violation of California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200,

14   et seq.; (iv) violation of California’s False Advertising Law (“FAL”), Cal. Bus. & Prof. Code

15   §§ 17500, et seq.; (v) violation of California’s Consumers Legal Remedies Act (“CLRA”), Cal.

16   Civ. Code §§ 1750, et seq.56; and (vi) violation of Virginia’s Consumer Protection Act (the

17   “VCPA”), Va. Code § 59.1-207.45(A)(58).57

18
         56
           As noted above, Plaintiffs’ alternative claim for relief pursuant to the CLRA only concerns
19   Amazon Prime, Amazon Prime Video, Amazon Music, Amazon Music Unlimited, Amazon
     Subscription Boxes, Amazon Kids+, Amazon Photos, Kindle Unlimited, Audible, and Audible
20   Premium Plus (the “CLRA Products”). Amazon’s ComiXology Unlimited, Blink for Home,
     Amazon Prime Video Channels, Amazon Prime Book Box subscriptions are not at issue with
21   respect to Plaintiffs’ CLRA claims.
22       Plaintiffs’ UTPA, UCL, FAL, and CVPA claims, on the other hand, concern each of the 15
     Amazon Subscriptions enumerated above, as the enrollment process, renewal terms, cancellation
23   policies, and Acknowledgment Emails for all such Amazon Subscriptions are substantially similar.
     See Order on Daly MTD at 8 (“Here, the Court finds that Plaintiffs plausibly allege that the
24   enrollment process, renewal terms, cancellation policies, and Acknowledgment Emails for all
     Amazon Subscriptions at issue are ‘similar enough that certification of a class including
25   subscribers of all [Amazon] Subscriptions would be appropriate.’ The ultimate decision of
     similarity is better suited for class certification.”) (internal citations omitted).
26       57
            As set forth below, Plaintiffs bring these alternative claims on behalf of an Oregon Class and
     Subclass, a California Class, and a Virginia Class of similarly situated consumers. Specifically,
27   Plaintiff Daly seeks to represent a class of all Oregon consumers who enrolled in any of the
     Amazon Subscriptions—and a subclass of Oregon class members who initially enrolled in a free
28   trial to any of the Amazon Subscriptions—and who incurred fees within the one-year statutory
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 1                                          II.         JURISDICTION

 2             36.     This Court has subject matter jurisdiction pursuant to the Class Action Fairness Act

 3   of 2005, 28 U.S.C. § 1332(d) because at least one Class member is of diverse citizenship from

 4   Amazon, there are more than 100 Class members nationwide, and the aggregated amount in

 5   controversy exceeds $5,000,000, exclusive of interest and costs.

 6             37.     Plaintiffs are residents of Oregon, California, and Virginia. Each of these plaintiffs

 7   also has been harmed and injured financially by Amazon’s conduct as discussed and alleged

 8   further herein.

 9             38.     This Court has personal jurisdiction over Amazon because Amazon is

10   headquartered in Washington State, does business in Washington, directly or through agents, and

11   has registered with the Washington Secretary of State, such that it has sufficient minimum contacts

12   with Washington.

13                                                III.     VENUE

14             39.     Venue is proper under 28 U.S.C. § 1391(b)(1) and (2) because Amazon’s principal

15   place of business is in this judicial district, and a substantial part of the events giving rise to the

16   claims occurred in this judicial district.

17             40.     There is also a venue provision, specifying this judicial district under the terms of

18   use for all Amazon customers.58

19                                                IV.     PARTIES

20   A.        Plaintiffs

21             1.      Thomas Dorobiala

22             41.     Thomas Dorobiala is a resident of Murrieta, California. He has been an Amazon

23

24   period of limitations applicable to his Claims pursuant to the UTPA, ORS 646.608(1)(ttt) and
     646.608(1)(sss). Plaintiffs Nacarino, Sylvester, and Sonnenschein seek to represent a class of all
25   California purchasers of the Amazon Subscriptions who incurred fees within the applicable statute
     of limitations periods under the UCL, FAL, and CLRA. Plaintiff Adams seeks to represent a class
26   of all Virginia consumers purchasers of the Amazon Subscriptions who incurred fees within the
     applicable statute of limitations periods under the VCPA.
27
           Conditions of Use – Amazon Customer Service, https://www.amazon.com/gp/help/
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28   customer/display.html%3FnodeId%3DGLSBYFE9MGKKQXXM

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 1   Prime Member since March 28, 2020, when he started with a free trial. At the end of the free trial

 2   Amazon automatically charged him a subscription fee. Around February 2022, he decided to

 3   cancel his membership, when he heard that Amazon was raising the subscription fee for Amazon

 4   Prime. But when he attempted to cancel online, he found that the cancellation process required

 5   multiple steps (4-6 different things) and each time the information kept changing and “things kept

 6   popping up.” As a result, after following several steps, he became confused by the process and

 7   couldn’t cancel. He’s still an Amazon Prime member today and continues to pay subscription fees

 8   to Amazon.

 9            42.      As a direct result of Defendants’ violations of the law as alleged herein, Mr.

10   Dorobiala suffered economic injury. The facts giving rise to Mr. Dorobiala’s claims are materially

11   the same as the Class he seeks to represent.

12            2.       Mark Daly

13            43.      Plaintiff Mark Daly is a citizen of Oregon, residing in Linn County, Oregon. In or

14   about March 2022, Mr. Daly signed up for a free trial of Defendants’ monthly Amazon Prime

15   subscription from Defendants’ website while in Oregon. During the enrollment process but before

16   finally consenting to Defendants’ subscription offering, thereby completing the checkout process,

17   Mr. Daly provided his debit card information directly to Defendants. After Mr. Daly completed

18   his enrollment to Amazon Prime, Defendants sent Mr. Daly an email confirmation and receipt for

19   his purchase of and enrollment in an Amazon Subscription (the “Acknowledgment Email”).

20   However, the Acknowledgment Email failed to provide Mr. Daly with the complete automatic

21   renewal terms that applied to Defendants’ offer, a description of Defendants’ full cancellation

22   policy, or information regarding how to cancel Mr. Daly’s Amazon Subscription in a manner

23   capable of being retained by him. Mr. Daly did not receive any other acknowledgment that

24   contained the required information. As a result, Mr. Daly was not placed on notice of several

25   material terms associated with his Amazon Subscription, including, inter alia, the length of the

26   free trial period or when the first charge would occur, and nor was he apprised of the complete
27   cancellation policy associated with his Amazon Subscription, the most crucial aspects of which

28   were missing from the Checkout Page and Acknowledgment Email. Nevertheless, in or around

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 1   April 2022, approximately one month after Mr. Daly first signed up for his free trial to Amazon

 2   Prime, Defendants automatically converted Mr. Daly’s free trial to a paid Amazon Subscription

 3   and charged Mr. Daly’s Payment Method approximately $14.99, the full monthly standard rate

 4   then associated with Defendants’ paid monthly Amazon Prime subscription.                           Thereafter,

 5   Defendants again automatically renewed Mr. Daly’s Amazon Subscription the subsequent month,

 6   charging him another $14.99 in May of 2022, for a total of two unauthorized charges amounting

 7   to approximately $30.00 to Mr. Daly’s Payment Method. Additionally, because these charges

 8   came as a total surprise to Mr. Daly, his Payment Method did not contain sufficient funds to cover

 9   the monthly cost of Prime at the time Defendants posted the renewal fees to Mr. Daly’s bank

10   account, which, in turn, caused Mr. Daly to incur overdraft fees from his bank. Promptly after

11   learning of these subscription charges—which signaled to Mr. Daly that he had enrolled been in

12   a Prime subscription in the first place—Mr. Daly attempted to cancel his Amazon Subscription in

13   order to avoid incurring any future charges in connection with Amazon Prime. However, Mr.

14   Daly struggled to do so due to Defendants’ obscure, confusing, and time-consuming cancellation

15   policy, the terms related to which were entirely missing from the Checkout Page and

16   Acknowledgment Email. For instance, Mr. Daly called Defendants to notify them that he did not

17   authorize—and to request a refund of—the monthly charges he incurred in April and May of 2022.

18   However, Defendants, through a customer service representative, told Mr. Daly that they were

19   unable to cancel his Prime subscription for him, and denied Mr. Daly’s refund request. Ultimately,

20   Mr. Daly was only able to cancel his Prime subscription and avoid incurring further renewal

21   charges by circumventing Amazon altogether and going through his financial institution to cancel

22   the Payment Method associated with his Amazon Subscription. But, by that point, Defendants

23   had already charged approximately $30.00 to Mr. Daly’s Payment Method in monthly renewal

24   fees, which Defendants refused to refund, and Defendants’ unauthorized and unexpected charges

25   also caused Mr. Daly to incur overdraft fees with his financial institution, for which he was not

26   reimbursed. Defendants’ missing and/or incomplete disclosures in the Acknowledgment Email
27   for the Amazon Subscriptions and their subsequent failure to cancel Mr. Daly’s subscription and

28   issue a refund of those unauthorized charges, are contrary to the ARL, which deems products

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 1   provided in violation of the statute to be a gift to consumers. See ORS 646A.295; see also ORS

 2   646.608(1)(ttt). Further, had Defendants provided adequate disclosures in the Acknowledgment

 3   Email and provided proper cancellation mechanisms, Mr. Daly would have cancelled his Amazon

 4   Subscription earlier, i.e., prior to the expiration of the initial subscription period and/or any

 5   subsequent renewal term. Additionally, had Defendants complied with the ARL and FOL, Mr.

 6   Daly would have expected to incur automatic charges in connection with Amazon Prime in April

 7   and May of 2022—and, moreover, he would have been aware of the recurring price to be charged

 8   and of the specific date that such charges would occur—and he would have made certain to

 9   transfer sufficient funds to the bank account associated with his Payment Method in advance of

10   the payment date, in which case Mr. Daly would have avoided incurring overdraft fees with his

11   financial institution.

12            44.      Plaintiff Mark Daly is a citizen of Oregon, residing in Linn County, Oregon.

13   Plaintiff Daly is an individual consumer who signed up for an Amazon Prime subscription on a

14   free trial basis from Defendants’ website while in Oregon in or around March 2022. At the time

15   Mr. Daly signed up for his free trial Amazon Subscription, he provided his Payment Method

16   directly to Defendants.

17            45.      After Mr. Daly completed his initial order, Defendants sent Mr. Daly an

18   Acknowledgment Email stating that his free trial Amazon Subscription had been activated.

19   However, as discussed above, that Acknowledgment Email failed to provide Mr. Daly with the

20   complete automatic renewal terms that applied to Defendants’ offer for Amazon Prime (including

21   the mere fact that the Amazon Subscription would automatically convert from a free trial to a paid

22   subscription and renew every month, resulting in continuous monthly charges to his Payment

23   Method, unless and until Mr. Daly chose to cancel), a description of Defendants’ full cancellation

24   policy, or information regarding how to cancel Mr. Daly’s Amazon Subscription in a manner

25   capable of being retained by him. Mr. Daly did not receive any other acknowledgments that

26   contain the required information.
27            46.      As a result of Defendants’ missing and otherwise deficient Acknowledgment Email

28   disclosures, Mr. Daly was not expecting the free trial to Amazon Prime to automatically convert

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 1   and renew and did not think of cancelling his free trial prior to that point. That is, believing the

 2   membership plan would automatically terminate following the initial trial period and there was

 3   therefore no need for Mr. Daly to affect cancellation in order to avoid future charges, Mr. Daly did

 4   not attempt to cancel his Amazon Subscription before incurring charges in connection with the

 5   Amazon Subscription.

 6            47.      Nevertheless, in or around April 2022, approximately one month after Mr. Daly

 7   first signed up for his free trial to Amazon Prime, Defendants automatically converted Mr. Daly’s

 8   Amazon Subscription to a paid Amazon Subscription and charged Mr. Daly’s Payment Method

 9   approximately $14.99, the full monthly standard membership fee then associated with the paid

10   monthly Amazon Prime subscription, without his knowing or affirmative consent. Thereafter,

11   Defendants again automatically renewed Mr. Daly’s Amazon Subscription the subsequent month,

12   and, in or around May of 2022, charged him another $14.99 in unauthorized charges to his Payment

13   Method for the following billing period, for a total of two unauthorized charges amounting to

14   approximately $30.00 to Mr. Daly’s Payment Method without his knowing consent. Prior to that

15   point, Mr. Daly was not aware that he would be charged any money in connection with his free

16   trial, and he certainly did not understand that his Amazon Prime free trial, in fact, was or would

17   automatically become an “automatic renewal” for which he would incur recurring charges on an

18   ongoing, monthly basis.

19            48.      Additionally, because Mr. Daly had not been expecting to incur these charges in

20   connection with Amazon Prime in or around April and May of 2022 (or ever), these charges came

21   as a total surprise to Mr. Daly. As a result, Mr. Daly’s Payment Method did not contain sufficient

22   funds to cover the monthly cost of Prime at the time Defendants posted the renewal fees to Mr.

23   Daly’s bank account in May 2022, which, in turn, caused Mr. Daly to incur overdraft fees from

24   his bank. Mr. Daly was notified by the bank upon incurring the May overdraft fees, which

25   prompted Mr. Daly to review the recent transaction history associated with his Payment Method,

26   and that, in turn, caused Mr. Daly to learn of the subscription charges he incurred in April and
27   May, indicating to Mr. Daly that he had enrolled been in a Prime subscription in the first place.

28            49.      The monthly fees that Defendants charged to Mr. Daly’s Payment Method in

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 1   connection with his Amazon Prime subscription came as a surprise to Mr. Daly because, up until

 2   May 2022, he had believed that the free trial membership in which he enrolled roughly two months

 3   earlier would automatically terminate following the initial trial period. He was also unsure of how

 4   long his free trial would last, or when, if ever, the first charge would occur following the conclusion

 5   of his free trial. He generally believed that Amazon would inform him following the expiration of

 6   the free trial period and, at that point, attempt to obtain his affirmative consent to begin charging

 7   monthly fees to Mr. Daly’s Payment Method in connection with Amazon Prime if he wished to

 8   continue with the paid subscription. As a result, Mr. Daly did not expect to incur any charges in

 9   connection with the Amazon Subscription at the time Defendants posted fees to Mr. Daly’s

10   Payment Method in or around April and May of 2022.

11            50.      Mr. Daly was also unaware of the recurring price that would be charged in

12   connection with Amazon Prime until, upon review of the account banking history associated with

13   his Payment Method, he saw the monthly charges on his Payment Method, at which point the free

14   trial had already ended and the automatic charges had already begun.

15            51.      Mr. Daly’s confusion and surprise with respect to the monthly renewal fees he

16   incurred in May and April 2022—and, in particular, about the applicable offer terms concerning

17   automatic renewal, price, billing date, and cancellation—is the direct result of Defendants’ failure

18   to place Mr. Daly on notice of several material offer terms associated with his Amazon

19   Subscription. In particular, Mr. Daly did not receive an adequate Acknowledgment Email given

20   that the email did not provide Mr. Daly with the complete terms of the automatic renewal offer—

21   such as the length of the free trial period and the precise recurring amount that would be charged

22   to Mr. Daly’s debit card as part of his Amazon Subscription—or the cancellation policy, the most

23   crucial aspects of which were missing from the Acknowledgment Email. These omissions

24   constitute violations of the ARL pursuant to ORS 646A.295(1)(c); see also ORS 646A.293(5)(a)-

25   (d), and ORS 646A.295(2).

26            52.      And, to the extent any of this information was presented in the Acknowledgment
27   Email, such disclosures were either incomplete, ambiguous, inconspicuous, buried in the fine print

28   as noted above (see supra), or were otherwise incomplete, ambiguous, obscured, and/or lacking in

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 1   the requisite visual proximity. Therefore, any such term was presented in such a way that the term

 2   could be—and, by Plaintiff, was—easily overlooked, and is therefore not “clear and conspicuous,”

 3   in violation of Oregon’s ARL under ORS 646A.295(1)(c). See ORS 646A.295(1)(c) (requiring

 4   “acknowledgment that includes the automatic renewal offer terms”) (emphasis added); see also

 5   ORS 646A.293(5) (“‘Offer terms’ means the following clear and conspicuous disclosures: ….”)

 6   (emphasis added); ORS 646A.293(2) (defining “clear and conspicuous”).

 7            53.      Because Defendants failed to disclose this material information in the manner

 8   required by statute, Mr. Daly was unable to terminate his Amazon Subscription, resulting in

 9   continued automatic charges to his Payment Method.

10            54.      In sum, because Mr. Daly did not expect that his free trial would automatically

11   convert into a paid Amazon Subscription when he signed up in March 2022, Mr. Daly was unaware

12   that he would incur any renewal charges whatsoever in connection with Amazon Prime, and he

13   remained unaware of the automatic renewal feature associated with Defendants’ free trial offer

14   until approximately May 2022, when, upon review of the transactional history associated with his

15   Payment Method, Mr. Daly learned that his free trial had in fact been automatically converted to

16   a paid Amazon Subscription and that in April and May 2022 he had been charged renewal fees by

17   Defendants in connection with the same, giving him reason to believe that those fees would

18   continue thereafter on a monthly basis. Prior to discovering these charges in or around May 2022,

19   Mr. Daly did not expect that, once the free trial ended, Defendants would automatically post

20   subscription fees to his Payment Method on a monthly basis without further confirmation on his

21   part.

22            55.      Further, promptly upon learning of these unauthorized charges upon review of his

23   banking information in or around May 2022, Mr. Daly attempted to cancel his Amazon

24   Subscription in order to avoid incurring any future charges in connection with Amazon Prime.

25   However, once Mr. Daly learned that his Amazon Subscription did automatically renew and would

26   continue to do so without his intervention, Mr. Daly had no idea how to cancel his Amazon
27   Subscription and did not expect that it would be as difficult and confusing a process as it turned

28   out to be.

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 1             56.     Indeed, Mr. Daly struggled to cancel his Amazon Subscription due to Defendants’

 2   obscure, confusing, and time-consuming cancellation policy, the terms related to which were

 3   entirely missing from the Acknowledgment Email. For instance, Mr. Daly called the toll-free

 4   number associated with Defendants’ customer service line to notify Defendants that he did not

 5   authorize—and to request a refund of—the monthly charges he incurred in April and May of 2022.

 6   Thus, Mr. Daly “made reasonable efforts to attempt to use[] one of the procedures required by

 7   subsection (2)(e) of [the FOL,]” ORS 646.644(5)—namely, he attempted “to cancel by calling a

 8   toll-free telephone number[,]” ORS 646.644(2)(e).        However, upon doing so, Defendants’

 9   customer service representative told Mr. Daly that they were unable to cancel his Prime

10   subscription for him, and they denied Mr. Daly’s refund request. Ultimately, Mr. Daly was only

11   able to cancel his Prime subscription and avoid incurring further renewal charges by circumventing

12   Amazon altogether and going through his financial institution to cancel the Payment Method

13   associated with his Amazon Subscription. Defendants’ “fail[ure] or refus[al] to cancel the free

14   offer” despite Mr. Daly’s “reasonable efforts to attempt to use[] one of the procedures required by

15   [ORS 646.644(2)(e)]” is a violation of the FOL under ORS 646.644(5).

16             57.     Notably, the Acknowledgment Email does not contain Defendants’ full

17   cancellation policy, nor does it provide any explanation whatsoever regarding how to cancel the

18   Amazon Subscription. As a result, based on the post-check out disclosures featured in the

19   Acknowledgment Email, Mr. Daly did not know anything about how to cancel his Amazon

20   Subscription or of the associated refund policy with respect to cancellations, as are set forth on

21   other pages of Defendants’ website. For instance, the Acknowledgment Email indicates that only

22   members that “didn’t use any Prime benefits” following activation of their paid subscription or

23   free trial to Prime can be refunded for the “current membership period,” as is set forth elsewhere

24   in the Amazon Website.59 Further, Defendants do not specify anywhere in the Acknowledgment

25   Email that customers must “notify [Amazon] before a charge that [they] want to cancel or do not

26   want to auto renew” in order to avoid being automatically renewed and billed for the following
27
         59
28            https://www.amazon.com/gp/help/customer/display.html?nodeId=G34EUPKVMYFW8N2U.

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 1   billing period, as do terms set forth on other pages of Defendants’ website.60

 2            58.      Mr. Daly was not previously aware of the above aspects of Defendants’ cancellation

 3   policy. At no point during the life of his Amazon Subscription was Mr. Daly required or even

 4   prompted to navigate to or otherwise examine any of the terms disclosed on any other page of the

 5   Amazon Platform, aside from the Checkout Page.              Defendants neglected to disclose this

 6   information to Mr. Daly in the Acknowledgment Email that Defendants sent to Mr. Daly after he

 7   completed the checkout process. Accordingly, Defendants failed to place Mr. Daly on notice of

 8   their cancellation policy or provide Mr. Daly information regarding how to cancel in a manner that

 9   is capable of being retained by him, in violation of the ARL pursuant to ORS 646A.295(1)(a) and

10   (1)(c) and in violation of the FOL pursuant to ORS 646.644(2)(e)-(g).

11            59.      Moreover, even if the Acknowledgment Email had contained Defendants’

12   complete cancellation policy (it did not), for the reasons stated above the “mechanism for

13   cancellation” that exists is not one Plaintiff Daly and other reasonable consumers would consider

14   “timely” or “easy-to-use.” Defendants therefore failed to provide Mr. Daly with an “timely and

15   easy-to-use mechanism for cancellation” or describe any such mechanism in an Acknowledgment

16   Email, in violation of the ARL pursuant to ORS 646A.295(2). With respect to members of the

17   Class that initially enrolled in a free trial to any of the Amazon Subscriptions (including Plaintiff

18   Daly), Defendants’ conduct as described in this paragraph and above also violates the FOL

19   pursuant to ORS 646.644(2)(e)-(g) and ORS 646.644(5).

20            60.      Defendants’ post-purchase disclosures fail to comply with the ARL, which deems

21   products provided in violation of the statute to be “an unconditional gift to the consumer who may

22   use or dispose of them in any manner the consumer sees fit[.]” ORS 646A.295(5).

23            61.      Each and every monthly charge posted to Mr. Daly’s Payment Method following

24   his enrollment in the free trial Amazon Subscription in approximately March 2022 amounts to a

25   distinct economic injury as a result of Defendants’ continued and further unlawful conduct.

26
27       60
          https://www.amazon.com/gp/help/customer/display.html?ref_=help_search_1-1&nodeId=
28   G2B9L3YR7LR8J4XP&qid=1635538830941&sr=1- (emphasis added).

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 1   Therefore, each recurring charge Mr. Daly incurred in connection with his Amazon Subscription

 2   gives rise to an independently actionable claim under the UTPA based on Defendants’ repeated

 3   unlawful practice of charging consumers’ Payment Methods without providing and obtaining the

 4   requisite disclosures and authorizations, in violation of the ARL and FOL.

 5            62.      As a direct result of Defendants’ unlawful conduct described above, Mr. Daly

 6   suffered ascertainable loss in the form of economic injury. That is because Defendants “failed to

 7   disclose the legally required information and assessed a … fee in violation of the UTPA.”

 8   Scharfstein v. BP W. Coast Prod., LLC, 292 Or. App. 69, 90 (2018). “In doing so, [Defendants]

 9   illegally charged [Plaintiffs and their other Oregon] customers [recurring subscription fees],

10   thereby causing the ascertainable loss.” Id.; see also id. at 89 (“In an illegal charge case such as

11   this one, whether a customer relied on the nondisclosure of a fee does not matter; what matters is

12   whether the fee is disclosed in the particular way that the law requires. The UTPA prohibits

13   businesses from charging customers other types of fees when they are not disclosed in the

14   particular way that the law requires. … If any of those businesses were to violate any of the terms

15   under which they may assess those fees, the assessment would result in an illegal charge. The

16   customer’s actual awareness or knowledge of the illegality would be irrelevant.”).61 Specifically,

17
         61
            See also Miller v. WinCo Foods, LLC, 2020 WL 6693149, at *7 (D. Or. Sept. 3, 2020),
18   report and recommendation adopted, 2020 WL 6685697 (D. Or. Nov. 12, 2020) (“[Defendant]
     was required to accurately advertise the price it intended to charge Plaintiffs for the non-grocery
19   goods. Plaintiffs effectively assert that once WinCo made the decision to recoup the Surcharge
     from the customer, its failure to include the Surcharge in the advertised price of the items was a
20   violation of the Act and, consequently, its collection of the Surcharge was improper, or ‘illegal.’
     The court finds, viewing the allegations of the Complaint in a light most favorable to Plaintiffs,
21   Plaintiffs adequately allege an ascertainable loss under the ‘illegal charge’ theory.”); Stewart v.
     Albertson’s, Inc., 308 Or. App. 464, 492 n.17, review denied, 368 Or. 138 (2021); Russell v. Ray
22   Klein, Inc., 2019 WL 6137455, at *4 (D. Or. Nov. 19, 2019) (“Defendants final argument is that
     even if they are subject to and violated the UTPA, [plaintiff’s] claim still fails because he never
23   suffered an ascertainable loss of money or property because of the alleged violations. …
     Defendants[’] argu[ment] … misses the mark. Here, Mr. Russell’s loss is the improper collection
24   of the $45 fee. [Thus, plaintiff] and putative class members suffered an ascertainable loss of money
     in the form of the unlawful fees collected from them by defendants, which they otherwise would
25   not have had to pay if defendants had not engaged in conduct violating the UTPA.”) (internal
     citations and quotation marks omitted); Tri-W. Const. Co. v. Hernandez, 43 Or. App. 961, 972
26   (1979) (“[P]roof that a party justifiably relied on a representation is not necessary when the
     representation involves a matter about which the party making it is legally required to inform the
27   other.”); Sanders v. Francis, 277 Or. 593, 598-99 (1977) (“Defendants’ chief argument[] … is that
     irrespective of any unlawful practice committed by defendants, plaintiff must have acted in
28   reliance on that practice in order to have a civil action under ORS 646.638. … But an examination
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 1   Mr. Daly lost a total of approximately $30.00 paid in subscription fees as a result of Defendants’

 2   unlawful charges to Mr. Daly’s Payment Method.

 3            63.      In the alternative, Defendants’ ARL and FOL violations caused Mr. Daly’s

 4   ascertainable loss in the form of financial injury because Mr. Daly reasonably relied on

 5   Defendants’ Acknowledgment Email—and, as a natural corollary, on the omissions and/or the

 6   inconspicuousness of the disclosures contained therein—in deciding whether to continue paying

 7   for it after he obtained the subscription that (i.e., by not cancelling the auto-renewal prior to

 8   incurring renewal charges for the subsequent billing period). Had Defendants complied with the

 9   ARL by adequately disclosing the terms associated with Mr. Daly’s Amazon Subscription in the

10   post-checkout Acknowledgment Email (i.e., after initial enrollment in Amazon Prime, but before

11   any subsequent automatic renewal charge of Mr. Daly’s Payment Method), Mr. Daly would have

12   been able to read and review the auto renewal terms prior to another automatic renewal for the

13   subsequent billing period, and he would have cancelled his Amazon Subscription prior to the

14   expiration of the subscription period in which he learned such information, thereby avoiding all or

15   part of the aggregate automatic renewal charges Mr. Daly incurred in connection with Amazon

16   Prime from the time of enrollment in or around March 2022. But Defendants did not adequately

17   disclose the required automatic renewal and free offer terms in the Acknowledgment Email,

18   thereby depriving Mr. Daly of the opportunity to make informed decisions as to the recurring

19   transactions, in violation of both the ARL and FOL.

20            64.      Additionally, Defendants’ unlawful conduct caused additional economic injury

21   because Mr. Daly had insufficient funds in his bank account to cover the cost of the unexpected

22   monthly fee at the time Defendants withdrew the subscription fees from Mr. Daly’s Payment

23   Method in May 2022.

24

25   of the possible forms of unlawful practices shows that this cannot invariably be the case. Especially
     when the representation takes the form of a ‘failure to disclose’ … , as in this case, it would be
26   artificial to require a pleading that plaintiff had ‘relied’ on that non-disclosure. …Whether ORS
     646.638(1) requires reliance as an element of causation necessarily depends on the particular
27   unlawful practice alleged. … We hold that the demurrer should have been overruled. Reversed
     and remanded.”); see also Rollins v. Wink Labs, Inc., 2021 WL 1976082, at *5-6 (D. Or. Feb. 22,
28   2021).

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 1            65.      As a direct result of Defendants’ violations of the law as alleged herein, Mr. Daly

 2   suffered economic injury. The facts giving rise to Mr. Daly’s claims are materially the same as

 3   the Class he seeks to represent.

 4            3.       Elena Nacarino

 5            66.      Plaintiff Elena Nacarino is a citizen of California, residing in San Francisco,

 6   California. Plaintiff Elena Nacarino is an individual consumer who signed up for an Amazon

 7   Prime subscription on a free trial basis from Defendants’ website while in California at some point

 8   during approximately late 2019 or early 2020. At the time Ms. Nacarino signed up for her Amazon

 9   Subscription, she provided her Payment Method directly to Defendants.

10            67.      After Ms. Nacarino completed her initial order, Defendants sent Ms. Nacarino an

11   Acknowledgment Email stating that her Amazon Subscription had been activated. However, as

12   discussed above, that Acknowledgment Email failed to provide Ms. Nacarino with the complete

13   automatic renewal terms that applied to Defendants’ offer, a description of Defendants’ full

14   cancellation policy, or information regarding how to cancel Ms. Nacarino’s Amazon Subscription

15   in a manner capable of being retained by her.             Ms. Nacarino did not receive any other

16   acknowledgments that contain the required information.

17            68.      As a result of Defendants’ missing and otherwise deficient disclosures in the

18   Acknlowledgment Email, Ms. Nacarino was unaware that Defendants had enrolled her in an

19   “automatic renewal” program under which her subscription would renew each month and result

20   in continuous monthly automatic renewal charges to her Payment Method unless and until Ms.

21   Nacarino canceled the subscription.

22            69.      Nevertheless, shortly after Ms. Nacarino first signed up for her free trial to Amazon

23   Prime, Defendants automatically renewed Ms. Nacarino’s Amazon Prime Subscription and

24   charged Ms. Nacarino’s Payment Method approximately $14.09, the full monthly standard

25   membership fee then associated with the paid monthly Amazon Prime Subscription (including

26   applicable taxes and fees62), without her knowing or affirmative consent.
27
         62
         Excluding taxes and fees, at the time she enrolled in and incurred fee(s) in connection with
28   Amazon Prime, the monthly price of Plaintiff Nacarino’s Prime subscription was $12.99, as is
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 1            70.      The monthly fee(s) that Defendants charged to Ms. Nacarino’s Payment Method in

 2   connection with her Amazon Prime subscription came as a surprise to Ms. Nacarino because, up

 3   until that point, she was unsure of how long her free trial would last or when, if ever, the first

 4   charge would occur following the conclusion of her free trial. She believed that Amazon would

 5   inform her following the expiration of the free trial period and, at that point, obtain her consent to

 6   continued monthly charges in connection with Amazon Prime if she wished to continue with the

 7   paid subscription. As a result, because Ms. Nacarino was under the impression that she had more

 8   time to test out the service and decide whether it was worth paying for on an ongoing basis, she

 9   had not expected to incur any renewal fee at the time Defendants posted it to Ms. Nacarino’s

10   Payment Method.

11            71.      Ms. Nacarino was unaware of the recurring price that would be charged in

12   connection with Amazon Prime until, upon review of the account banking history associated with

13   her Payment Method, she saw the monthly charges on her Payment Method, at which point the

14   free trial had already ended and the automatic charges had already begun.

15            72.      Ms. Nacarino’s confusion and surprise about price and billing date is the direct

16   result of Defendants’ failure to place Ms. Nacarino on notice of the length of the free trial period

17   and of the recurring amount that would be charged to Ms. Nacarino’s Payment Method as part of

18   her Amazon Subscription. Specifically, this information was buried in the Acknowledgment

19   Email as noted above, and was therefore presented in such a way that the term could be—and, by

20   Plaintiff Nacarino, was—easily overlooked, and is therefore not “clear and conspicuous” as

21   defined by the ARL. See Cal. Bus. & Prof. Code § 17602(a)(3) (requiring “acknowledgment that

22   includes the automatic renewal offer terms”) (emphasis added); see also Cal. Bus. & Prof. Code

23   § 17601(b) (“‘Automatic renewal offer terms’ means the following clear and conspicuous

24   disclosures: . . .”) (emphasis added); Cal. Bus. & Prof. Code § 17601(c) (defining “clear and

25   conspicuous”).

26
27   listed in the fine print at the bottom of the exemplar Amazon Prime Checkout Page and
     Acknowledgment Email shown above, see infra ¶ 209. Amazon has since raised the monthly
28   subscription cost to $14.99 per month.

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 1            73.      Because Defendants failed to disclose this material information in the

 2   Acknowledgment Email in the manner required by statute following Ms. Nacarino’s enrollment

 3   in her free trial to Amazon Prime in or around late 2019 or early 2020, Ms. Nacarino did not expect

 4   that, once the free trial ended, Defendants would automatically post subscription fees to her

 5   Payment Method on a monthly basis without further confirmation on her part. Even so, fearful of

 6   hidden fees and surprise charges, Ms. Nacarino decided to cancel her Amazon Prime subscription

 7   prior to the end of the free trial period associated with her Amazon Subscription—or, rather, prior

 8   to what Ms. Nacarino believed to be the end of the free trial period—in order to avoid incurring

 9   any potential future charges that may be associated with Amazon Prime. But once she set out to

10   affect cancellation, Ms. Nacarino was not sure where to start. Due to this lack of clarity, the

11   process was not timely. Thus, Ms. Nacarino struggled to affect cancellation due to Defendants’

12   obscured, confusing, and time-consuming cancellation policy.

13            74.      Ultimately, Ms. Nacarino attempted to cancel her Amazon Subscription through

14   options she found on the Account Management webpage of the Amazon Website. Once Ms.

15   Nacarino completed this process, she believed that this attempt at cancellation was effective, and

16   that she would not incur any future charges in connection with Amazon Prime. However,

17   approximately one or two months later, Ms. Nacarino learned upon review of her billing

18   statements and banking history that, notwithstanding her attempt to cancel her free trial to Amazon

19   Prime, Defendants automatically renewed Ms. Nacarino’s Amazon Subscription upon the end

20   expiration of the free trial period and, without Ms. Nacarino’s affirmative consent, charged Ms.

21   Nacarino’s Payment Method in the full standard monthly rate associated with her Amazon

22   Subscription.      Thus, Ms. Nacarino’s attempt at cancellation one month earlier was utterly

23   ineffective.

24            75.      Immediately after learning of Defendants’ renewal charge(s) to her Payment

25   Method, Ms. Nacarino again attempted to cancel her Amazon Subscription. Since Ms. Nacarino’s

26   first attempt to cancel using Defendants’ exclusively online cancellation mechanism on the
27   Amazon Website was not effective, for her second attempt Ms. Nacarino attempted to cancel by

28   phone. Accordingly, Ms. Nacarino called to notify Defendants that she did not authorize—and to

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 1   request a refund of—the unauthorized subscription charge(s) that Defendants had charged Ms.

 2   Nacarino’s Payment Method. She also asked Defendants to remove Ms. Nacarino’s billing

 3   information, which Defendants had stored and maintained in their records, and expressly stated

 4   that Defendants did not have authorization to post any further charges. However, Defendants

 5   denied Ms. Nacarino’s refund request because, according to Defendants, Ms. Nacarino had failed

 6   to cancel her Amazon Prime Subscription and request a refund in the required time frame, and

 7   Defendants also refused to cancel her Amazon Subscription before the end of the given renewal

 8   term.

 9             76.     As a result, Ms. Nacarino learned of other aspects of Defendants’ cancellation

10   policy that Defendants had failed to present to Ms. Nacarino in the Acknowledgment Email. For

11   instance, neither the Checkout Page nor the Acknowledgment Email indicates that only members

12   that “didn’t use any Prime benefits” can be refunded for the “current membership period,” as is

13   set forth elsewhere in the Amazon Website.63 Further, Defendants do not specify anywhere on

14   the Checkout Page or in the Acknowledgment Email that customers must “notify [Amazon] before

15   a charge that [they] want to cancel or do not want to auto renew” in order to avoid being

16   automatically renewed and billed for the following billing period, as do terms set forth on other

17   pages of Defendants’ website.64

18             77.     Ultimately, Ms. Nacarino was only able to affect cancellation and thereby end the

19   recurring charges with the help of her bank rather than through Amazon, by cancelling the debit

20   and/or credit card associated with her Amazon Subscription.

21             78.     Ms. Nacarino was not previously aware of the above aspects of Defendants’

22   cancellation policy. At no point during her Amazon Subscription was Ms. Nacarino required or

23   even prompted to navigate to or otherwise examine any of the terms disclosed on any other page

24   of the Amazon Website, aside from the Checkout Page. Defendants neglected to disclose this

25   information to Ms. Nacarino in the Acknowledgment Email that Defendants sent to Ms. Nacarino

26
         63
              https://www.amazon.com/gp/help/customer/display.html?nodeId=G34EUPKVMYFW8N2U.
27       64
          https://www.amazon.com/gp/help/customer/display.html?ref_=help_search_1-1&nodeId=
28   G2B9L3YR7LR8J4XP&qid=1635538830941&sr=1-.

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 1   after she completed the checkout process. Accordingly, Defendants failed to place Ms. Nacarino

 2   on notice of their cancellation policy or provide Ms. Nacarino information regarding how to cancel

 3   in a manner that is capable of being retained by her, in violation of Cal. Bus. & Prof. Code §§

 4   17602(a)(1)-(3).

 5            79.      Moreover, even if the Acknowledgment Email had contained Defendants’

 6   complete cancellation policy (it did not), for the reasons stated above the “mechanism for

 7   cancellation” that exists is not one Ms. Nacarino and other reasonable consumers would consider

 8   “easy-to-use.”         Defendants therefore failed to provide Ms. Nacarino with an “easy-to-use

 9   mechanism for cancellation” or describe any such mechanism in an Acknowledgment Email, in

10   violation of Cal. Bus. & Prof. Code §§ 17602(a)(3) and 17602(b).

11            80.      Defendants’ post-purchase disclosures fail to comply with the ARL, which deems

12   products provided in violation of the statute to be an unconditional gift to consumers. See Cal.

13   Bus. & Prof. Code § 17603.

14            81.      Each and every monthly charge posted to Ms. Nacarino’s Payment Method in

15   connection with her Amazon Subscription amounts to a distinct economic injury as a result of

16   Defendants’ continued and further unlawful conduct. Therefore, each recurring charge Ms.

17   Nacarino incurred in connection with her Amazon Subscription gives rise to an independently

18   actionable claim under California’s UCL based on Defendants’ repeated unlawful practice of

19   charging consumers’ Payment Methods without first providing and obtaining the requisite

20   disclosures and authorizations, in violation of the California ARL.

21            82.      As a direct result of Defendants’ unlawful conduct described above, Ms. Nacarino

22   suffered economic injuries. Specifically, Defendants’ ARL violations caused Ms. Nacarino’s

23   continuous and repeated financial injuries because Ms. Nacarino reasonably relied on Defendants’

24   conspicuous disclosures of the Checkout Page and the Acknowledgment Email (and, as a natural

25   corollary, the omissions and/or the inconspicuousness of the disclosures contained therein) in

26   deciding whether to purchase her Amazon Subscription in the first place and whether to continue
27   paying for it after that (i.e., by not cancelling the auto-renewal).

28            83.      Had Defendants complied with the ARL by adequately disclosing the terms

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 1   associated with her Amazon Subscription in the post-checkout Acknowledgment Email (i.e., after

 2   initial enrollment in Amazon Prime, but before any subsequent automatic renewal charge of Ms.

 3   Nacarino’s Payment Method), Ms. Nacarino would have been able to read and review the auto

 4   renewal terms prior to another automatic renewal, and she would have cancelled her Amazon

 5   Subscription prior to the expiration of the subscription period in which she learned such

 6   information, thereby avoiding all or part of the aggregate automatic renewal charges Ms. Nacarino

 7   incurred in connection with Amazon Prime from the time of enrollment in late 2019 or early 2020,

 8   to the present. But Defendants did not adequately disclose the required automatic renewal terms

 9   in the Acknowledgment Email, depriving Ms. Nacarino of the opportunity to make informed

10   decisions as to the recurring transactions.

11            84.      As a direct result of Defendants’ violations of the law as alleged herein, Ms.

12   Nacarino suffered economic injury. The facts giving rise to Ms. Nacarino’s claims are materially

13   the same as the Class she seeks to represent.

14            4.       Susan Sylvester

15            85.      Plaintiff Susan Sylvester is a citizen of California, residing in Elk Grove,

16   California. Plaintiff Susan Sylvester is an individual consumer who, by purchasing a Kindle

17   Device, enrolled in a Kindle Unlimited subscription on a free trial basis from Defendants’ website

18   while in California in or around 2019. The free trial began in or around August of 2019, and it

19   lasted three months. At the time Ms. Sylvester purchased her Kindle device and signed up for her

20   Kindle Unlimited free trial subscription, she provided her Payment Method directly to Defendants.

21            86.      After Ms. Sylvester completed her initial order, Defendants sent Ms. Sylvester an

22   Acknowledgment Email stating that her Kindle Device purchase had been successful. However,

23   as discussed above, that Acknowledgment Email failed to provide Ms. Sylvester with the complete

24   automatic renewal terms of Kindle Unlimited that applied to Defendants’ offer, a description of

25   Defendants’ full cancellation policy, or information regarding how to cancel Ms. Sylvester’s

26   Amazon Subscription in a manner capable of being retained by her. Ms. Sylvester did not receive
27   any other acknowledgments that contain the required information.

28            87.      As a result of Defendants’ missing and otherwise deficient disclosures, when Ms.

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 1   Sylvester purchased her Kindle Device and unwittingly enrolled in her Kindle Unlimited free trial

 2   subscription, she was unaware that Defendants had enrolled her in an “automatic renewal”

 3   program under which the subscription would renew and her Payment Method would be

 4   automatically charged each month at varying rates unless and until Ms. Sylvester took action to

 5   affirmatively cancel her subscription prior to the end of the free trial period.

 6            88.      Nevertheless, in December of 2019, Defendants automatically renewed Ms.

 7   Sylvester’s Kindle Unlimited Subscription, converting her free trial to a paid monthly

 8   subscription, and charged Ms. Sylvester’s Payment Method in the amount of $9.99, the full

 9   standard monthly rate then associated with the paid Kindle Unlimited subscription. Thereafter,

10   Defendants continued to automatically renew Ms. Sylvester’s Kindle Unlimited Subscription at

11   the full standard rate on a monthly basis and charged her Payment Method an additional twenty-

12   four times, for a total of twenty-five (25) unauthorized charges to Ms. Sylvester’s Payment Method

13   between December 2019 and the present, without Ms. Sylvester’s knowing. As discussed below,

14   Defendants have refunded twelve (12) of the total twenty-five (25) monthly charges. Even after

15   deducting refunded amounts, and as shown by the table below, Ms. Sylvester has sustained

16   financial injury in the sum total of at least $129.82 in unauthorized subscription fees posted to Ms.

17   Sylvester’s Payment Method during the Class Period without her knowing or affirmative consent:

18
                            Billing Date                                    Amount
19                          12/27/2019                                        $9.99
20                          01/27/2020                                        $9.99
                            02/27/2020                                        $9.99
21
                            03/27/2020                                        $9.99
22                          04/27/2020                                        $9.99
23                          05/27/2020                                        $9.99
                            06/27/2020                                        $9.99
24
                            07/27/2020                                        $9.99
25
                            08/27/2020                                        $9.99
26                          09/27/2020                                        $9.99
27                          10/27/2020                                        $9.99
                            11/27/2020                                        $9.99
28

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 1                          Billing Date                                  Amount
 2                          12/27/2020                                     $9.99
                            01/27/2021                                     $9.99
 3
                            02/27/2021                                     $9.99
 4                          03/27/2021                                     $9.99
 5                          04/27/2021                                     $9.99
                            05/27/2021                                     $9.99
 6
                            06/27/2021                                     $9.99
 7                          07/27/2021                                     $9.99
 8                          08/27/2021                                     $9.99
 9                          09/27/2021                                     $9.99
                            10/27/2021                                     $9.99
10
                            11/27/2021                                     $9.99
11                          12/27/2021                                     $9.99
12                          01/10/2022                                 -$9.99 (refund)
                            01/10/2022                                 -$9.99 (refund)
13
                            01/10/2022                                 -$9.99 (refund)
14                          01/10/2022                                 -$9.99 (refund)
15                          01/10/2022                                 -$9.99 (refund)
                            01/10/2022                                 -$9.99 (refund)
16
                            01/18/2022                                 -$9.99 (refund)
17
                            01/18/2022                                 -$9.99 (refund)
18                          01/18/2022                                 -$9.99 (refund)
19                          01/18/2022                                 -$9.99 (refund)
                            01/18/2022                                 -$9.99 (refund)
20
                            01/18/2022                                 -$9.99 (refund)
21                                                                     Total: $129.87
22            89.      During the course of her Amazon Subscription, Ms. Sylvester found Defendants’

23   billing practices confusing and unpredictable. As shown by the table above, Defendants charged

24   twenty-five monthly fees to Ms. Sylvester’s Payment Method from December 2019 to December

25   2021, for a total of $249.75, $129.87 of which Defendants refuse to return or refund.

26            90.      The monthly renewal fees that Defendants charged to Ms. Sylvester’s Payment

27   Method came as a surprise to Ms. Sylvester because, up until that point, she was unsure how long

28   her free trial would last. As a result, because Ms. Sylvester was under the impression that she had

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 1   more time to test out the service and decide whether it was worth paying for on an ongoing basis,

 2   she had not expected to incur any renewal fee at the time Defendants posted the first monthly

 3   renewal charge to Ms. Sylvester’s Payment Method. Ms. Sylvester’s confusion and surprise about

 4   price and billing date is the direct result of Defendants’ failure to place Ms. Sylvester on notice of

 5   the length of the free trial period and of the recurring amount that would be charged to Ms.

 6   Sylvester’s Payment Method as part of her Amazon Subscription.

 7            91.      Frustrated with Defendants’ hidden automatic renewal terms and fearful of hidden

 8   fees and surprise charges, Ms. Sylvester decided to cancel her Kindle Unlimited subscription once

 9   she realized the free trial period associated with her Amazon Subscription had expired, in order to

10   avoid incurring any potential future charges that may be associated with Kindle Unlimited. But

11   once she set out to affect cancellation, Ms. Sylvester was not sure where to start. Due to this lack

12   of clarity, the mechanism for cancellation was neither “timely” nor “easy to use.” In other words,

13   Ms. Sylvester struggled to affect cancellation, and incurred additional renewal fees, due to

14   Defendants’ obscured, confusing, and time-consuming cancellation policy.

15            92.      Specifically, promptly after incurring her first charge in connection with Kindle

16   Unlimited on December 27, 2019, Ms. Sylvester attempted to cancel her Amazon Subscription by

17   calling Amazon’s toll-free phone number in or around late December 2019. On that occasion,

18   Ms. Sylvester spoke with an Amazon customer service representative named “William,” who

19   assured Ms. Sylvester that, at Ms. Sylvester’s direction, he had cancelled her subscription.

20   Following this phone call, Ms. Sylvester believed that her December 2019 attempt at cancellation

21   was effective, and that she would not incur any future charges in connection with Kindle

22   Unlimited.

23            93.      However, approximately eight months later, in or around August 2020, Ms.

24   Sylvester learned upon review of her billing statements and banking history that, notwithstanding

25   her attempt to cancel her free trial to Kindle Unlimited in December 2019, Defendants had

26   automatically renewed Ms. Sylvester’s Amazon Subscription upon the end expiration of the free
27   trial period and, without Ms. Sylvester’s affirmative consent, charged Ms. Sylvester’s Payment

28   Method in the amount of $9.99, the full standard monthly rate associated with her Amazon

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 1   Subscription, on January 27, 2020, and every month thereafter leading up to August 2020. Thus,

 2   Ms. Sylvester’s December 2019 attempt at cancellation was utterly ineffective.

 3            94.      Immediately after learning of Defendants’ renewal charge(s) to her Payment

 4   Method, Ms. Sylvester again attempted to cancel her Amazon Subscription on or around August

 5   11, 2020. On this occasion Ms. Sylvester again attempted to cancel by phone. Specifically, Ms.

 6   Sylvester called Defendants’ toll-free phone number to notify Defendants that she did not

 7   authorize—and request a refund of—the unauthorized subscription charges that Defendants had

 8   charged Ms. Sylvester’s Payment Method between December 2019 and July 2020. During that

 9   phone call, Ms. Sylvester was assured by the Amazon customer service representative with whom

10   she spoke in August of 2020 that her Kindle Unlimited Subscription would be cancelled, but her

11   refund request was denied. Furthermore, following the call, Ms. Sylvester received the below

12   confirmation email regarding cancellation, in which Defendants specifically informed Ms.

13   Sylvester that her “Kindle Unlimited membership will not renew. At the end of [her] membership

14   period, [her] Kindle Unlimited membership will not continue”:

15

16

17

18

19

20

21

22

23

24

25

26            95.      Unfortunately for Ms. Sylvester, notwithstanding receipt of this cancellation
27   confirmation email, thereafter Ms. Sylvester continued to receive monthly renewal charges in

28   connection with her Kindle Unlimited Subscription. Indeed, Ms. Sylvester subsequently learned,

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 1   upon review of the account banking history associated with her Payment Method, that following

 2   her August 2020 cancellation attempt Defendants had once again automatically renewed Ms.

 3   Sylvester’s Kindle Unlimited Subscription later that same month and, without Ms. Sylvester’s

 4   authorization (and, indeed, despite her express denial of such authorization), charged Ms.

 5   Sylvester’s Payment Method another monthly renewal fee for the following billing cycle, in the

 6   amount of $9.99 on August 27, 2020. Thus, Ms. Sylvester’s August 2020 cancellation attempt

 7   was ultimately ineffective.

 8            96.      Thereafter, Defendants continued to post automatic renewal charges to Ms.

 9   Sylvester’s Payment Method every month until December of 2021. Following the December 2021

10   charge, Ms. Sylvester became aware of the continuing renewal charges she had incurred after her

11   August 2020 cancellation attempt, and she again attempted—successfully, this time—to cancel

12   her subscription in in or around January of 2022. Confused and angered by Defendants’ deception,

13   Ms. Sylvester called Defendants’ customer service phone number for the third time in January

14   2022 to notify Defendants that she had not authorized the subscription charges that were posted

15   to Ms. Sylvester’s Payment Method on a monthly basis since December 2019, and to insist on a

16   refund of those unauthorized charges.

17            97.      When Ms. Sylvester reached out to Defendants by phone in January 2022,

18   Defendants finally cancelled Ms. Sylvester’s Kindle Unlimited subscription, and the monthly

19   renewal charges ceased. However, by that point, the damage was done: Ms. Sylvester had already

20   suffered substantial economic loss as a result of Defendants’ omissions of automatic renewal terms

21   and, correspondingly, the twenty-five months of unauthorized charges that Defendants posted to

22   Ms. Sylvester’s Payment Method in connection with the Kindle Unlimited Subscription.

23            98.      Additionally, following Ms. Sylvester’s initial January 2022 phone call and several

24   subsequent email exchanges and follow-up calls with an Amazon customer service representative

25   named “Amit G,” Defendants agreed to issue a refund of no more than twelve of the twenty-five

26   total months of renewal charges that Ms. Sylvester incurred in connection with Kindle Unlimited,
27   and accordingly returned $119.88 of the total amount to Ms. Sylvester’s Payment Method (half of

28   which posted to Ms. Sylvester’s bank account on January 10, 2022, and the other half of January

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 1   18, 2022). However, Defendants continued, and to this day continue, to refuse to issue Ms.

 2   Sylvester a complete refund for all twenty-five months of unauthorized charges. Thus, thirteen

 3   months of unauthorized subscription charges posted to Ms. Sylvester’s Payment Method since

 4   December 2019 in connection with Kindle Unlimited remain unrefunded to this day, amounting

 5   to a total of at least $129.87 in financial injury to Ms. Sylvester as a direct result of Defendants’

 6   unlawful conduct.

 7            99.      Ms. Sylvester was not previously aware of the above aspects of Defendants’

 8   cancellation policy. At no point during her Amazon Subscription was Ms. Sylvester required or

 9   even prompted to navigate to or otherwise examine any of the terms disclosed on any other page

10   of the Amazon Website, aside from the Checkout Page. Defendants neglected to disclose this

11   information to Ms. Sylvester either at the point of purchase on the Checkout Page or later in the

12   Acknowledgment Email that Defendants sent to Ms. Sylvester after she completed the checkout

13   process for her Kindle Device. Accordingly, Defendants failed to place Ms. Sylvester on notice

14   of their cancellation policy or provide Ms. Sylvester information regarding how to cancel in a

15   manner that is capable of being retained by her, in violation of Cal. Bus. & Prof. Code §§

16   17602(a)(1)-(3).

17            100.     Moreover, even if the Acknowledgment Email had contained Defendants’

18   complete cancellation policy (it did not), for the reasons stated above the “mechanism for

19   cancellation” that exists is not one Ms. Sylvester and other reasonable consumers would consider

20   “easy-to-use.”         Defendants therefore failed to provide Ms. Sylvester with an “easy-to-use

21   mechanism for cancellation” or describe any such mechanism in an Acknowledgment Email, in

22   violation of Cal. Bus. & Prof. Code §§ 17602(a)(3) and 17602(b).

23            101.     Defendants’ post-purchase disclosures fail to comply with the ARL, which deems

24   products provided in violation of the statute to be an unconditional gift to consumers. See Cal.

25   Bus. & Prof. Code § 17603.

26            102.     Each and every monthly charge posted to Ms. Sylvester’s Payment Method in
27   connection with her Amazon Subscription amounts to a distinct economic injury as a result of

28   Defendants’ continued and further unlawful conduct. Therefore, each recurring charge Ms.

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 1   Sylvester incurred in connection with her Amazon Subscription gives rise to an independently

 2   actionable claim under California’s UCL based on Defendants’ repeated unlawful practice of

 3   charging consumers’ Payment Methods without first providing and obtaining the requisite

 4   disclosures and authorizations, in violation of the California ARL.

 5            103.     As a direct result of Defendants’ unlawful conduct described above, Ms. Sylvester

 6   suffered economic injuries as discussed above. Specifically, Defendants’ ARL violations caused

 7   Ms. Sylvester’s continuous and repeated financial injuries because Ms. Sylvester reasonably relied

 8   on Defendants’ conspicuous disclosures of the Checkout Page and the Acknowledgment Email

 9   (and, as a natural corollary, the omissions and/or the inconspicuousness of the disclosures

10   contained therein) in deciding whether to purchase her Kindle Device, and thereby, her Amazon

11   Subscription in the first place and whether to continue paying for it after that (i.e., by not cancelling

12   the auto-renewal).

13            104.     Had Defendants complied with the ARL by adequately disclosing the requisite

14   Amazon Subscription terms in the post-checkout Acknowledgment Email (i.e., after initial

15   enrollment in Kindle Unlimited, but before any subsequent automatic renewal charge of Ms.

16   Sylvester’s Payment Method), Ms. Sylvester would have been able to read and review the auto

17   renewal terms prior to another automatic renewal, and she would have cancelled her Amazon

18   Subscription prior to the expiration of the subscription period in which she learned such

19   information, thereby avoiding all or part of the aggregate automatic renewal charges Ms. Sylvester

20   incurred in connection with Kindle Unlimited from the time of enrollment in 2019 to January

21   2022. But Defendants did not adequately disclose the required automatic renewal terms in the

22   Acknowledgment Email, depriving Ms. Sylvester of the opportunity to make informed decisions

23   as to the recurring transactions.

24            105.     As a direct result of Defendants’ violations of the ARL, Ms. Sylvester suffered

25   economic injury. The facts giving rise to Ms. Sylvester’s claims are materially the same as the

26   Class she seeks to represent.
27            5.       Michael Sonnenschein

28            106.     Plaintiff Michael Sonnenschein is a citizen of California, residing in Los Angeles,

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 1   California. Plaintiff Michael Sonnenschein is an individual consumer who signed up for an

 2   Amazon Music Unlimited subscription on a free trial basis from Defendants’ website while in

 3   California on or around October 31, 2017. Additionally, Mr. Sonnenschein signed up for an

 4   Amazon Prime Video Channel subscription to “Shudder” (together with Music Unlimited, Mr.

 5   Sonnenschein’s “Amazon Add-On Subscriptions”) on a free trial basis from Defendants’ website

 6   while in California on or around October 15, 2019.65

 7            107.     After Mr. Sonnenschein completed his initial orders, Defendants sent Mr.

 8   Sonnenschein Acknowledgment Emails stating that his Amazon Add-On Subscriptions had been

 9   activated. However, as discussed above, that Acknowledgment Emails failed to provide Mr.

10   Sonnenschein with the complete automatic renewal terms that applied to Defendants’ offers, a

11   description of Defendants’ full cancellation policies, or information regarding how to cancel Mr.

12   Sonnenschein’s Amazon Subscriptions in a manner capable of being retained by him. Mr.

13   Sonnenschein did not receive any other acknowledgments that contain the required information.

14            108.     As a result of Defendants’ missing and otherwise deficient disclosures, after Mr.

15   Sonnenschein selected and enrolled in his free trials to the Amazon Add-On Subscriptions, he was

16   unaware that Defendants had enrolled him in “automatic renewal” programs under which his

17   subscriptions would renew each month and result in continuous monthly automatic renewal

18   charges to his Payment Method unless and until Mr. Sonnenschein took action to affirmatively

19   cancel the subscriptions.

20            109.     Nevertheless, on November 30, 2017, approximately one month after Mr.

21   Sonnenschein first signed up for his free trial to Music Unlimited, Defendants automatically

22

23       65
             Unbeknownst to him, Mr. Sonnenschein signed up for his monthly Shudder and Music
24   Unlimited subscriptions as add-ons to his base Amazon Prime subscription, in which he had
     already enrolled on a distinct occasion at an earlier time. At the time Mr. Sonnenschein originally
25   signed up for his base Prime subscription (i.e., prior to his enrollment in Music Unlimited and
     Shudder), he provided his Payment Method directly to Defendants. As a result, Mr.
26   Sonnenschein’s Payment Method was already stored and maintained in Amazon’s records when
     he later signed up for his Amazon Add-On Subscriptions, which he believed to be standalone free
27   trials that were unconnected to his base Amazon Prime Subscription and that would naturally
     conclude upon expiration of the trial period and would not result in any subsequent charges to Mr.
28   Sonnenschein’s Payment Method without his express authorization.

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 1   renewed Mr. Sonnenschein’s Music Unlimited Subscription and charged Mr. Sonnenschein’s

 2   Payment Method in the amount of $7.99, the full standard monthly rate then associated with

 3   Amazon’s paid Music Unlimited subscription. Thereafter, Defendants continued to automatically

 4   renew Mr. Sonnenschein’s Music Unlimited Subscription at the full standard rate on a monthly

 5   basis, charging his Payment Method an additional seven times, for a total of eight unauthorized

 6   charges to Mr. Sonnenschein’s Payment Method between October 2017 and June 2018, without

 7   Mr. Sonnenschein’s knowing consent. During this period, Defendants charged, in connection with

 8   Amazon Music Unlimited, a total of at least $63.92 in unauthorized renewal fees to Mr.

 9   Sonnenschein’s Payment Method without his knowing or affirmative consent:

10
                            Billing Date                                   Amount
11
                            10/31/2017                                      $0.99
12
                            11/30/2017                                      $7.99
13                          12/30/2017                                      $7.99
14                          01/30/2018                                      $7.99
15                          02/30/2018                                      $7.99
16                          03/30/2018                                      $7.99

17                          04/30/2018                                      $7.99

18                          05/30/2018                                      $7.99
                            06/30/2018                                      $7.99
19
                                                                        Total: $63.92
20

21            110.     Mr. Sonnenschein did not learn of the above-listed monthly charges until after

22   incurring the final monthly charge at the end of June 2018, upon review of the account banking

23   history associated with his Payment Method several months after initial enrollment in his free trial

24   to Music Unlimited. Prior to this point, Mr. Sonnenschein did not expect, and thus did not become

25   aware of, the unauthorized monthly charges. In other words, Mr. Sonnenschein first discovered

26   Defendants’ continuing course of unlawful conduct in or around late June or early July of 2018.

27   Immediately upon becoming aware of such charges, Mr. Sonnenschein took prompt action to

28   cancel his Music Unlimited Subscription. However, as shown above, this realization came too

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 1   late for Mr. Sonnenschein to avoid financial injury as a result of Defendants’ pre- and post-

 2   purchase omissions of required terms under the California ARL.

 3            111.     Furthermore, on August 29, 2020—approximately ten and a half months after Mr.

 4   Sonnenschein first signed up for his free trial to the “Shudder” Prime Video Channel on or around

 5   October 15, 2019—Defendants automatically renewed Mr. Sonnenschein’s Shudder subscription

 6   and charged Mr. Sonnenschein’s Payment Method in the amount of $5.99, the full standard

 7   monthly rate then associated with Amazon’s paid monthly Shudder Prime Video Channel

 8   subscription. Thereafter, on or around September 29, 2020, Defendants again automatically

 9   renewed Mr. Sonnenschein’s Shudder subscription at the full standard rate for the subsequent

10   month without his knowing consent. Thus, between October 15, 2019 and September 29, 2020,

11   Defendants charged, in connection with his Shudder Prime Video Channel subscription, a total of

12   at least $11.98 in unauthorized renewal fees to Mr. Sonnenschein’s Payment Method without his

13   knowing or affirmative consent:

14
                            Billing Date                                   Amount
15
                            10/15/2019                                      $0.00
16
                            08/29/2020                                      $5.99
17                          09/29/2020                                      $5.99
18                                                                      Total: $11.98
19            112.     Following initial enrollment in his free trial to Shudder in October of 2019, Mr.

20   Sonnenschein did not expect and thus did not become aware of the unauthorized renewal charges

21   Defendants had been posting to his Payment Method on a monthly basis, until after he incurred

22   the second monthly charge in or around September 2020. Upon becoming aware of such charges,

23   Mr. Sonnenschein promptly took action to cancel his Shudder Subscription. However, as shown

24   above, this realization came too late for Mr. Sonnenschein to avoid financial injury.

25                                                   ***

26            113.     Mr. Sonnenschein’s confusion and surprise with respect to Defendants’ billing

27   practices during the life of his Amazon Add-On Subscriptions is the direct result of Defendants’

28   failure to place Mr. Sonnenschein on notice of the recurring nature of his Music Unlimited and

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 1   Shudder Subscriptions, along with other pertinent and required automatic renewal offer terms.

 2            114.     Defendants’ post-purchase disclosures fail to comply with the ARL, which deems

 3   products provided in violation of the statute to be an unconditional gift to consumers. See Cal.

 4   Bus. & Prof. Code § 17603.

 5            115.     Each and every monthly charge posted to Mr. Sonnenschein’s Payment Method in

 6   connection with his Amazon Subscription amounts to a distinct economic injury as a result of

 7   Defendants’ continued and further unlawful conduct. Therefore, each recurring charge Mr.

 8   Sonnenschein incurred in connection with his Amazon Subscription gives rise to an independently

 9   actionable claim under California’s UCL based on Defendants’ repeated unlawful practice of

10   charging consumers’ Payment Methods without first providing and obtaining the requisite

11   disclosures and authorizations, in violation of the California ARL.

12            116.     As a direct result of Defendants’ unlawful conduct described above, Mr.

13   Sonnenschein suffered economic injuries. Specifically, Defendants’ ARL violations concerning

14   the Amazon Add-On Subscriptions caused Mr. Sonnenschein’s repeated and continuous financial

15   injuries because Mr. Sonnenschein reasonably relied on Defendants’ clear and conspicuous

16   disclosures of the Acknowledgment Emails (and, as a natural corollary, the omissions and/or the

17   inconspicuousness of the disclosures contained therein) in deciding whether to purchase his

18   Amazon Subscriptions in the first place and whether to continue paying for them after that (i.e.,

19   by not cancelling the auto-renewal).

20            117.     Had Defendants complied with the ARL by adequately disclosing the terms

21   associated with his Amazon Subscriptions in the post-checkout Acknowledgment Emails (i.e.,

22   after initial enrollment in each Amazon Subscription program, but before any subsequent

23   automatic renewal charge of Mr. Sonnenschein’s Payment Method), Mr. Sonnenschein would

24   have been able to read and review the auto renewal terms prior to another automatic renewal, and

25   he would have cancelled his Amazon Subscriptions prior to the expiration of the subscription

26   periods in which he learned such information, thereby avoiding all or part of the aggregate
27   automatic renewal charges Mr. Sonnenschein incurred in connection with each Amazon

28   Subscription from the time of his enrollment in 2017 to the present. But Defendants did not

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 1   adequately disclose the required automatic renewal terms in the Acknowledgment Emails,

 2   depriving Mr. Sonnenschein of the opportunity to make informed decisions as to the recurring

 3   transactions.

 4            118.     As a direct result of Defendants’ violations of the law as alleged herein, Mr.

 5   Sonnenschein suffered economic injury. The facts giving rise to Mr. Sonnenschein’s claims are

 6   materially the same as the Class he seeks to represent.

 7            6.       Cynthia Adams

 8            119.     Plaintiff Cynthia Adams is a citizen of Virginia, residing in Roanoke, Virginia.

 9   Plaintiff Adams is an individual consumer who signed up for an Amazon Prime subscription on a

10   free trial basis from Defendants’ website while in Virginia in or around January 2020. At the time

11   Ms. Adams signed up for her Amazon Subscription, she provided her Payment Method directly to

12   Defendants.

13            120.     After Ms. Adams completed her initial order, Defendants sent her an

14   Acknowledgment Email stating that her Amazon Subscription had been activated. However, as

15   discussed above, that Acknowledgment Email failed to provide Ms. Adams with the complete

16   automatic renewal terms that applied to Defendants’ offer, a description of Defendants’ full

17   cancellation policy, or information regarding how to cancel Ms. Adams’s Amazon Subscription in

18   a manner capable of being retained by her. Ms. Adams did not receive any other acknowledgments

19   that contain the required information.

20            121.     As a result of Defendants’ missing and otherwise deficient disclosures, when Ms.

21   Adams selected and enrolled in her Amazon Prime free trial subscription, she was unaware that

22   Defendants had enrolled her in an “automatic renewal” program under which her subscription

23   would renew each month and result in continuous monthly automatic renewal charges to her

24   Payment Method unless and until Ms. Adams canceled the subscription.

25            122.     Nevertheless, shortly after Ms. Adams first signed up for her free trial to Amazon

26   Prime, Defendants automatically renewed Ms. Adams’s Amazon Prime Subscription and charged
27   Ms. Adams’s Payment Method approximately $12.99, the full monthly standard membership fee

28   then associated with the paid monthly Amazon Prime Subscription (including applicable taxes and

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 1   fees66), without her knowing. Thereafter, Defendants continued to automatically renew Ms.

 2   Adams’s Amazon Prime Subscription at the then-full standard rate on a monthly basis and charged

 3   her Payment Method an additional thirty (30) times, for a total of thirty-one (31)) unauthorized

 4   charges to Ms. Adams’s Payment Method between January 2020 and July 2022, without Ms.

 5   Adams’s knowing or affirmative consent.

 6            123.     As shown by the table below, during the life of Ms. Adams’s Amazon Subscription,

 7   Defendant posted a total of 31 unauthorized charges to Ms. Adams’s Payment Method, and she

 8   has therefore sustained financial injury in the sum total of approximately $402.69 in unauthorized

 9   subscription fees posted to Ms. Adams’s Payment Method during the Class Period without her

10   knowing or affirmative consent (including eighteen (18) unauthorized charges amounting to

11   $233.82 within the last twenty-four months alone):

12
                             Billing Date                                  Amount
13
                             January 2020                                   $12.99
14
                            February 2020                                   $12.99
15
                             March 2020                                     $12.99
16
                              April 2020                                    $12.99
17
                              May 2020                                      $12.99
18
                              June 2020                                     $12.99
19
                              July 2020                                     $12.99
20
                             August 2020                                    $12.99
21
                            September 2020                                  $12.99
22
                             October 2020                                   $12.99
23
                            November 2020                                   $12.99
24
                            December 2020                                   $12.99
25
         66
26          Excluding taxes and fees, at the time she enrolled in and incurred fee(s) in connection with
     Amazon Prime, the monthly price of Plaintiff Adams’s Prime subscription was $12.99, as is listed
27   in the fine print at the bottom of the exemplar Amazon Prime Checkout Page and Acknowledgment
     Email shown below, see infra ¶ 209. Amazon has since raised the monthly subscription cost to
28   $14.99 per month.

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 1
                             Billing Date                                   Amount
 2
                             January 2021                                    $12.99
 3
                            February 2021                                    $12.99
 4
                             March 2021                                      $12.99
 5
                              April 2021                                     $12.99
 6
                              May 2021                                       $12.99
 7
                              June 2021                                      $12.99
 8
                              July 2021                                      $12.99
 9
                             August 2021                                     $12.99
10
                            September 2021                                   $12.99
11
                             October 2021                                    $12.99
12
                            November 2021                                    $12.99
13
                            December 2021                                    $12.99
14
                             January 2022                                    $12.99
15
                            February 2022                                    $12.99
16
                             March 2022                                      $12.99
17
                              April 2022                                     $12.99
18
                              May 2022                                       $12.99
19
                              June 2022                                      $12.99
20
                              July 2022                                      $12.99
21
                                                                         Total: $402.69
22

23            124.     The monthly fee(s) that Defendants charged to Ms. Adams’s Payment Method in

24   connection with her Amazon Prime subscription came as a surprise to Ms. Adams because, up

25   until that point, she was unsure of how long her free trial would last or when, if ever, the first

26   charge would occur following the conclusion of her free trial. She believed that Amazon would

27   inform her following the expiration of the free trial period and, at that point, obtain her consent to

28   continued monthly charges in connection with Amazon Prime if she wished to continue with the

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 1   paid subscription. As a result, because Ms. Adams was under the impression that she had more

 2   time to test out the service and decide whether it was worth paying for on an ongoing basis, she

 3   had not expected to incur any renewal fee at the time Defendants posted it to Ms. Adams’s Payment

 4   Method.

 5            125.     Ms. Adams was unaware of the recurring price that would be charged in connection

 6   with Amazon Prime until, upon review of the account banking history associated with her Payment

 7   Method, she saw the monthly charges on her Payment Method, at which point the free trial had

 8   already ended and the automatic charges had already begun.

 9            126.     Ms. Adams’s confusion and surprise about price and billing date is the direct result

10   of Defendants’ failure to place Ms. Adams on notice of the length of the free trial period and of

11   the recurring amount that would be charged to Ms. Adams’s Payment Method as part of her

12   Amazon Subscription.         Specifically, this information was buried in the fine print in the

13   Acknowledgment Email as noted above, and was therefore presented in such a way that the term

14   could be—and, by Plaintiff Adams, was—easily overlooked, and is therefore not “clear and

15   conspicuous” as defined by Section 59.1-207.46(A)(1) of the ARL.

16            127.     At the time of and following enrollment in her free trial to Amazon Prime, Ms.

17   Adams did not expect that, once the free trial ended, Defendants would automatically post

18   subscription fees to her Payment Method on a monthly basis without further confirmation on her

19   part. Even so, Ms. Adams decided to cancel her Amazon Prime subscription prior to the end of

20   the free trial period associated with her Amazon Subscription—or, rather, prior to what Ms. Adams

21   believed to be the end of the free trial period—to avoid incurring any potential future charges that

22   may be associated with Amazon Prime. But once she set out to affect cancellation, Ms. Adams

23   was not sure where to start. Due to this lack of clarity, the process was not timely. Thus, Ms.

24   Adams struggled to affect cancellation due to Defendants’ obscured, confusing, and time-

25   consuming cancellation policy.

26            128.     Ultimately, Ms. Adams attempted to cancel her Amazon Subscription through
27   options she found on the Account Management webpage of the Amazon Website. Once Ms.

28   Adams completed this process, she believed that this attempt at cancellation was effective, and

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 1   that she would not incur any future charges in connection with Amazon Prime. However,

 2   approximately two years later, Ms. Adams learned upon review of her billing statements and

 3   banking history that, notwithstanding her attempt to cancel her free trial to Amazon Prime,

 4   Defendants automatically renewed Ms. Adams’s Amazon Subscription upon the end expiration of

 5   the free trial period and, without Ms. Adams’s affirmative consent, charged Ms. Adams’s Payment

 6   Method in the full standard monthly rate associated with her Amazon Subscription. Thus, Ms.

 7   Adams’s attempt at cancellation one month earlier was utterly ineffective.

 8            129.     Promptly after learning of Defendants’ renewal charge(s) to her Payment Method,

 9   Ms. Adams again attempted to cancel her Amazon Subscription. Since Ms. Adams’s first attempt

10   to cancel using Defendants’ exclusively online cancellation mechanism on the Amazon Website

11   was not effective, for her second attempt Ms. Adams decided to simply shut down her entire

12   Amazon account. Accordingly, Ms. Adams stopped using Amazon altogether. When that proved

13   ineffective, Ms. Adams also stopped using her PayPal account altogether, in an attempt to halt all

14   potential future charges related to her unwanted Amazon Subscription.

15            130.     Ultimately, Ms. Adams was only able to affect cancellation and thereby end the

16   recurring charges by completely removing all of her payment information from Amazon entirely.

17   Without proper information for the debit and/or credit card associated with her Amazon

18   Subscription, Defendants’ unwanted charges finally stopped in July 2022.

19            131.     Ms. Adams was not previously aware of the above aspects of Defendants’

20   cancellation policy. At no point during her Amazon Subscription was Ms. Adams required or even

21   prompted to navigate to or otherwise examine any of the terms disclosed on any other page of the

22   Amazon Website, aside from the Checkout Page.             Defendants neglected to disclose this

23   information to Ms. Adams later in the Acknowledgment Email that Defendants sent to Ms. Adams

24   after she completed the checkout process. Accordingly, Defendants failed to place Ms. Adams on

25   notice of their cancellation policy or provide Ms. Adams information regarding how to cancel in

26   a manner that is capable of being retained by her, in violation of Va. Code § 59.1-207.46(A)(1)-
27   (3).

28            132.     Moreover, even if the Acknowledgment Email had contained Defendants’

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 1   complete cancellation policy (it did not), for the reasons stated above the “mechanism for

 2   cancellation” that exists is not one Ms. Adams and other reasonable consumers would consider

 3   “easy-to-use.” Defendants therefore failed to provide Ms. Adams with an “easy-to-use mechanism

 4   for cancellation” or describe any such mechanism in an Acknowledgment Email, in violation of

 5   Va. Code § 59.1-207.46(B).

 6            133.     Defendants’ post-purchase disclosures fail to comply with the ARL, which deems

 7   products provided in violation of the statute to be an unconditional gift to consumers. See Va.

 8   Code § 59.1-207.47.

 9            134.     Each and every monthly charge posted to Ms. Adams’s Payment Method in

10   connection with her Amazon Subscription amounts to a distinct economic injury as a result of

11   Defendants’ continued and further unlawful conduct. Therefore, each recurring charge Ms. Adams

12   incurred in connection with her Amazon Subscription gives rise to an independently actionable

13   claim under the VCPA based on Defendants’ repeated unlawful practice of charging consumers’

14   Payment Methods without first providing and obtaining the requisite disclosures and

15   authorizations, in violation of the Virginia ARL.

16            135.     As a direct result of Defendants’ unlawful conduct described above, Ms. Adams

17   suffered economic injuries.      Specifically, Defendants’ ARL violations caused Ms. Adams

18   continuous and repeated financial injuries because Ms. Adams reasonably relied on Defendants’

19   conspicuous disclosures of the Acknowledgment Email (and, as a natural corollary, the omissions

20   and/or the inconspicuousness of the disclosures contained therein) in deciding whether to purchase

21   her Amazon Subscription in the first place and whether to continue paying for it after that (i.e., by

22   not cancelling the auto-renewal).

23            136.     Had Defendants complied with the ARL by adequately disclosing the terms

24   associated with her Amazon Subscription in the post-checkout Acknowledgment Email (i.e., after

25   initial enrollment in Amazon Prime, but before any subsequent automatic renewal charge of Ms.

26   Adams’s Payment Method), Ms. Adams would have been able to read and review the auto renewal
27   terms prior to another automatic renewal, and she would have cancelled her Amazon Subscription

28   prior to the expiration of the subscription period in which she learned such information, thereby

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 1   avoiding all or part of the aggregate automatic renewal charges Ms. Adams incurred in connection

 2   with Amazon Prime from the time of enrollment in January 2020, to July 2022. But Defendants

 3   did not adequately disclose the required automatic renewal terms in either the Checkout Page or

 4   the Acknowledgment Email, depriving Ms. Adams of the opportunity to make informed decisions

 5   as to the recurring transactions.

 6             137.    As a direct result of Defendants’ violations of the law as alleged herein, Ms. Adams

 7   suffered economic injury. The facts giving rise to Ms. Adams’ claims are materially the same as

 8   the Class she seeks to represent.

 9   B.        Defendants

10             1.      Amazon.com, Inc.

11             138.    Amazon.com, Inc. is the largest retailer in the United States and operates the largest

12   electronic commerce (“e-commerce”) marketplace in the world. The number of Amazon’s Prime

13   subscription members rivals Netflix subscribers.67 Amazon, a Delaware corporation, is registered

14   with the Washington Secretary of State and has its principal headquarters in Seattle, Washington.

15             2.      Amazon.com Services LLC

16             139.    Amazon.com Services LLC (“Amazon LLC” or “Subsidiary Defendant”) (together

17   with Parent Defendant, “Amazon” or “Defendants”) is a Delaware limited liability company with

18   its principal place of business located in Seattle, Washington. Amazon LLC is a wholly owned

19   subsidiary of Defendant Amazon, Inc.68 Acting alone or in concert with others, Amazon LLC has

20   done business in and throughout Oregon, California, Washington, Virginia, and the United States

21   at all times during the relevant class periods. Relevant here, Amazon LLC owns and operates

22   many of the web service programs and products offered on the Amazon Platform69, including the

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24        67
          Parkev Tatevosian, Netflix Versus Amazon Prime: The Race to 200 Million Subscribers, THE
     MOTLEY FOOL (Oct.17, 2020), https://www.nasdaq.com/articles/netflix-versus-amazon-
25   prime%3A-the-race-to-200-million-subscribers-2020-10-17.
26        68
          See eBusiness Boss, What Is Amazon LLC? (July 8, 2021), https://ebusinessboss.com/what-
     is-amazon-llc/.
27        69
          See Bloomberg, Amazon Services LLC, https://www.bloomberg.com/profile/company/
28   0817477D:US#xj4y7vzkg.

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 1   Amazon Subscriptions.70 At all relevant times, acting alone or in concert with Defendant Amazon,

 2   Inc., Amazon LLC advertised, marketed, sold, and distributed the Amazon Subscriptions and all

 3   products and services pertaining thereto, to consumers in Oregon and California and throughout

 4   the United States. At all relevant times, acting alone or in concert with Defendant Amazon, Inc.,

 5   Amazon LLC formulated, directed, controlled, had the authority to control, and/or participated in

 6   the acts and practices set forth herein.

 7            140.     Collectively, Amazon is the world’s largest online retailer and a prominent provide

 8   of cloud and web-based products and services. In fact, Defendants “dominate e-commerce sales”

 9   and “receive more than one-quarter of U.S. e-commerce sales dollars for every category other than

10   auto/parts.”71 Relevant here, Defendants offer access to certain exclusive Amazon-branded

11   content, products, and/or services on a contract or fee basis to customers who enroll in the

12   automatically renewing Amazon Subscriptions. Defendants wholly own and operate the Amazon

13   Subscriptions, which they market to consumers through the Amazon Website and App(s)

14   (collectively, the “Amazon Platform”). Defendants are also responsible for the promotion,

15   advertisement, and/or marketing of the Amazon Subscriptions, and they own and operate the

16   Amazon Platform. Defendants sell—and, at all times during the applicable Class Periods, have

17   sold—the Amazon Subscriptions to, and have done business with, consumers in Oregon and

18   California and throughout the United States. In connection with the Amazon Subscriptions,

19   Defendants made automatic renewal offers to consumers in Oregon and California and throughout

20   the United States via the Amazon Platform at all relevant times during the applicable Class

21   Periods.

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             See Amazon Website, Conditions of Use (updated Sept. 14, 2022), available at
     https://www.amazon.com/gp/help/customer/display.html?nodeId=GLSBYFE9MGKKQXXM
25   (“Amazon.com Services LLC and/or its affiliates (‘Amazon’) provide website features and other
     products and services to you when you visit or shop at Amazon.com, use Amazon products or
26   services, use Amazon applications for mobile, or use software provided by Amazon in connection
     with any of the foregoing (collectively, ‘Amazon Services’).”).
27       71
            Chain Store Age, The top 10 U.S. retail e-commerce companies are… (May 3, 2021),
28   https://chainstoreage.com/top-10-us-retail-e-commerce-companies-are.

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 1                                    V.      STATEMENT OF FACTS

 2   A.         Dark patterns

 3              141.   The term “dark patterns” as employed in this complaint is not a science fiction

 4   reference but a term of art from the field of user experience (“UX”). The International Organization

 5   for Standardization (ISO) defines “user experience” as a “person’s perceptions and responses that

 6   result from the use or anticipated use of a product, system or service.”72 Dark patterns in UX are

 7   “carefully designed misleading interfaces by UX design experts that trick the users into choosing

 8   paths that they didn’t probably want to take, thus fulfilling the business objectives, completely

 9   ignoring the requirements and ethics of users.”73

10              142.   The term was first coined by cognitive scientist Harry Brignull, who borrowed from

11   existing UX terminology. In UX, designers refer to common, re-usable solutions to a problem as

12   a “design pattern,” and conversely to common mistakes to solutions as “anti-patterns.” 74 The term

13   “dark patterns” was intended to “communicate the unscrupulous nature” of the design “and also

14   the fact that it can be shadowy and hard to pin down.”75 The following provide some examples of

15   dark patterns:76

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           UIUX Trend, User Experience (UX): Process and Methodology, https://uiuxtrend.com/user-
     experience-ux-process/ (last accessed Nov. 8, 2022).
23        73
           Joey Ricard, UX Dark Patterns: The Dark Side Of The UX Design, KLIZO SOLS. PVT. LTD.
24   (Nov. 9, 2020), https://klizos.com/ux-dark-patterns-the-dark-side-of-the-ux-design/.
          74
              Harry Brignull, Bringing Dark Patterns to Light, MEDIUM (June 6, 2021),
25   https://harrybr.medium.com/bringing-dark-patterns-to-light-d86f24224ebf
26        75
               Id.
27         Sarbasish Basu, What is a dark pattern? How it benefits businesses – Some examples, H2S
          76

     MEDIA (Dec. 19, 2019), https://www.how2shout.com/technology/what-is-a-dark-pattern-how-it-
28   benefit-businesses-with-some-examples.html.

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15             143.    Dark patterns themselves can be traced to the use of applied psychology and A/B

16   testing in UX.77 In the 1970s, behavioral science sought to understand irrational decisions and

17   behaviors and discovered that cognitive biases guide all our thinking. The following provides

18   examples of cognitive biases, including some that Amazon employs in its cancellation process:78

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              Id.
27       78
            Krisztina Szerovay, Cognitive Bias — Part 2, UX KNOWLEDGE BASE (Dec. 19, 2017),
28   available at https://uxknowledgebase.com/cognitive-bias-part-2-fab5b7717179.

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15             144.    Whereas the early behavioral research focused on understanding rather than

16   intervention, later researchers, like Cass Sunstein and Richard Thaler, authors of the book Nudge

17   made a policy argument that institutions should engineer “choice architectures” in a way that uses

18   behavioral science for the benefit of those whom they serve.79

19             145.    Another step in the development is the use of A/B testing in UX. A/B testing is a

20   quantitative research method that presents an audience with two variations of a design and then

21   measures which actions they take (or do not take) in response to each variant.80 UX designers use

22   this method to determine which design or content performs best with the intended user base.81

23             146.    Unscrupulous UX designers subverted the intent of the researchers who discovered

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         79
           Arvind Narayanan et al., Dark Patterns: Past, Present, and Future. The evolution of tricky
25   user interfaces, 18 ACM QUEUE 67-91 (2002), available at https://queue.acm.org/detail.cfm?id=
     3400901.
26
         80
           UXPin, A/B Testing in UX Design: When and Why It’s Worth It, https://www. uxpin.com/
27   studio/blog/ab-testing-in-ux-design-when-and-why/ (last accessed Nov. 8, 2022).
         81
28            Id.

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 1   cognitive biases by using these principles in ways that undermined consumers’ autonomy and

 2   informed choice, and they used A/B testing to turn behavioral insights into strikingly effective user

 3   interfaces that deceived consumers in ways that were more profitable to the company applying

 4   them.82 Dark patterns increase a company’s ability to extract revenue from its users by nudging or

 5   tricking consumers to spending more than they otherwise would, yield more personal information,

 6   or see more ads.83

 7             147.    A combination of dark patterns has a compounding effect, which will increase the

 8   impact of each dark pattern and exacerbate the harm they present to the consumer.84 Amazon uses

 9   a combination of dark patterns to decrease the likelihood that its Prime subscribers will make it all

10   the way to the final confirmation of cancellation. For example, Amazon employs misdirection,

11   which is when “the design purposefully focuses your attention on one thing in order to distract

12   your attention from another.”85 Brightly colored buttons offering alternatives to cancelling and

13   whimsical graphics to depict the value remaining with Prime are not intended to streamline the

14   process of cancellation, but to confuse and distract the Prime member and keep him or her from

15   quitting the subscription.

16             148.    Amazon also uses confirm-shaming, where the “option to decline is worded in such

17   a way as to shame the user into compliance.”86 For example, vague warnings about the loss of

18   benefits associated with cancelling Prime membership relies on the cognitive bias of loss aversion,

19   where a person’s aversion to giving something up is greater than the utility associated with

20   acquiring it.87

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22       82
              Narayanan et al., supra, n.79.
23       83
              Id.
         84
24           FTC, Staff Report, Bringing Dark Patterns to Light at 2 (Sept. 2022), available at
     https://www.ftc.gov/
25   system/files/ftc_gov/pdf/P214800%20Dark%20Patterns%20Report%209.14.2022%20-
     %20FINAL.pdf at 2.
26       85
              Types of deceptive design, https://www.deceptive.design/types (last accessed Nov. 8, 2022).
27       86
              Id.
         87
28            Forbrukerrådet, supra n.14, at 19.

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 1              149.   More generally, Prime membership fits the roach motel dark pattern, where “you

 2   get into a situation very easily, but then you find it is hard to get out of it (e.g., a premium

 3   subscription).” 88 Signing up for Prime is very easy, whereas cancellation is very burdensome.

 4              150.   Amazon knows how to simplify the process. It has done so in Europe, but it does

 5   not want to give up the advantages of its captive Prime members, so despite the ongoing

 6   investigation by the FTC into Amazon’s practices, Amazon continues to this day to employ dark

 7   patterns to nudge or trick its Prime members into remaining with Prime.

 8              151.   Plaintiff and class members have been harmed by Amazon’s deception. Through

 9   willfully deceptive practices Amazon tricks Prime members into paying more subscription fees

10   than they intended.

11   B.         Background on the subscription e-commerce industry

12              152.   The e-commerce subscription model is a business model in which retailers provide

13   ongoing goods or services “in exchange for regular payments from the customer.”89 Subscription

14   e-commerce services target a wide range of customers and cater to a variety of specific interests.

15   According to an October 2020 report by Juniper Research, “multiservice subscriptions, that

16   provide several services for a single cost, … will be led by offerings from tech conglomerates,

17   like Amazon’s Prime service[.]”90 Given the prevalence of online and e-commerce retailers,

18   subscription e-commerce has grown rapidly in popularity in recent years.                          Indeed, the

19   “subscription economy has grown more than 400% over the last 8.5 years as consumers have

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          88
22             Types of deceptive design, supra, n.85.
          89
          Core DNA, How to Run an eCommerce Subscription Service: The Ultimate Guide (May 19,
23   2020), https://www.coredna.com/blogs/ecommerce-subscription-services.
24        90
           Juniper Research, Subscriptions for Physical Goods to Overtake Digital Subscriptions by
     2025; Growing to Over $263Bn Globally (Oct. 12, 2020), https://www.juniperresearch.com/press/
25   subscriptions-for-physical-goods-to-overtake (emphasis added).
26       Juniper Research, one of the leading analyst firms in the mobile and digital tech sector,
     specializes in identifying and appraising new high growth market sectors within the digital
27   ecosystem and provides research and analytical services to the global hi-tech communications
     sector, as well as consultancy, analyst reports, and industry commentary.                See
28   https://www.juniperresearch.com/about-us.

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 1   demonstrated a growing preference for access to subscription services[.]”91 Analysts at UBS

 2   predict that the subscription economy will expand into a $1.5 trillion market by 2025, up from

 3   $650 billion in 2020.92 That constitutes an average annual growth rate of 18%, which makes the

 4   subscription economy “one of the fastest-growing industries globally.”93 And, by all accounts,

 5   Defendants played a major role in spurning this rapid growth. According to Richard Meyer,

 6   marketing expert and author of the blog, New Media and Marketing, “[s]ubscription marketing

 7   [has been] gaining steam ever since Amazon exceeded expectations with Amazon Prime[.]”94

 8            153.     Defendants launched Amazon Prime in or around February 2005.                           Through

 9   Amazon Prime, Defendants provides subscribers with access to, among other things, delivery

10   benefits such as faster and free deliveries, streaming and digital benefits, shopping benefits, and

11   reading benefits. Additionally, Defendants debuted Amazon Prime Video in September 2006, as

12   “Amazon Unbox.” Since then, Prime Video has been re-branded twice: in 2011, as “Amazon

13   Instant Video,” and then again in September 2015, when the word “Instant” was dropped from its

14   title in the U.S. Prime Video is offered as a benefit of the basic Prime subscription and as a

15   standalone subscription to non-Prime members, and it provides consumers with access to

16   unlimited, commercial-free instant streaming of thousands of movies and TV shows. Also in

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18       91
           Business Insider, Taco Bell’s taco subscription is rolling out nationwide—here’s how to get
     it (Jan. 6, 2022), https://www.businessinsider.com/taco-bell-subscription-launching-across-the-
19   country-2022-1 (internal quotation marks omitted).
         92
20          See UBS, Investing in digital subscriptions (Mar. 10, 2021), https://www.ubs.com/global/
     en/wealth-management/our-approach/marketnews/article.1525238.html (“[A]t close to USD 650
21   billion in 2020, we expect the subscription economy to expand into a USD 1.5 trillion market by
     2025, implying an average annual growth rate of 18%.”); see also Subscribed, UBS Declares: It’s
22   Worth Investing in the Subscription Economy (Apr. 17, 2021), https://www.subscribed.com/
     read/news-and-editorial/ubs-declares-its-worth-investing-in-the-subscription-economy; Business
23   2 Community, The Subscription Economy Is Booming Right Now. But Are You Reaping the Full
     Benefits? (Oct. 7, 2021), https://www.business2community.com/ecommerce/the-subscription-
24   economy-is-booming-right-now-but-are-you-reaping-the-full-benefits-02434851.
         93
            UBS, Investing in digital subscriptions (Mar. 10, 2021), supra, n.92 (“[Growth] was seen
25   across many areas, including e-commerce, video streaming, gaming, cloud-based applications,
     etc.”); see also Juniper Research, Subscriptions For Physical Goods To Overtake Digital
26   Subscriptions By 2025 (Oct. 12, 2020), supra n.90 (acknowledging “the significant lead the digital
     sector has had in th[e] area[ of digital service subscriptions]”).
27
         94
            New Media and Marketing, The problem with subscription marketing (Mar. 17, 2019),
28   https://www.newmediaandmarketing.com/the-problem-with-subscription-marketing/.

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 1   2015, Amazon launched Amazon Prime Video Channels (originally called “Streaming Partners

 2   Program”), which collectively refers to a variety of subscription offerings for third-party channels

 3   and streaming services offered to Prime and Prime Video subscribers through the Amazon

 4   Platform. These services are offered separate from the Prime and Prime Video offerings, and must

 5   be purchased separately (i.e., as an add-on subscription). The original launch in the U.S. included

 6   channels such as Curiosity Stream, Lifetime Movie Club, AMC’s Shudder, Showtime, Starz, and

 7   others. The service subsequently added other partners, such as HBO, Cinemax, Discovery+,

 8   Noggin, and PBS Kids, among others. Additionally, Amazon announced the launch of the

 9   Subscribe & Save program in May of 2007. Defendants have also offered Audible subscription

10   plans for access to audiobooks and podcasts since 2008, when Amazon acquired the company of

11   the same name. In July 2014, Defendants introduced Kindle Unlimited, a subscription offering

12   that provides consumers with access to a library of over two million book titles, thousands of

13   audiobooks, and up to three magazine subscriptions. These benefits are accessible via the

14   “Amazon Kindle” devices, a series of e-readers designed and marketed by Amazon, which is sold

15   separately from Kindle Unlimited. Later the same year, in November of 2014, Defendants

16   launched Amazon Photos, a secure online storage subscription for photos and videos, which is

17   available as a standalone subscription for consumers who enroll in Defendants’ monthly storage

18   plan offerings for increased data storage (i.e., beyond the limited amount provided by default to

19   Prime subscribers and other Amazon customers without Prime). Then, in May 2016, Defendants

20   launched ComiXology Unlimited, a subscription service offering access to thousands of comics

21   from independent publishers for $5.99 per month.95 Later that same year, Defendants launched

22   Amazon Music Unlimited, a subscription program that provides paying subscribers with unlimited

23   access to Defendants’ full music streaming catalog. Music Unlimited is available as a paid,

24   premium version of Music Prime (which is a limited version included with the Prime subscription

25   and is available to Prime subscribers at no additional cost beyond the renewal rate associated with

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27
         95
            Publisher’s Weekly, Comixology Launches Comics Subscription Service (May 24, 2016),
     https://www.publishersweekly.com/pw/by-topic/industry-news/comics/article/70472-comixology
28   -launches-comics-subscription-service.html.

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 1   the basic Prime subscription) or as a standalone subscription. Next, Amazon’s subscription box

 2   marketplace first went online in July 2018, at which point Defendants began selling the

 3   automatically renewing Amazon Subscription Boxes to paying subscribers from the Amazon

 4   Platform.96 Defendants launched Amazon Prime Book Box in or around September 2018 as a

 5   standalone subscription offering for recurring deliveries of a curated selection of children’s books.

 6   And, Amazon Kids+ (formerly FreeTime Unlimited), which was launched in or around September

 7   2020, provides paid subscribers with access to thousands of kid-friendly books, movies, TV

 8   shows, educational apps, games, and more. Finally, the Blink Basic and Plus Subscription Plans

 9   launched in March 2021, and have been sold by Defendants on the Amazon Platform at all times

10   since their 2021 debut.97

11             154.    As noted above, the production, sale, and distribution of subscription-based

12   products and services is a booming industry that has exploded in popularity over the past few

13   years. According to Forbes, “[t]he subscription e-commerce market has grown by more than

14   100% percent a year over the past five years, with the largest retailers generating more than $2.6B

15   in sales in 2016, up from $57.0M in 2011.”98 Following 2016, market growth within the industry

16   increased exponentially, reaching $650 billion in 2020.99 “As such, the financials of companies

17   with subscription business models[] … improved dramatically in 2020 thanks to limited revenue

18   volatility and strong cash flow generation.”100 Thus, “[t]he share prices of most subscription

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            See Pymnts, Is Amazon On The Way To Becoming Subscription Commerce’s New Hub?
21   (June 11, 2019), https://www.pymnts.com/amazon/2019/subscription-commerce-retail-market
     place/; Modern Retail, Why Amazon is turning to small brands to grow its subscription box
22   program (Nov. 5, 2020), https://www.modernretail.co/platforms/why-amazon-is-turning-to-small-
     retailers-to-grow-its-subscription-box-program/.
23       97
            See Digital Trends, Free local storage is still an option as Blink launches new subscription
24   fee (Mar. 18, 2021), https://www.digitaltrends.com/home/blink-launches-new-paid-subscription-
     plan/.
25       98
             Forbes, The State Of The Subscription Economy, 2018 (Mar. 4, 2018), available at
     https://www.forbes.com/sites/louiscolumbus/2018/03/04/the-state-of-the-subscription-economy-
26   2018/#6ad8251a53ef.
27       99
              See UBS, Investing in digital subscriptions (Mar. 10, 2021), supra, n.92.
         100
28             Id.

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 1   companies have performed well in recent years.”101

 2             155.    The expansion of the subscription e-commerce market shows no signs of slowing.

 3   “We’re now in the subscriptions era, and the pandemic is accelerating its takeover. During the

 4   COVID-19 lockdowns, many digital-based subscription business models fared well due to their

 5   promise of convenience and strong business continuity.”102 According to The Washington Post,

 6   “[s]ubscriptions boomed during the coronavirus pandemic as Americans largely stuck in shutdown

 7   mode flocked to digital entertainment[.] … The subscription economy was on the rise before the

 8   pandemic, but its wider and deeper reach in nearly every industry is expected to last, even after

 9   the pandemic subsides in the United States.”103

10             156.    However, as The Washington Post has noted, there are downsides associated with

11   the subscription-based business model.104 While the subscription e-commerce market has low

12   barriers and is thus easy to enter, it is considerably more difficult for retailers to dominate the

13   market due to the “highly competitive prices and broad similarities among the leading players.”105

14   In particular, retailers struggle with the fact that “[c]hurn rates are high, [] and consumers quickly

15   cancel services that don’t deliver superior end-to-end experiences.”106 Yet, retailers have also

16   recognized that, where the recurring nature of the service, billing practices, or cancellation process

17   is unclear or complicated, “consumers may lose interest but be too harried to take the extra step

18

19
         101
               Id.
20
         102
               Id.
21
           The Washington Post, Everything’s becoming a subscription, and the pandemic is partly to
         103

22   blame (June 1, 2021), https://www.washingtonpost.com/business/2021/06/01/subscription-boom-
     pandemic/ (noting that “e-commerce and entertainment subscriptions to sites such as Netflix, Hulu
23   and Disney Plus made headlines during the pandemic for soaring growth”).
         104
           The Washington Post, Little-box retailing: Subscription services offer new possibilities to
24   consumers, major outlets (Apr. 7, 2014), available at https://www.washingtonpost.com/business/
     economy/tktktktk/2014/04/07/f68135b6-a92b-11e3-8d62-419db477a0e6_story.html.
25
         105
           McKinsey & Company, Thinking inside the subscription box: New research on e-commerce
26   consumers (Feb. 2018), https://www.mckinsey.com/industries/technology-media-and-tele
     communications/our-insights/thinking-inside-the-subscription-box-new-research-on-ecommerce-
27   consumers#0.
         106
28             Id.

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 1   of canceling their membership[s].”107 As these companies have realized, “[t]he real money is in

 2   the inertia.”108 As a result, “[m]any e-commerce sites work with third-party vendors to implement

 3   more manipulative designs.”109 That is, to facilitate consumer inertia, a number of subscription e-

 4   commerce companies, including Defendants, “are now taking advantage of subscriptions in order

 5   to trick users into signing up for expensive and recurring plans. They do this by intentionally

 6   confusing users with their app’s design and flow, by making promises of ‘free trials’ that convert

 7   after only a matter of days, and other misleading tactics.”110

 8              157.   To make matters worse, once enrolled in the subscription, “[o]ne of the biggest

 9   complaints consumers have about brand/retailers is that it’s often difficult to discontinue a

10   subscription marketing plan.”111 Moreover, “the rapid growth of subscriptions has created a host

11   of challenges for the economy, far outpacing the government’s ability to scrutinize aggressive

12   marketing practices and ensure that consumers are being treated fairly, consumer advocates

13   say.”112 Thus, although “Federal Trade Commission regulators are looking at ways to make it

14   harder for companies to trap consumers into monthly subscriptions that drain their bank accounts[

15   and] attempting to respond to a proliferation of abuses by some companies over the past few

16   years[,]”113 widespread utilization of these misleading dark patterns and deliberate omissions

17   persist.

18
         107
19             The Washington Post, Little-box retailing (Apr. 7, 2014), supra, n.105.
         108
               Id.
20
         109
             Business Insider, A new study from Princeton reveals how shopping websites use ‘dark
21   patterns’ to trick you into buying things you didn’t actually want (June 25, 2019),
     https://www.businessinsider.com/dark-patterns-online-shopping-princeton-2019-6.
22       110
              TechCrunch, Sneaky subscriptions are plaguing the App Store (Oct. 15, 2018),
23   https://techcrunch.com/2018/10/15/sneaky-subscriptions-are-plaguing-the-app-store/.
         111
             The Washington Post, Everything’s becoming a subscription, and the pandemic is partly to
24   blame (June 1, 2021), https://www.washingtonpost.com/business/2021/06/01/subscription-boom-
     pandemic/ (“‘Subscription services are a sneaky wallet drain,’ said Angela Myers, 29, of
25   Pittsburgh. ‘You keep signing up for things and they make it really hard to cancel.’”); see also
     New Media and Marketing, The problem with subscription marketing (Mar. 17, 2019),
26   https://www.newmediaandmarketing.com/the-problem-with-subscription-marketing/.
27       112
               Id.
         113
28             Id.

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 1             158.    Defendants have successfully implemented these tactics. As of 2020, Defendants

 2   had “raised the global number of Prime members to 200 million,” with an estimated United States

 3   “subscriber count of 147 million in 2021.”114 In 2019, “roughly 65 percent of all Amazon

 4   shoppers were Prime members.”115          Significantly, in 2020, “Amazon’s net revenue from

 5   subscription services … amounted to 25.21 billion U.S. dollars.”116 Based on this growth,

 6   Amazon CFO Brian Olsavsky noted in Amazon’s second quarter earnings conference call held on

 7   July 29, 2021, that Amazon has “been fortunate to welcome more than 50 million new members

 8   in the past 18 months” and that he was “very pleased with the Prime member growth and

 9   engagement [Defendants are] seeing.”117 Moreover, in recent months Defendants have enjoyed

10   rapid growth to their Amazon Subscriptions user-base in light of the fact that “[o]verall time spent

11   streaming has more than doubled since March[ 2020], when the U.S. and other countries largely

12   shut down due to COVID-19.”118 In fact, in 2020, “Prime Video had over 100 million subscribers

13   … trailing only after Netflix[.] … The platform has seen particularly high audience growth … as

14

15         Statista, Amazon Prime – Statistics & Facts (July 5, 2021), https://www.statista.com/topics/
         114

     4076/amazon-prime/#:~:text=Since%20the%20service%20was%20first,of%20147%20million%
16   20in%202021 (last accessed Oct. 8, 2021).
17       115
               Id.
         116
18          Statista, Amazon: Global net revenue by product 2020 (July 7, 2021), https://www.statista
     .com/statistics/672747/amazons-consolidated-net-revenue-by-segment/; see also Amazon News
19   Release, Amazon.com announces First Quarter Results. (Apr. 29, 2021). https://ir.aboutamazon
     .com/news-release/news-release-details/2021/Amazon.com-Announces-First-Quarter-
20   Results/default.aspx (last accessed Oct. 8, 2021).
         See also Securities and Exchanges Commission (“SEC”), 2020 Annual Report for
21   Amazon.com, Inc., available at https://www.sec.gov/Archives/edgar/data/1018724/0001018
     72421000004/amzn-20201231.htm#i75de98b9097f40f3b5884e541f532421_13, at 66 (showing
22   $25.207 million net sales from subscription services segment in 2020, a 31.2% increase over net
     sales of subscription services in 2019 and a 77.915% increase over 2018 sales for same segment);
23   id. (noting that this figure “[i]ncludes annual and monthly fees associated with Amazon Prime
     memberships, as well as digital video, audiobook, digital music, e-book, and other non-AWS
24   subscription services.”).
25       117
             The Motley Fool, Amazon (AMZN) Q2 2021 earnings call transcript (July 30, 2021),
     https://www.fool.com/earnings/call-transcripts/2021/07/30/amazon-amzn-q2-2021-earnings-call-
26   transcript/ (last accessed Oct. 8, 2021).
         118
27         Deadline, Ad-Free Subscription Growth Outpaces Ad-Supported Fare During COVID-19
     (May 29, 2020), https://deadline.com/2020/05/subscription-streaming-growth-outpaces-free-ad-
28   supported-during-covid-19-1202946438/.

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 1   a result of the coronavirus (COVID-19) pandemic.”119 Similarly, Amazon was able to convince

 2   “50 million people to join Prime during the pandemic, accounting for an approximate 33 percent

 3   growth of the base.”120

 4   C.         Defendants’ dark patterns and online consumer complaints about the Amazon
                Subscriptions
 5
                159.    Defendants’ recent growth in revenues and subscriber count with respect to their
 6
     Amazon Subscriptions coincides with a sharp decline in subscriber satisfaction as the Amazon
 7
     Subscriptions and the platforms from which they operate have become riddled with “dark
 8
     patterns.” A dark pattern is “a user interface carefully crafted to trick users into doing things they
 9
     might not otherwise do, such as … signing up for recurring bills.”121 Indeed, as Mark Hurst122
10
     has suggested, Amazon is among the many websites with large user bases that have implemented
11
     “deceptive design tricks to mislead users” by turning subscription cancellation into “a six-page
12
     process filled with ‘dark patterns.’”123
13
                160.    Defendants have been using various types of dark patterns, including but not
14

15
          119
                Statista, Amazon Prime – Statistics & Facts (July 5, 2021), see supra, n.115.
16        120
           The Verge, Amazon added another 50 million prime subscribers during the pandemic (Apr.
17   15, 2021), https://www.theverge.com/2021/4/15/22385370/amazon-prime-subscription-jeff-bezos-
     2020-shareholders-letter (last accessed Oct. 8, 2021).
18        121
            UX Design, Dark patterns in UX: how designers should be responsible for their actions
     (Apr. 15, 2018), https://uxdesign.cc/dark-patterns-in-ux-design-7009a83b233c (quoting UX
19   designer Harry Brignull, PhD Cognitive Science, who coined the term “Dark Patters” in August
     2010).
20
          122
            Mark Hurst is the founder of Creative Good, a New York-based consultancy and creative
21   platform launched in 1997. See https://creativegood.com/mark-hurst/.
          123
22          Creative Good, Why I'm losing faith in UX (Jan. 28, 2021), https://creativegood.com/blog/
     21/losing-faith-in-ux.html (last accessed Nov. 15, 2021) (discussing “Amazon’s absurdly difficult,
23   inconvenient process for turning off a Prime subscription”); id. (“UX is now ‘user exploitation.’
     * A perfect example is the Amazon Prime cancellation process. … What should be a single page
24   with a ‘Cancel my subscription’ link is now a six-page process filled with ‘dark patterns’ -
     deceptive design tricks known to mislead users - and unnecessary distractions. This isn't an
25   accident. Instead, … there's a highly-trained, highly-paid UX organization at Amazon that is
     actively working to deceive, exploit, and harm their users.”). See also Mie Oehlenschlager, Dark
26   Patterns from Amazon into the Light (Jan. 23, 2021), https://dataethics.eu/dark-patterns-from-
     amazon-into-the-light/ (“Amazon uses dark patterns or manipulative design which is—
27   unfortunately—a common practice online[.] … ‘Consumers are constantly bombarded by a variety
     of subtle and less subtle attempts to push us into making choices that favour the companies at the
28   cost of our own time, attention, and money’”).

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 1   limited to “roach motel,”124 “misdirection,”125 and “forced continuity,” 126 in order to prevent user

 2   from unsubscribing from the Amazon Subscriptions by adopting complex cancellation procedures

 3   to increase the friction in the subscription cancellation process. Defendants’ utilization of these

 4   dark patterns—especially in conjunction with their failure to fully disclose the terms of their

 5   automatic-renewal programs (discussed further below) —has led to a reduction in churn rates by

 6   making it next to impossible for subscribers to cancel their Amazon Subscriptions. It has further

 7
         124
             “Roach motel” refers to a “design [that] makes it very easy for [consumers] to get into a
 8   certain situation, but then makes it hard for [consumers] to get out of it (e.g. a subscription).”
     https://www.darkpatterns.org/types-of-dark-pattern/roach-motel.
 9
         See also Jeremy Merkel, Dark Patterns Come to Light in California Data Privacy Laws, XI
10   Nat’l L. Rev. (July 2, 2021), https://www.natlawreview.com/article/dark-patterns-come-to-light-
     california-data-privacy-laws#google_vignette (“When it comes to the roach motel, as the saying
11   goes, ‘roaches check in, but they don’t check out.’ Drawing upon this allegory, researchers from
     the Norwegian Consumer Council (Forbrukerrådet) studied Amazon’s use of dark patterns to
12   manipulate users into continuing their Amazon Prime subscriptions, even when they intended to
     cancel, and published their findings in a report in January. The conclusions served as the basis for
13   a complaint by the internet privacy watchdog, the Electronic Privacy Information Center (EPIC),
     to the Office of the Attorney General of the District of Columbia, alleging that Amazon’s use of
14   dark patterns constitutes an unfair and deceptive trade practice in violation of the D.C. Consumer
     Protection Procedures Act and the Federal Trade Commission Act.”) (emphasis added and internal
15   footnotes omitted) (citations omitted); Forbrukerrådet, You Can Log Out, but You Can Never
     Leave: How Amazon manipulates consumers to keep them subscribed to Amazon Prime (Jan. 14,
16   2021),     https://fil.forbrukerradet.no/wp-content/uploads/2021/01/2021-01-14-you-can-log-out-
     but-you-can-never-leave-final.pdf; In the Matter of Amazon.com, Inc., EPIC Complaint, Office of
17   the Attorney General for D.C. (Feb. 23, 2021), https://archive.epic.org/privacy/dccppa/amazon/
     EPIC-Complaint-In-Re-Amazon.pdf; FTC, Statement of Commissioner Rohit Chopra Regarding
18   Dark Patterns in the Matter of Age of Learning, Inc., Commission File Number 1723186 (Sept. 2,
     2020),        https://www.ftc.gov/system/files/documents/public_statements/1579927/172_3086_
19   abcmouse_-_rchopra_statement.pdf.
         125
             “Misdirection” is a type of dark pattern where a website’s “design purposefully focuses
20   [customers’] attention on one thing in order to distract [them] attention from another.” In many
     cases, “[w]hat’s deceptive is the way [the website] presents [purchase] options: it uses misdirection
21   to hide what is actually happening[.]” https://www.darkpatterns.org/types-of-dark-pattern/
     misdirection.
22
         126
            One example of “forced continuity,” another type of dark pattern, is where customers’ sign
23   up for a “free trial with a service[ that] comes to an end and [their] credit card silently starts getting
     charged without any warning. [The subscriber is] are then not given an easy way to cancel the
24   automatic renewal.” https://www.darkpatterns.org/types-of-dark-pattern/forced-continuity.
25       See also The Good, Dark Patterns: The Ultimate Conversion Blocker for Ecommerce Websites
     (June 15, 2021), https://thegood.com/insights/dark-pattern-ecommerce-ux-design/ (“You’ve
26   probably signed up for a free trial of something, forgotten to cancel it, and then automatically been
     billed when the trial expired. That’s forced continuity. You’re not given an opportunity or
27   reminder to opt out of the trial, and it’s often exceedingly difficult to cancel before you’re charged
     for the premium subscription. * Unfortunately, this dark pattern is used everywhere, including
28   Amazon Prime.”) (emphasis added).

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 1   led to an increase in accidental or unintentional sign-ups by consumers for paid Amazon

 2   Subscriptions, in effect increasing subscriber count and, thus, Defendants’ overall revenues from

 3   renewal fees.

 4             161.    Amazon’s use of dark patterns is so egregious that the company’s practices are

 5   consistently used as examples to help writers explain dark patterns. Indeed, one writer explained:

 6   “A classic example of dark patterns is when you want to delete an Amazon account. You can sign

 7   up for Amazon in less than 4 clicks, but you’ll need to go through at least 6 clicks across 5 pages

 8   (including guesswork in selecting categories) and then chat with a representative if you want to

 9   close your Amazon account.”127 And as a writer for The New York Times similarly remarked,

10   “[s]ome things are difficult by design. * Consider Amazon. The company perfected the one-click

11   checkout. But canceling a $119 Prime subscription is a labyrinthine process that requires

12   multiple screens and clicks. … These are examples of ‘dark patterns,’ the techniques that

13   companies use online to get consumers to sign up for things[ and] keep subscriptions they might

14   otherwise cancel[.]”128 Yet another writer explained: “Getting out of Amazon Prime poses one of

15   the most complex unsubscription service present [sic] among different subscription platforms, as

16   it requires users to go to different settings, pages, and ultimately ask for help … Amazon’s Prime

17   subscription service cancellation is practicing ‘dark patterns’ that mislead people and change their

18   minds. The rigorous process is said to be the way by the company to prevent people from

19   unsubscribing, ultimately opting out because of the lengthy procedure.”129 A writer demonstrating

20   to consumers how to spot dark patterns said about closing an Amazon account that: “The

21   instructions are buried under a help menu, and once you track them down, you learn there’s no

22   way to complete the process on your own. You need to contact customer service to get the job

23
         127
             Fossbytes, What Are Dark Patterns? Why The California Ban Makes Sense (Mar. 16, 2021),
24   https://fossbytes.com/dark-patterns-explained/.
25       128
            The New York Times, Stopping the Manipulation Machines (Apr. 30, 2021), https:// www.ny
     times.com/2021/04/30/opinion/dark-pattern-internet-ecommerce-regulation.html (emphasis added).
26       129
             Tech Times, Amazon Prime ‘Dark Pattern’ of Service Cancellation Explained: Why
27   Consumer Groups Think It’s Unfair and Deceptive (Jan. 14, 2021), https://www.techtimes.com/
     articles/255977/20210114/amazon-prime-dark-pattern-service-cancellation-explained-why-
28   consumer-groups.htm.

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 1   done.”130 These articles are a small sampling of those that use Amazon’s concerning practices as

 2   an example for dark patterns.131

 3             162.    Defendants’ shady conduct with dark patterns in both 2018 and 2019 even earned

 4   “The Dark UX Award,” by a consumer vote on a website dedicated to “[c]elebrating excellence

 5   in user experience[.]”132 This so-called “award,” however, is not really as it sounds: “This

 6   category … is about dark UX patterns being used to deliberately trick or mislead users into actions

 7   they might not have taken otherwise.”133

 8             163.    More recently, Amazon’s practices have been the subject of studies regarding dark

 9   patterns, including one report done by the NCC: “This year, we launched a report on Amazon

10

11       130
             Consumer Reports, How to Spot Manipulative 'Dark Patterns' Online (Jan. 30, 2019),
12   https://www.consumerreports.org/privacy/how-to-spot-manipulative-dark-patterns-online-
     a7910348794/.
13       131
             See also, e.g., Speccy Media, Dark Patterns and how they trick us online (May 19, 2021),
     https://speccymedia.com/dark-patterns/ (“One of the largest companies in the world, Amazon,
14   makes it virtually impossible for you to delete your account with them. … To delete your account
     you might think a logical place to look for the option would be within the ‘Account & Lists’ menu
15   just to the right of the search field. … When you open up that menu, … you see[] … [a] ton of
     options, none of which are the one we are looking for. * Instead, you’ll need to scroll down to the
16   very bottom of the page until you see the footer. Within the footer, you’ll see a small link that
     simply says ‘Help’. If you click that, … it leads[ to a new webpage] … with a whole heap more
17   options! My immediate thought was to scroll to the Search field and type ‘Delete Account’ but
     that just lead me to even more options, none of which was anything to do with deleting my Amazon
18   account. … The only way to delete your account with Amazon is to select ‘Contact Us’ and then
     plead with one of the representatives to Close and delete it for you, there is no way for you to
19   perform this action yourself or any shred of evidence that this is even possible at all. And this is
     from one of the largest, most-respected companies in the world!”) (emphasis added); The Good,
20   Dark Patterns: The Ultimate Conversion Blocker for Ecommerce Websites (June 15, 2021),
     https://thegood.com/insights/dark-pattern-ecommerce-ux-design/ (“You’ve probably signed up
21   for a free trial of something, forgotten to cancel it, and then automatically been billed when the
     trial expired. That’s forced continuity. You’re not given an opportunity or reminder to opt out of
22   the trial, and it’s often exceedingly difficult to cancel before you’re charged for the premium
     subscription. * Unfortunately, this dark pattern is used everywhere, including Amazon Prime.”)
23   (emphasis added); The Markup, Dark Patterns that Mislead Consumers Are All Over the Internet
     (June 3, 2021), https://themarkup.org/2021/06/03/dark-patterns-that-mislead-consumers-are-all-
24   over-the-internet (“In January, after researchers accused Amazon of making it too difficult for
     Prime members to cancel their subscriptions, the Norwegian Consumer Council filed a legal
25   complaint with Norway’s consumer protection authority, while the U.S. consumer advocacy group
     Public Citizen requested that the FTC investigate Amazon’s dark patterns for maintaining
26   subscriptions.”).
27       132
               The Dark UX Award (2019), https://uxukawards.com/best-dark-ux/.
         133
28             Id.

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 1   where we analyzed the click flow of Amazon in Amazon Prime. And what we discovered was

 2   they were putting so many hurdles in front of the consumer, including complicated navigation

 3   menu, skewed wording, confusing choices, and repeated nudging, confirm shaming, which … are

 4   really effective sort of measures to manipulate consumers.”134 The results of the study prompted

 5   NCC to file its own complaint in Norway “about Amazon’s absurdly difficult, inconvenient

 6   process for turning off a Prime subscription.”135 That complaint stated: “The cancellation

 7   procedure is long, and consists of six separate pages. On each separate page, the consumer is

 8   nudged toward keeping their Prime membership … This uncertainty is further strengthened by

 9   having to scroll through the page, which is full of text and graphics to show how cancelling the

10   membership will mean the loss of many benefits.”136

11             164.    Despite the above consensus concerning the unsettling nature Amazon’s practices,

12   Defendants continue to employ these deceptive tactics to lure consumers into enrolling, and

13   remaining enrolled, in paid Amazon Subscription programs. In fact, Defendants were the subject

14   of a recent Business Insider article by author Eugene Kim, titled “Internal documents show

15   Amazon has for years knowingly tricked people into signing up for Prime subscriptions. ‘We

16   have been deliberately confusing,’ former employee says.”137 The article describes a particularly

17   haunting example of dark patterns employed by Defendant: “For example, a single click on the

18   ‘Get FREE Two-Day Delivery with Prime’ tab at check out—with no additional confirmation

19   step—gets shoppers automatically enrolled into a 30-day free trial of Amazon’s Prime program,

20   which later converts to a paid membership unless the user cancels it.”138 According to Kim,

21
         134
            KnowledgeVision, Transcript for FTC DarkPatterns Workshop (Apr. 29, 2021), available
22   at https://www.ftc.gov/system/files/documents/public_events/1586943/ftc_darkpatterns_workshop
     _transcript.pdf (emphasis added).
23       135
              The Creative Good, Why I’m losing faith in UX (Jan. 28, 2021), available at
24   https://creativegood.com/blog/21/losing-faith-in-ux.html.
         136
               Id.
25
         137
             Business Insider, Internal documents show Amazon has for years knowingly tricked people
26   into signing up for Prime subscriptions. ‘We have been deliberately confusing,’ former employee
     says (Mar. 14, 2022), available at https://www.businessinsider.com/amazon-prime-ftc-probe-
27   customer-complaints-sign-ups-internal-documents-2022-3.
         138
28             Id. (emphasis added).

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 1   “previously unreported internal documents and six current and former employees” have confirmed

 2   that “Amazon was aware of these complaints for years but did not take serious action,” and that

 3   “[e]ven the company’s most senior leaders were aware of this problem.” Id. Even worse, “fixes

 4   for these issues were proposed and considered, but resulted in lower subscription growth when

 5   tested, and were shelved by executives.” Id. The current and former employees expressed further

 6   concern despite some changes made to Amazon’s sign-up pages, saying “repeated red flags in the

 7   sign-up process have not been meaningfully addressed, even now,” and the “lack of change may

 8   have to do with internal tests that showed that clearer language led to fewer sign-ups. Id.

 9   Customer confusion has been an ongoing problem with Amazon’s Prime service: “One data point

10   from August 2017 found that 17,131 of the 25,542 cancellation requests directly handled by the

11   Prime team were related to ‘accidental sign-ups,’” meaning customers were deceived into signing

12   up for a Prime account and later forced to contact the Amazon team to ensure their desired

13   cancellation would be effective. Id. Mr. Kim’s article on Defendants’ deceptive practices, and

14   the willingness of current and former Amazon employees to discuss said practices, is extremely

15   telling as to why Defendants’ tactics need to be stopped.

16             165.    Defendants’ conduct has drawn the attention and ire of customers across the

17   country, with countless angry customers taking to the Internet to voice their discontent over

18   Defendants’ broken promises. For instance, numerous subscribers have left scathing reviews on

19   the Better Business Bureau website, complaining of the unclear billing practices and confusing

20   cancellation policy associated with the Amazon Subscriptions:139

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22

23

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27       139
             See https://www.bbb.org/us/wa/seattle/profile/ecommerce/amazoncom-1296-7039385/
28   complaints (last accessed June 14, 2022).

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 9             166.    Other subscribers to the Amazon Subscriptions left similar complaints on the

10   Trustpilot website:140

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27             See https://www.trustpilot.com/review/www.amazon.com?search=subscription&stars=
     1&stars=2; https://www.trustpilot.com/review/amazonprime.com?stars=1&stars=2; https://www.
28   trustpilot.com/review/primevideo.com?stars=1&search=cancel (last accessed June 14, 2022).

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 7             167.    Yet more unhappy subscribers left complaints in the comments of a YouTube video

 8   created to aid consumers in navigating the confusing Amazon Subscription cancellation process.

 9   Many were grateful to the video creator for explaining how to cancel where Defendants failed:141

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28             See https://www.youtube.com/watch?v=YUlGTOaHslM (last accessed June 14, 2022).

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16            168.     The above reviews are just a sampling of numerous negative reviews consumers
17   have left regarding Defendants’ Amazon Subscriptions and the unclear cancellation policies and
18   confusing billing associated with the Subscriptions. As discussed below, the above online
19   consumer complaints reveal a widespread pattern of uniform unlawful conduct by Defendants,
20   underscoring the artifice devised and employed by Defendants to lure and deceive millions of
21   consumers into remaining enrolled in their paid Amazon Subscription programs.
22   D.       Background on California, Oregon, and Virginia law as relevant to alternative
              claims
23
              1.       California’s Automatic Renewal Law
24
              169.     In 2010, the California Legislature enacted the Automatic Renewal Law (the
25
     “California ARL”), Cal. Bus. & Prof. Code §§ 17600, et seq., with the intent to “end the practice
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     of ongoing charging of consumer credit or debit cards or third party payment accounts without the
27
     consumers’ explicit consent for ongoing shipments of a product or ongoing deliveries of service.”
28

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 1   Cal. Bus. & Prof. Code § 17600 (statement of legislative intent). More recently, in 2018,

 2   California’s Senate Bill 313 amended Section 17602 of the California ARL, adding new

 3   requirements meant to increase consumer protections for, among other things, orders that contain

 4   free trial and promotional pricing, and subscription agreements entered into online.

 5            170.     The California ARL makes it “unlawful for any business making an automatic

 6   renewal or continuous service offer to a consumer in this state to … (3) Fail to provide an

 7   acknowledgment that includes the automatic renewal offer terms or continuous service offer

 8   terms, cancellation policy, and information regarding how to cancel in a manner that is capable of

 9   being retained by the consumer. If the automatic renewal offer or continuous service offer

10   includes a free gift or trial, the business shall also disclose in the acknowledgment how to cancel,

11   and allow the consumer to cancel, the automatic renewal or continuous service before the

12   consumer pays for the goods or services. Cal. Bus. & Prof. Code § 17602(a)(3).

13            171.     Section 17602(b) of the ARL further provides:

14                     A business that makes an automatic renewal offer or continuous
                       service offer shall provide another cost-effective, timely, and easy-
15                     to-use mechanism for cancellation that shall be described in the
                       acknowledgment specified in paragraph (3) of subdivision (a).
16
     Cal. Bus. & Prof. Code § 17602(b).
17
              172.     Additionally, following the 2018 amendment to the California ARL, the updated
18
     law requires e-commerce sellers, doing business in California, to allow online cancellation of auto-
19
     renewing memberships or recurring purchases that were initiated online. Specifically, Section
20
     17602(c) provides:
21
                       [A] consumer who accepts an automatic renewal or continuous
22
                       service offer online shall be allowed to terminate the automatic
23                     renewal or continuous service exclusively online, which may
                       include a termination email formatted and provided by the business
24                     that a consumer can send to the business without additional
                       information.
25

26   Cal. Bus. & Prof. Code § 17602(c) (emphasis added). The updated California ARL also requires
27   a seller who provides an automatic offer that includes a free gift, trial, or promotional pricing to
28   notify consumers about how to cancel the auto-renewal before they are charged. Sellers must

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 1   also explain the price to be charged when the promotion or free trial ends. If the initial offer is

 2   at a promotional price that is only for a limited time and will increase later, the seller must

 3   obtain consumer consent to the non-discounted price prior to billing. Id.

 4            173.     Section 17601(a) of the California ARL defines the term “Automatic renewal” as

 5   a “plan or arrangement in which a paid subscription or purchasing agreement is automatically

 6   renewed at the end of a definite term for a subsequent term.” Cal. Bus. & Prof. Code § 17601(a).

 7            174.     Section 17601(b) of the California ARL defines the term “Automatic renewal offer

 8   terms” as “the following clear and conspicuous disclosures:           (1) That the subscription or

 9   purchasing agreement will continue until the consumer cancels. (2) The description of the

10   cancellation policy that applies to the offer. (3) The recurring charges that will be charged to the

11   consumer’s credit or debit card or payment account with a third party as part of the automatic

12   renewal plan or arrangement, and that the amount of the charge may change, if that is the case,

13   and the amount to which the charge will change, if known. (4) The length of the automatic renewal

14   term or that the service is continuous, unless the length of the term is chosen by the consumer. (5)

15   The minimum purchase obligation, if any.” Cal. Bus. & Prof. Code § 17601(b).

16            175.     Pursuant to Section 17601(c) of the California ARL, “clear and conspicuous” or

17   “clearly and conspicuously” means “in larger type than the surrounding text, or in contrasting

18   type, font, or color to the surrounding text of the same size, or set off from the surrounding text of

19   the same size by symbol ls or other marks, in a manner that clearly calls attention to the language.”

20   Cal. Bus. & Prof. Code § 17601(c).

21            176.     Finally, Section 17603 of the California ARL provides that where a “business sends

22   any goods, wares, merchandise, or products to a consumer, under a continuous service agreement

23   or automatic renewal of a purchase, without first obtaining the consumer’s affirmative consent[,]”

24   the material sent will be deemed “an unconditional gift to the consumer, who may use or dispose

25   of the same in any manner he or she sees fit without any obligation whatsoever on the consumer’s

26   part to the business[.]” Cal. Bus. & Prof. Code § 17603.
27            177.     As alleged below, Defendants’ practices on the Amazon Platform systematically

28   violate Sections 17602(a)(3) and 17602(c) of the California ARL.

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 1             2.      Oregon’s Automatic Renewal Law

 2             178.    In 2011, with the passage of Oregon’s Senate Bill 487, the Oregon Legislature

 3   enacted the Automatic Renewal Law (the “Oregon ARL”), ORS 646A.292-646A.295, with the

 4   intent to “end the practice of ongoing charging of consumer credit or debit cards or third party

 5   payment accounts without the consumers’ explicit consent for ongoing shipments of a product or

 6   ongoing deliveries of service.” ORS 646A.292 (statement of legislative intent).142

 7             179.    The Oregon ARL makes it “unlawful for a person that makes an automatic renewal

 8   or continuous service offer to a consumer in this state to … (c) Fail to provide an acknowledgment

 9   that includes the automatic renewal offer terms or continuous service offer terms and information

10   regarding how to cancel in a manner that is capable of being retained by the consumer. If the offer

11   includes a free trial, the person shall also disclose in the acknowledgment how to cancel and allow

12   the consumer to cancel before the consumer pays for the goods or services. ORS 646A.295(1)(c).

13   The requirements of ORS 646A.295(1)(c) “may be fulfilled after completion of the initial order.”

14   ORS 646A.295(4).

15

16         This intent is further underscored by the legislative history surrounding the ARL’s
         142

     enactment in Oregon:
17
         The Senate took final action on a bill [Senate Bill 487] this afternoon that will give consumers
18   greater protection from getting trapped in cyclical automatic renewal agreements that can become
     expensive and burdensome. …
19
         “The problem with some automatic renewals is that consumers may think they’re purchasing
20   an item once or for a limited amount of time, but poorly disclosed automatic renewal clauses can
     cause financial hardship and headaches for consumers,” said Senator Suzanne Bonamici (D-NW
21   Portland/Washington Co.), chief sponsor of the bill. “Senate Bill 487 will provide consumers with
     valuable information regarding contact provisions that can potentially save them significant
22   amounts of money.”
         Several types of consumer contracts typically carry automatic renewal provisions, including
23   newspaper and magazine subscriptions and home alarm services. Currently, many automatic
     renewal clauses are hidden in the fine print of an advertisement’s offer. …
24
         “Clear and easy to understand disclosures are very basic measures of consumer protection,”
25   said Senate Majority Leader Diane Rosenbuam (D-Portland). “This is a simple bill that will help
     prevent consumers from signing up for more than they bargained for.”
26
         Oregon Legislative News Release, Bill will prohibit misleading and costly automatic contract
27   renewals: Senate takes final vote on SB 487, consumer protection victory for Oregonians (June
     10, 2011), available at https://www.oregonlegislature.gov/senatedemocrats/Documents/sdo_
28   061011.pdf.

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 1            180.     Additionally, Section 646A.295(2) of the Oregon ARL further provides:

 2                     A person making automatic renewal or continuous service offers
 3                     shall provide a toll-free telephone number, electronic mail address,
                       a post-office address only when the person directly bills the
 4                     consumer, or another cost-effective, timely and easy-to-use
                       mechanism for cancellation that must be described in the
 5                     acknowledgment required by subsection (1)(c) of this section.
 6
     ORS 646A.295(2).
 7
              181.     The term “Person” as used in ORS 646A.295 means “natural persons, corporations,
 8
     trusts, partnerships, incorporated or unincorporated associations and any other legal entity except
 9
     bodies or officers acting under statutory authority of this state or the United States.” ORS 646.605;
10
     see also ORS 646A.293(4) (“‘Person’ has the meaning given that term in ORS 646.605[.]”).
11
     Defendants are each a “person” under this definition.
12
              182.     Section 646A.293(1) of the Oregon ARL defines the term “Automatic renewal” as
13
     a “plan or arrangement in which a paid subscription or purchasing agreement is automatically
14
     renewed at the end of a definite term for a subsequent term.” Section 646A.293(3) similarly
15
     defines “Continuous service” as “a plan or arrangement in which a paid subscription or purchasing
16
     agreement continues until the consumer cancels the service.”            The Amazon Subscriptions
17
     constitute “automatic renewal” and/or “continuous service” plans under these definitions.
18
              183.     Pursuant to Section 646A.293(5) of the Oregon ARL, “Offer terms” means “the
19
     following clear and conspicuous disclosures: (a) That the subscription or purchasing agreement
20
     will continue until the consumer cancels. (b) The description of the cancellation policy that applies
21
     to the offer. (c) The recurring charges that will be charged to the consumer’s credit or debit card
22
     or payment account with a third party as part of the automatic renewal or continuous service plan
23
     or arrangement, and, if the amount of the charge will change, the amount to which the charge will
24
     change, if known. (d) The length of the automatic renewal term or that the service is continuous,
25
     unless the length of the term is chosen by the consumer. (e) The minimum purchase obligation, if
26
     any.” ORS 646A.293(5)(a)-(e).
27
              184.     Section 646A.293(2) of the Oregon ARL defines the term “Clear and conspicuous,”
28

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 1   in relevant part, as “in larger type than the surrounding text, or in contrasting type, font or color to

 2   the surrounding text of the same size, or set off from the surrounding text of the same size by

 3   symbols or other marks, in a manner that clearly calls attention to the language.”

 4             185.    Finally, the Oregon ARL provides that where “a person sends goods, wares,

 5   merchandise or products to a consumer under a continuous service agreement or pursuant to an

 6   automatic renewal of a purchase without first obtaining the consumer’s affirmative consent as

 7   required in [ORS 646A.295(1)], the goods, wares, merchandise or products shall for all purposes

 8   be deemed an unconditional gift to the consumer who may use or dispose of them in any manner

 9   the consumer sees fit without any obligation to the person including, but not limited to, requiring

10   the consumer to ship, or bear the cost of shipping, any goods, wares, merchandise or products to

11   the person.” ORS 646A.295(5).

12             186.    As alleged below, Defendants’ practices on the Amazon Platform systematically

13   violate Sections 646A.295(1)(c) and 646A.295(2) of the Oregon ARL.                                     Defendants’

14   noncompliance with the Oregon ARL is a direct violation of UTPA. See ORS 646.608(1)(ttt) (“(1)

15   A person engages in an unlawful practice if in the course of the person’s business, vocation or

16   occupation the person does any of the following: … (ttt) Violates a provision of ORS 646A.295

17   (Prohibited actions).”).

18             3.      Oregon’s Free Offer Law

19             187.    In 2011, the same year the Oregon ARL was enacted143, the Oregon Legislature

20   also passed Senate Bill 292, thereby enacting the FOL, ORS 646.644, which prohibits businesses

21   from imposing financial obligations on consumers who accept a free offer unless that offer

22   complies with disclosure, consent, and billing information requirements.144

23

24       143
            In fact, the Oregon ARL and the FOL were considered during the same legislative session
     and as part of the same legislative agenda. See Oregon Legislative News Release, Bill will prohibit
25   misleading and costly automatic contract renewals: Senate takes final vote on SB 487, consumer
     protection victory for Oregonians (June 10, 2011), available at https://www.oregonlegislature
26   .gov/senatedemocrats/Documents/sdo_061011.pdf.
27
         144
             See id. (“The Senate []concurred in final amendments for SB 292 this morning, legislation
     that prevents sellers from imposing cumbersome financial obligations on consumers who sign up
28   for ‘free trial offers.’”)

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 1            188.     For the purposes of the FOL, a “Free offer” means, in relevant part, “an offer of

 2   goods or services without cost[] … to a consumer that, if accepted, causes the consumer to incur a

 3   financial obligation for[, among other things] … [e]nrollment in a membership, subscription or

 4   service contract as a result of accepting the offer.” ORS 646.644(1)(e)(A)(iii). Defendants’ offers

 5   for free trials to the Amazon Subscriptions, which are automatically converted to paid

 6   subscriptions upon expiration of the trial period without further authorization sought from or

 7   obtained by consumers, constitute “free offers” plans under this definition.

 8            189.     The FOL prohibits a person from “mak[ing] a free offer to a consumer, or

 9   impos[ing] a financial obligation on the consumer as a result of the consumer’s acceptance of a

10   free offer, unless the person provides the consumer with clear and conspicuous information

11   regarding the terms of the free offer before the consumer agrees to accept the free offer, including[,

12   in relevant part,] at a minimum:”

13                     (a) Identification of all … enrollments in a membership,
                       subscription or service contract, that the consumer will receive or
14                     incur a financial obligation for as a result of accepting the free
                       offer;
15

16                     (b) The cost to the consumer of any financial obligation the
                       consumer will incur if the consumer accepts the free offer,
17                     including any fees or charges;
18                     (c) Any requirement[] … that the consumer take affirmative action
                       to reject the free offer and instructions about how the consumer is
19
                       to indicate the consumer’s rejection of the free offer;
20
                       (d) A statement[] … that by accepting the free offer, the consumer
21                     will become obligated for … enrollment in a membership,
                       subscription or service contract, unless the consumer takes
22                     affirmative action to cancel the free offer or otherwise reject … the
23                     enrollment in a membership, subscription or service contract;

24                     (e) … [T]he consumer’s right to cancel the free offer using
                       procedures specifically identified for that purpose that, at a
25                     minimum, enable the consumer to cancel by calling a toll-free
                       telephone number or to cancel in a manner substantially similar to
26                     that by which the consumer accepted the free offer;
27
                       (f) The time period during which the consumer must cancel in
28                     order to avoid incurring a financial obligation as a result of

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 1                     accepting the free offer; [and]

 2                     (f) If applicable, the consumer’s right to receive a credit on goods
                       or services received as a result of accepting the free offer when the
 3
                       goods or services are returned or rejected, and the time period
 4                     during which the goods or services must be returned or rejected for
                       the purpose of receiving a credit[.]
 5
     ORS 646.644(2)(a)-(g) (emphasis added).
 6
              190.     Pursuant to ORS 646.644(1)(c), “Clear and conspicuous information” means
 7
     “language that is readily understandable and presented in such size, color, contrast and location,
 8
     or audibility and cadence, compared to other language as to be readily noticed and understood, and
 9
     that is in close proximity to the request for consent to a free offer.”
10
              191.     Additionally, subsection (4) of the FOL further provides:
11

12                     A person may not impose a financial obligation on a consumer as a
                       result of the consumer’s acceptance of a free offer unless the
13                     consumer’s affirmative consent to the terms of the free offer as set
                       forth in subsection (2) of this section is obtained.
14
     ORS 646.644(4) (emphasis added).
15
              192.     Under ORS 646.644(1)(a), the FOL defines the term “Affirmative consent” as “a
16
     consumer’s agreement to incur a financial obligation as a result of accepting a free offer, or to
17
     provide the consumer’s billing information, given or made in the manner specifically identified
18
     for the consumer to indicate the consumer’s agreement.” ORS 646.644(1)(a).
19
              193.     Subsection (5) of the FOL provides:
20
                       A person that makes a free offer to a consumer may not fail or refuse
21
                       to cancel the free offer if the consumer has used, or made reasonable
22                     efforts to attempt to use, one of the procedures required by
                       subsection (2)(e) of this section.
23
     ORS 646.644(5).
24
              194.     Pursuant to subsection (6) of the FOL, “[a] person who violates a provision of this
25
     section engages in an unlawful practice subject to enforcement and penalty under … 646.605
26
     (Definitions for ORS 336.184 and 646.605 to 646.652)[.]” ORS 646.644(6); see also ORS
27
     646.608(1)(sss) (“(1) A person engages in an unlawful practice if in the course of the person’s
28

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 1   business, vocation or occupation the person does any of the following: … (sss) Violates a provision

 2   of ORS 646.644 (Free offer).”).

 3            195.     As alleged below, Defendants’ practices on the Amazon Platform systematically

 4   violate the FOL pursuant to ORS 646.644(2) and ORS 646.644(4). Defendants’ noncompliance

 5   with the FOL is a direct violation of UTPA. See ORS 646.608(1)(sss).

 6            4.       Virginia’s Automatic Renewal Law

 7            196.     In 1977, the Virginia Legislature enacted the Virginia Consumer Protection Act

 8   (“VCPA”), Va. Code §§ 59.1-196, et seq., with the intent to “promote fair and ethical standards of

 9   dealings between suppliers and the consuming public.” Va. Code § 59.1-197 (statement of

10   legislative intent).

11            197.     More recently, in 2019, Virginia’s House Bill 911 amended the VCPA to include

12   chapter 17.8, consisting of sections numbered 59.1-207.45 through 59.1-207.49 (the “ARL”),

13   adding new requirements meant to increase consumer protections for, among other things, orders

14   that contain free trial and promotional pricing, and subscription agreements entered into online.

15   Violations of the ARL “constitute a prohibited practice under the provisions of § 59.1-200 and

16   [are] subject to the enforcement provisions of the [VCPA].” Va. Code § 59.1-207.49; see also Va.

17   Code § 59.1-200(A)(58) (“A. The following fraudulent acts or practices committed by a supplier

18   in connection with a consumer transaction are hereby declared unlawful: … 58. Violating any

19   provision of Chapter 17.8 (§ 59.1-207.45 et seq.)[.]”).

20            198.     The ARL makes it unlawful for any “supplier making an automatic renewal or

21   continuous service offer to a consumer in the Commonwealth [to] … (3) Fail to provide an

22   acknowledgment that includes the automatic renewal offer terms or continuous service offer terms,

23   cancellation policy, and information regarding how to cancel in a manner that is capable of being

24   retained by the consumer. If the offer includes a free trial, the supplier shall also disclose in the

25   acknowledgment how to cancel the free trial before the consumer pays or becomes obligated to

26   pay for the goods or services.” Va. Code § 59.1-207.46(A)(3).
27            199.     Section 59.1-207.46(B) of the ARL requires e-commerce sellers, doing business in

28   Virginia, to allow online cancellation of auto-renewing memberships or recurring purchases that

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 1   were initiated online:

 2                     A supplier making automatic renewal or continuous service offers
                       shall provide a toll-free telephone number, an electronic mail
 3                     address, a postal address only when the supplier directly bills the
                       consumer, or another cost-effective, timely, and easy-to-use
 4                     mechanism for cancellation that shall be described in the
                       acknowledgment specified in subdivision A 3. Each supplier
 5                     making automatic renewal or continuous service offers through an
                       online website shall make available a conspicuous online option to
 6                     cancel a recurring purchase of a good or service.

 7   Va. Code § 59.1-207.46(B).

 8            200.     Section 59.1-207.45 of the ARL defines the term “Automatic renewal” as a “plan
 9   or arrangement in which a paid subscription or purchasing agreement is automatically renewed at
10   the end of a definite term for a subsequent term.” Va. Code § 59.1-207.45.
11            201.     Section 59.1-207.45 of the ARL defines the term “Automatic renewal offer terms”
12   as “the following clear and conspicuous disclosures: (1) That the subscription or purchasing
13   agreement will continue until the consumer cancels. (2) The description of the cancellation policy
14   that applies to the offer. (3) The recurring charges that will be charged to the consumer’s credit or
15   debit card or payment account with a third party as part of the automatic renewal plan or
16   arrangement, and that the amount of the charge may change, if that is the case, and the amount to
17   which the charge will change, if known. (4) The length of the automatic renewal term or that the
18   service is continuous, unless the length of the term is chosen by the consumer. (5) The minimum
19   purchase obligation, if any.” Va. Code § 59.1-207.45.
20            202.     Pursuant to Section 59.1-207.45 of the ARL, “clear and conspicuous” or “clearly
21   and conspicuously” means “in larger type than the surrounding text, or in contrasting type, font,
22   or color to the surrounding text of the same size, or set off from the surrounding text of the same
23   size by symbols or other marks, in a manner that clearly calls attention to the language.” Va. Code
24   § 59.1-207.45.
25            203.     Finally, Section 59.1-207.47 of the Virginia ARL provides that “[i]n any case in
26   which a supplier sends any goods, wares, merchandise, or products to a consumer under a
27   continuous service agreement or automatic renewal of a purchase without first obtaining the
28   consumer’s affirmative consent as described in § 59.1-207.46, the goods, wares, merchandise, or
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 1   products shall for all purposes be deemed an unconditional gift to the consumer, who may use or

 2   dispose of the same in any manner he sees fit without any obligation whatsoever on the consumer’s

 3   part to the supplier[.]” Va. Code § 59.1-207.47.

 4              204.   As alleged below, Defendants’ practices on the Amazon Platform systematically

 5   violate Sections 59.1-207.46(A)(3) and 59.1-207.46(B) of the Virginia ARL.

 6   E.         Defendants’ business: the Amazon Subscription enrollment process (including as it
                pertains to the alternative California, Oregon, and Virginia law claims)
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                205.   At all relevant times, Defendants offered, via the Amazon Platform, various
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     Amazon Subscriptions for access to exclusive Amazon content, products, and/or services on a
 9
     contract or fee basis. The Amazon Subscriptions are offered on a recurring basis for monthly
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     and/or yearly renewal terms, and all plans automatically renew at the end of the defined renewal
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     term unless the subscriber cancels. For example, when customers sign up for Amazon Prime on
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     a free trial basis, at the end of the initial one-month trial period, their subscriptions are converted
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     to paid subscriptions and charged the full amount, currently $14.99, for the next month, and every
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     month thereafter if they do not cancel. Similarly, customers enrolled for the monthly Amazon
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     Music Unlimited Subscription on a free trial basis are, after the initial trial period, automatically
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     charged the full standard monthly rate of $9.99 for the subsequent month, and every month
17
     thereafter if they do not cancel. Likewise, customers enrolled for the monthly Prime Video
18
     Subscription on a free trial basis are, after the initial one-month term, automatically charged the
19
     full standard monthly rate for the subsequent month, and every month thereafter if they do not
20
     cancel. After the initial trial period ends, customers similarly enrolled in a free trial subscription
21
     of Audible are also automatically charged the full standard monthly rate for the subsequent month,
22
     and every month thereafter if they do not cancel.145 Defendants’ Amazon Subscriptions constitute
23
     automatic renewal and/or continuous service plans or arrangements for the purposes of the
24
     California, Oregon, and Virginia ARL. See Cal. Bus. & Prof. Code § 17601(a); ORS 646A.293(1),
25

26        145
             The enrollment process for Defendants’ monthly and annual subscription offerings for
27   Amazon Prime Video Channels, Amazon Prime Book Box, Amazon Kids+, Kindle Unlimited,
     ComiXology Unlimited, Amazon Subscription Boxes, Blink Subscriptions, and Amazon Photos
28   is substantially similar to the above examples.

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 1   (3); Va. Code § 59.1-207.45.

 2             206.    To sign up for one of Defendants’ Amazon Subscriptions, the consumer must first

 3   select a program. From the Amazon Platform, prospective subscribers can review features of—

 4   and find links to the individual enrollment webpages for—each of Defendants’ subscription

 5   offerings, including the Amazon Subscriptions at issue.

 6             207.    Consumers can sign up for one of Defendants’ Amazon Subscription plans through

 7   the Amazon Website or, in some cases, the Amazon Apps. Defendants automatically enroll

 8   customers who purchase a paid Amazon Subscription or free trial via the Amazon Platform in

 9   their chosen Amazon Subscription program going forward, by default. In addition, customers

10   may sign up for some or all of the Amazon Subscriptions on a free-trial basis for a limited time.

11   Nevertheless, customers that enroll in a free trial, like those that sign up for a paid subscription,

12   must provide Defendants their payment information at the time of enrollment. Customers’ free

13   trial subscriptions automatically convert to paid monthly subscriptions at the end of the trial

14   period, at which point those users are also enrolled by Defendants in their chosen paid Amazon

15   Subscription program and their Payment Methods are automatically charged by Defendants on a

16   recurring monthly or yearly basis in the amount of the full, promotional, or discounted rate

17   associated with that program, continuing indefinitely until the customer takes affirmative steps to

18   cancel.

19             208.    The enrollment process for each Amazon Subscription at issue is substantially the

20   same, regardless of the medium used. In general, after selecting one of the Amazon Subscriptions,

21   those navigating the enrollment process on the Amazon Website are directed to a final webpage

22   (the “Checkout Page”), where prospective subscribers are prompted to input their payment

23   information and then invited to complete their purchase.146 For the purposes of the California,

24   Oregon, and Virginia ARL and this Complaint, the “relevant portion of the Checkout Page” refers

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26       146
            Defendants require basic users to register or create an account in order to utilize features on
27   the Amazon Platform, so prospective subscribers to any of the Amazon Subscriptions must either
     create an Amazon account or “sign in” to a preexisting Amazon account before they can reach the
28   Checkout Page.

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 1   to the text of that portion of the Checkout Page that appears “in visual proximity … to the request

 2   for consent to the offer” (Cal. Bus. & Prof. Code § 17602(a)(1); ORS 646A.295(1)(a); Va. Code

 3   § 59.1-207.46(A)(1)), which in this case pertains to the text nearby the final yellow button that

 4   customers must press in order to complete the checkout process.

 5             209.    By way of example, when a consumer signs up for a free trial of Amazon Prime

 6   via his or her computer web browser, the “relevant portion of the Checkout Page” refers to the

 7   disclosures in the block of text immediately below the “Start your 30 day free trial” button (for

 8   free trials, as of at least approximately November 2021147) or the “Activate Prime benefits” button

 9   (for straight-to-paid Prime subscriptions, as of June 9, 2022), i.e., the “request for consent” (red

10   boxes added to images for emphasis):148

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16         Note that, following November 2021 (i.e., the approximate date of the exemplar free trial
     Amazon Prime Checkout Page shown below, which was captured as a screenshot from
17   Defendants’ website), Defendants raised the full standard monthly renewal price associated with
     Amazon Prime from $12.99 per month to $14.99 per month. The new price point went into effect
18   for new subscribers on February 25, 2022, and after March 25, 2022 for then-current Prime
     members. Otherwise, the Checkout Page for a free trial to Amazon Prime remains substantially
19   and substantively unchanged as of the date of this filing.
         148
            Defendants also occasionally offer trial subscriptions at a promotional price for a limited
20   period of time. For instance, at least as of November 15, 2021, consumers who subscribed to
     Prime through Defendants’ website were offered an “Amazon Prime One Week Trial for only
21   $1.99” that, after one week, will automatically renew at the full standard rate of $12.99 per month.
     On this version of the Amazon Prime Checkout Page, the final yellow checkout button reads “Try
22   Prime[,]” with the following text appearing beneath that button:
23                 By signing up, you agree to the Amazon Prime Terms and authorize us to charge
               default payment method or another payment method on file. After your One-Week
24             $1.99 Trial of Amazon Prime, your Amazon Prime membership continues for
               $12.99/month until cancelled. If you do not wish to continue for $12.99/month
25             + any taxes, you may cancel any time by visiting Your Account. For customers
               in Hawaii, Puerto Rico, and Alaska please visit the Amazon Prime Shipping
26             Benefits page to check various shipping options.
27   (Bolding in original, underlining added to denote hyperlink.) Of note, beginning in February 2022,
     Defendants raised the full standard renewal price associated with Amazon Prime to $14.99 per
28   month or $139 per year.

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 1                            Amazon Prime Checkout Page—Free Trial Subscription

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                            Amazon Prime Checkout Page—Straight-to-Paid Subscription
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22             210.    Similarly, the relevant portion of the Checkout Page for a free trial subscription to

23   Amazon Music Unlimited refers to the block of text immediately below the “Sign-up and pay”

24   button (red markings added for emphasis):149

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         149
             Although, as demonstrated in the varying screenshots above, Defendants have altered the
26   text featured on the Amazon Music Unlimited Checkout Page from time to time, in all cases the
     relevant portion of the Checkout Page refers to the block of text in immediate proximity to the
27   yellow button that reads “Sign-up and pay.” The top version listing a $7.99 monthly renewal rate
     was captured from the Amazon Website on or around November of 2021. The enlarged bottom
28   version listing a $9.99 monthly renewal rate was captured from the Amazon Website on or around
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21            211.     The layout and text of the Checkout Pages for each of the other paid Amazon

22   Subscriptions (including, without limitation, Amazon Prime Video, Amazon Prime Video

23   Channels, Amazon Prime Book Box, Amazon Kids+, Kindle Unlimited, Audible, ComiXology

24   Unlimited, Amazon Subscription Boxes, Amazon Photos, and any other paid Amazon

25   Subscription (but Plaintiffs do not put Subscribe & Save at issue here as the basis for any of their

26   claims herein) is aesthetically and functionally similar to the Checkout Pages for Amazon Prime

27

28   June 14, 2022.

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 1   and Amazon Music Unlimited shown above.150

 2              212.   Regardless of how the consumer subscribes (whether via the Amazon Website, on

 3   either the desktop or mobile format, or through the Amazon App(s)), and irrespective of which

 4   particular Amazon Subscription or of which specific plan the subscriber selects (whether for a

 5   monthly or annual renewal term, or for a free trial, straight-to-paid, or discounted-rate student or

 6   family subscription), Defendants uniformly fail to disclose the full terms of their auto-renewal

 7   programs in the Acknowledgment Email they send to consumers after checkout or provide an

 8   ARL-compliant cancellation mechanism.

 9   F.         Defendants violate California, Oregon, and Virginia Law (pertaining to the
                California, Oregon, and Virginia Plaintiffs’ alternative claims thereunder).
10
                213.   At all relevant times, Defendants failed to comply with California’s, Oregon’s, and
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     Virginia’s ARL in by failing to provide an acknowledgment that included the automatic renewal
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     offer terms, cancellation policy, and information regarding how to cancel in a manner that is
13
     capable of being retained by the consumer, in violation of Cal. Bus. & Prof. Code § 17602(a)(3),
14
     ORS 646A.295(1)(c), and Va. Code § 59.1-207.46(A)(3). The acknowledgment also fails to
15
     disclose a toll-free telephone number or describe another cost-effective, timely and easy-to-use
16
     mechanism for cancellation, and in fact Defendants make it exceedingly difficult and
17
     unnecessarily confusing for consumers to cancel their Amazon Subscriptions, in violation of
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     California’s ARL under Cal. Bus. & Prof. Code § 17602(c), Oregon’s ARL under ORS
19
     646A.295(2), and Virginia’s ARL under Va. Code § 59.1-207.46(B).
20
                214.   After Plaintiffs and the members of the proposed Classes and Subclass subscribed
21
     to one of Defendants’ Amazon Subscriptions, Defendants sent to Plaintiffs and the Class email
22
     follow-ups regarding their purchases (the “Acknowledgment Emails”).
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          150
25          Although Defendants have, from time to time, altered the text featured on the Amazon
     Subscription Checkout Pages, in all cases the relevant portion of the Checkout Page refers to the
26   block of text immediately below the final yellow button that a subscriber must click in order to
     complete the checkout process, which, in the above examples, reads “Start your 30 day free trial,”
27   “Try Prime,” and “Sign-up and pay.” As another example, the final yellow checkout button
     featured on the version of the Audible Checkout Page that appeared on Defendants’ Website on or
28   around October 29, 2021, reads “$0.00 Unlock Free.”

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 1            215.     By way of example, consumers who enroll in Amazon Prime receive an email from

 2   Defendants upon completion of the checkout process. The subject line of the Acknowledgment

 3   Email Defendants sent to Amazon Prime subscribers (the “Amazon Prime Acknowledgment

 4   Email”) stated: “[Subscriber Name], Welcome to Amazon Prime! Enjoy the best of shopping and

 5   entertainment.” The body of the Amazon Prime Acknowledgment Email contained the following

 6   text and images (red boxes added to emphasize relevant terms):

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21            216.     Similarly, the subject line of the Acknowledgment Email that Defendants send to

22   consumers who enrolled in a straight-to-paid Amazon Music Unlimited Subscription (the

23   “Amazon Music Unlimited Acknowledgment Email”) states: “Welcome to Amazon Music

24   Unlimited[.]” The body of the Email contained the following text and images (red box added to

25   emphasize relevant terms):

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16            217.     Likewise, when consumers sign up for a free trial subscription to Amazon Music
17   Unlimited (rather than a straight-to-paid subscription, as shown in the example above), Defendants
18   send subscribers a nearly identical Acknowledgment Email featuring substantially the same
19   disclosures, also buried in tiny grey font at the bottom of the email (red box added to screenshot
20   for emphasis):
21

22

23

24            218.     The other Acknowledgment Emails that Defendants sent, and continue to send, to
25   consumers who enroll in the other Amazon Subscriptions at issue upon completion of the checkout
26   process are substantially similar to the Amazon Prime and Music Unlimited Acknowledgment
27   Emails shown above. The Amazon Acknowledgment Emails—including but not limited to the
28   Acknowledgment Emails shown above for Amazon Prime and Music Unlimited—failed to
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 1   provide Plaintiffs and members of the Classes with the complete automatic renewal or continuous

 2   service terms that applied to the offer, a description of the full cancellation policy, or any specific

 3   information regarding how to cancel.

 4            219.     Specifically, as the above exemplars make clear, the Acknowledgment Emails for

 5   the Amazon Subscriptions do not clearly and conspicuously disclose the continuous nature of the

 6   subscription or purchasing agreement, and they also fail to adequately or fully describe the

 7   complete cancellation policy associated with a consumer’s given Amazon Subscription, and the

 8   length of the automatic renewal term or that the service is continuous. Any such disclosures of

 9   required automatic renewal terms are either missing altogether or are deceptively incomplete,

10   objectively inaccurate, and/or are inconspicuously buried in the tiny, grey fine print at the bottom

11   of the Acknowledgment Emails (i.e., hidden in the fine print).

12            220.     For example, although the fine print of the Acknowledgment Emails may also

13   contain some relevant language like that of the corresponding Checkout Pages—indicating

14   (without stating outright) that the subscription or purchasing agreement will continue until the

15   consumer cancels and providing the length of the automatic renewal term or that the service is

16   continuous—any such disclosures are also hidden in the fine print at the bottom of the

17   Acknowledgment Emails in tiny gray font. See Cal. Bus. & Prof. Code § 17601(b)(1), (4)

18   (defining “Automatic renewal offer terms” to include “clear and conspicuous disclosures[] …

19   [t]hat the subscription or purchasing agreement will continue until the consumer cancels” and

20   regarding “[t]he length of the automatic renewal term or that the service is continuous”); accord

21   ORS 646A.293(5)(a), (c) (same); accord, Va. Code § 59.1-207.45 (same). In other words, that

22   disclosure and any others required disclosures accompanying it within the same block of text were

23   presented in such a way that they could be, and were (e.g., by Plaintiff, as alleged below), easily

24   overlooked. Such disclosures are therefore not “clear and conspicuous” as that term is defined by

25   the ARL under Cal. Bus. & Prof. Code § 17601(c), ORS 646A.293(2), and Va. Code § 59.1-

26   207.45, in violation of the California, Oregon, and Virginia ARL under Cal. Bus. & Prof. Code §
27   17602(a)(3), ORS § 646A.295(1)(c), and Va. Code § 59.1-207.46(A)(3), respectively.

28            221.     The same is true concerning the cancellation policies applicable to the Amazon

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 1   Subscriptions, disclosures about which are buried in the fine print of the Acknowledgment Emails

 2   or altogether missing from them. Nor is any cancellation information that appears in the fine print

 3   regarding cancellation comprehensive. For instance, the Acknowledgment Emails above do not

 4   specify that subscribers must not use any benefits prior to cancellation or that cancellation must

 5   be affected prior to the next charge to the consumer, as is set forth on other pages of the Amazon

 6   Platform that Plaintiffs and Class Members were neither required nor prompted to view. As such,

 7   the Acknowledgment Emails shown above fail to provide a description of Defendants’ complete

 8   cancellation policy. See Cal. Bus. & Prof. Code § 17601(b)(2) (defining “Offer terms” to include

 9   “clear and conspicuous disclosures” regarding “the cancellation policy that applies to the offer”);

10   accord ORS 646A.293(5)(b) (same); accord Va. Code § 59.1-207.45(2) (same). Thus, based on

11   these omissions, Defendants further violate the California, Oregon, and Virginia ARL under Cal.

12   Bus. & Prof. Code § 17602(a)(3), ORS § 646A.295(1)(c), and Va. Code § 59.1-207.46(A)(3),

13   respectively.

14            222.     Additionally, the Acknowledgment Emails fail to provide a toll-free telephone

15   number or describe another cost-effective, timely and easy-to-use mechanism for cancellation,

16   and in fact Defendants make it exceedingly difficult and unnecessarily confusing for consumers

17   to cancel their Amazon Subscriptions, which violates the California Oregon, and Virginia ARL

18   under Cal. Bus. & Prof. Code §§ 17602(a)(3) and 17602(c), ORS 646A.295(1)(c) and

19   646A.295(2), and Va. Code §§ 59.1-207.46(A)(3) and 59.1-207.46(B).

20            223.     In sum, the Acknowledgment Emails do not adequately disclose the requisite

21   terms—the “Automatic renewal offer terms” as that term is defined by Cal. Bus. & Prof. Code §

22   17601(b) of the California ARL and Va. Code § 59.1-207.45(1)-(5) of the Virginia ARL, or the

23   “Offer terms” as defined by ORS 646A.293(5) of the Oregon ARL—in violation of the California

24   Oregon, and Virginia ARL under Cal. Bus. & Prof. Code § 17602(a)(3), ORS 646A.295(1)(c),

25   and Va. Code § 59.1-207.46(A)(3), respectively. Further, the Acknowledgment Emails fail to

26   provide a clear, conspicuous, and complete description of the applicable cancellation mechanism
27   and specifically how to cancel, in further violation of the California Oregon, and Virginia ARL

28   under Cal. Bus. & Prof. Code § 17602(c), ORS 646A.295(2), and Va. Code § 59.1-207.46(B),

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 1   respectively.

 2            224.     At all relevant times, Defendants have been well aware that their Amazon

 3   Subscriptions fail to comply with Oregon’s ARL. Indeed, by virtue of the large volume of online

 4   consumer complaints discussed above regarding Defendants’ billing practices with respect to the

 5   Amazon Subscriptions (see, e.g., supra), investigations by governmental entities and/or third-

 6   party organizations—including, among others, the NCC, the FTC, and internet privacy watchdog

 7   EPIC (see id.)—into substantially similar complaints concerning the Amazon Subscriptions,

 8   Defendants’ long and documented history of using dark patterns on the Amazon Platform to affect

 9   subscription enrollment, and Amazon’s own leaked internal documentation evidencing same,

10   Defendants knew or should have known that their conduct constitutes violations of California,

11   Oregon, and Virginia law.

12            225.     By and through these actions, Defendants have charged Plaintiffs’ and Class

13   members’ Payment Methods in direct violation of the California Oregon, and Virginia ARL . As

14   a result, all goods, wares, merchandise, and/or products sent to Plaintiffs and the Classes upon the

15   automatic renewal of their subscription agreements and without Plaintiffs’ and Class and Subclass

16   members’ affirmative consent to the offer terms are deemed to be “unconditional gifts” pursuant

17   to Cal. Bus. & Prof. Code § 17603, ORS 646A.295(5), and Va. Code § 59.1-207.47.

18            226.     Plaintiffs bring this action individually and on behalf of similarly situated

19   individuals in the United States against Defendants for conversion, unjust enrichment, negligent

20   misrepresentation, and fraud. Further, in the alternative to Plaintiffs’ claims based on Washington

21   law, Plaintiff Daly, individually and on behalf of similarly situated individuals in Oregon, brings

22   this action against Defendants for violations of Section 646.608(1) of Oregon’s Unlawful Trade

23   Practices Act (“UTPA”). As set forth in detail below, Plaintiff Daly’s alternative UTPA claims—

24   which are based on, inter alia, Defendants’ failure to adequately provide the requisite disclosures

25   and authorizations required to be made to Oregon consumers under ORS 646A.295 and ORS

26   646.644—arise under ORS 646.608(1)(ttt) and ORS 646.608(1)(sss). Additionally, Plaintiffs
27   Nacarino, Sylvester, and Sonnenschein also bring alternative claims, individually and on behalf

28   of similarly situated individuals in California, under California’s Unfair Competition Law

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 1   (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq. (among other statutory and common law claims

 2   asserted below), based on Defendants’ failure to comply with the California ARL and arise under

 3   the “unlawful” prong of the UCL. Finally, Plaintiff Adams brings alternative claims, individually

 4   and on behalf of similarly situated individuals in Virginia, under Virginia’s Consumer Protection

 5   Act (“VCPA”), Va. Code § 59.1-200(A)(58), based on Defendants’ failure to comply with the

 6   Virginia ARL, Va. Code §§ 59.1-207.45, et seq.

 7                                VI.     CLASS ACTION ALLEGATIONS

 8   A.       Nationwide class

 9            227.     Plaintiffs bring this action on behalf of himself, and as a class action under the

10   Federal Rules of Civil Procedure (“Rules”), specifically Rules 23(a) and (b)(3), seeking damages

11   pursuant to Washington law on behalf of the members of the following Class:

12                     All persons who enrolled in any of the Amazon Subscriptions,
                       including in Amazon Prime, in the United States and, within the
13                     applicable statute of limitations periods, up to and including the date
                       of judgment in this action, attempted to cancel their Amazon
14                     Subscription(s), including any Prime membership, online by
                       clicking at least two pages in the cancellation process and who
15                     incurred a membership fee after failing to cancel their membership
                       for that period, for which Amazon did not reimburse them.
16
                       Excluded from the Class are Amazon and its officers, directors,
17                     management, employees, subsidiaries, or affiliates. Also excluded
                       from the Class are the district judge or magistrate judge to whom
18                     this case is assigned, as well as those judges’ immediate family
                       members, judicial officers and their personnel, and all governmental
19                     entities.

20   B.       Alternative classes

21            228.      Alternatively, and in the event the Court should decline to certify a nationwide

22   class, Plaintiffs bring this action on behalf of themselves and all others similarly situated, as a

23   class action pursuant to Federal Rule of Civil Procedure 23 as follows. The classes Plaintiffs seek

24   to represent are defined as:

25                     (a)    the Oregon Class. All persons in Oregon who, within the applicable statute

26   of limitations period, up to and including the date of final judgment in this action, incurred fee(s)
27   in connection with Defendants’ Amazon Subscription offerings (the “Oregon Class”);

28                     (b)    the Oregon Subclass. All members of the Oregon Class who, within the

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 1   applicable statute of limitations periods, up to and including the date of final judgment in this

 2   action, incurred fee(s) in connection with their enrollment in a free trial to any of Defendants’

 3   Amazon Subscription offerings (the “Oregon Subclass”);

 4                     (c)    the California Class. All persons in California who, within the applicable

 5   statute of limitations period, up to and including the date of final judgment in this action, incurred

 6   fee(s) in connection with Defendants’ Amazon Subscription offerings (the “California Class”);

 7   and

 8                     (d)    the Virginia Class. All persons in Virginia who, within the applicable

 9   statute of limitations period, up to and including the date of final judgment in this action, incurred

10   fee(s) in connection with Defendants’ Amazon Subscription offerings (the “Virginia Class”).

11            229.     The identities of all Class members are readily identifiable from information and

12   records maintained by Amazon.

13            230.     Numerosity: Members of the Classes are so numerous that joinder is impracticable.

14   Plaintiffs believe that there are hundreds of thousands, if not millions, of Class members such that

15   joinder of all class members is impracticable.

16            231.     Typicality: Plaintiffs’ claims are typical of the claims of the other Class members.

17   The factual and legal bases of Amazon’s liability are the same and resulted in injury to Plaintiffs

18   and all other members of the proposed Classes.

19            232.     Adequate representation: Plaintiffs will represent and protect the interests of the

20   proposed Class both fairly and adequately. Plaintiffs have retained counsel competent and

21   experienced in complex class-action litigation. Plaintiffs have no interests that are antagonistic to

22   those of the proposed Classes, and their interests do not conflict with the interests of the proposed

23   Class members they seek to represent.

24            233.     Commonality: Questions of law and fact common to the members of the Classes

25   predominate over questions that may affect only individual Class members because Amazon has

26   acted on grounds generally applicable to the Classes and because Class members share a common
27   injury. Thus, determining damages with respect to the Classes as a whole is appropriate. The

28   common applicability of the relevant facts to claims of Plaintiffs and the proposed Classes are

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 1   inherent in Amazon’s wrongful conduct because the financial injuries incurred by Plaintiffs and

 2   each member of the proposed Classes arose from the same unfair and deceptive conduct alleged

 3   herein.

 4             234.    There are common questions of law and fact specific to the Class that predominate

 5   over any questions affecting individual members, including:

 6             a. Whether Amazon’s cancellation process(es) as to Amazon Subscriptions,

 7                 including Prime, is or are likely to mislead a reasonable consumer;

 8             b. Whether Amazon intentionally designed its cancellation policy to deceive

 9                 consumers by creating unreasonable obstacles to completing the cancellation

10                 process;

11             c. Whether Plaintiffs and Class members have been damaged by Amazon’s

12                 conduct; and

13             d. Whether Plaintiffs and the other Class members are entitled to damages and

14                 other monetary relief and, if so, in what amount.

15             235.    Common questions of law and fact also exist as to all members of the alternatively

16   alleged Classes and Subclass and predominate over questions affecting only individual Class and

17   Subclass members. As to these alternatively proposed classes and subclass, common legal and

18   factual questions include, but are not limited to, the following:

19             a. The Oregon Class and Subclass: (i) whether Defendants’ Amazon

20                 Subscriptions   constitute   “Automatic    renewal[s]”   and/or       “Continuous

21                 service[s]” within the meaning of ORS 646A.293(1) and (4); (ii) whether

22                 Defendants failed to provide an acknowledgment that included the automatic

23                 renewal or continuous service offer terms and information on how to cancel in

24                 a manner that is capable of being retained by Plaintiff Daly and the Oregon

25                 Class, in violation of ORS 646A.295(1)(c); (iii) whether the goods and services

26                 provided by Defendants to consumers pursuant to the Amazon Subscriptions
27                 are deemed “unconditional gifts” in accordance with ORS 646A.295(5); (iv)

28                 whether Defendants’ failure to comply with the Oregon ARL as alleged herein

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 1                 violated the UTPA’s prohibitions of engaging in unlawful practices in the

 2                 course of their business, vocation, or occupation under ORS 646.608(1)(ttt); (v)

 3                 whether Defendants’ conduct was proscribed by the FOL pursuant to ORS

 4                 646.644(2), which prohibits a person from “mak[ing] a free offer to a consumer,

 5                 or impos[ing] a financial obligation on the consumer as a result of the

 6                 consumer’s acceptance of a free offer, unless the person provides the consumer

 7                 with clear and conspicuous information regarding the terms of the free offer

 8                 before the consumer agrees to accept the free offer”; (vi) whether Defendants’

 9                 conduct was proscribed by the FOL pursuant to ORS 646.644(4), which

10                 provides that a “person may not impose a financial obligation on a consumer as

11                 a result of the consumer’s acceptance of a free offer unless the consumer’s

12                 affirmative consent to the terms of the free offer as set forth in subsection (2)

13                 of this section is obtained”; (vii) whether Defendants’ failure to comply with

14                 the Oregon FOL as alleged herein violated the UTPA’s prohibitions of engaging

15                 in unlawful practices in the course of their business, vocation, or occupation

16                 under ORS 646.608(1)(sss); (viii) whether Defendants’ use or employment of

17                 the unlawful practice(s) alleged herein was willful and/or reckless or knowing;

18                 (ix) whether Plaintiff Daly and members of the Oregon Class and Subclass

19                 suffered ascertainable loss of money or property as a result of Defendants’

20                 conduct; (x) whether Plaintiff Daly and members of the Oregon Class and

21                 Subclass are entitled to recover statutory damages of $200 per violation

22                 pursuant to ORS 646.638(1) and ORS 646.638(8); (xi) whether Plaintiff Daly

23                 and the Oregon Class and Subclass are entitled to recover punitive damages

24                 and/or equitable relief under ORS 646.638(1); (xii) whether Plaintiff Daly and

25                 the Oregon Class and Subclass are entitled to attorneys’ fees and costs under

26                 ORS 646.638(3); and (xiii) whether Defendants should be enjoined from further
27                 engaging in the misconduct alleged herein.

28            b. The California Class: (i) whether Defendants’ Amazon Subscriptions

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 1                 constitute “Automatic renewal[s]” within the meaning of Cal. Bus. & Prof.

 2                 Code § 17601(a); (ii) whether Defendants failed to provide an acknowledgment

 3                 that included the automatic renewal or continuous service offer terms,

 4                 cancellation policy, and information on how to cancel in a manner that is

 5                 capable of being retained by Plaintiffs and the Class, in violation of Cal. Bus.

 6                 & Prof. Code § 17602(a)(3); (iii) whether the goods and services provided by

 7                 Defendants are deemed an “unconditional gift” in accordance with Cal. Bus. &

 8                 Prof. Code § 17603; (iv) whether Defendants’ conduct alleged herein violated

 9                 California’s False Advertising Law (“FAL”), Cal. Bus. & Prof. Code §§ 17500,

10                 et seq., California’s Consumers Legal Remedies Act (“CLRA”), Cal. Civ. Code

11                 §§ 1750, et seq., and/or California’s Unfair Competition Law (“UCL”), Cal.

12                 Bus. & Prof. Code §§ 17200, et seq.; (v) whether Plaintiffs and the Class are

13                 entitled to damages and/or restitution; (vi) whether Defendants should be

14                 enjoined from further engaging in the misconduct alleged herein; and (vii)

15                 whether Plaintiffs and the Class are entitled to attorneys’ fees and costs under

16                 California Code of Civil Procedure § 1021.5.

17            c. The Virginia Class: (i) whether Defendants’ Amazon Subscriptions constitute

18                 “Automatic renewal[s]” and/or “Continuous service[s]” within the meaning of

19                 Va. Code § 59.1-207.45; (ii) whether Defendants failed to provide an

20                 acknowledgment that included the automatic renewal or continuous service

21                 offer terms and information on how to cancel in a manner that is capable of

22                 being retained by Plaintiff Adams and the Virginia Class, in violation of Va.

23                 Code § 59.1-207.46(A)(3); (iii) whether the goods and services provided by

24                 Defendants to consumers pursuant to the Amazon Subscriptions are deemed

25                 “unconditional gifts” in accordance with Va. Code § 59.1-207.47; (iv) whether

26                 Defendants’ failure to comply with the Virginia ARL as alleged herein violated
27                 the VCPA’s prohibitions of engaging in unlawful practices in the course of their

28                 business, vocation, or occupation under Va. Code § 59.1-200(A)(58); (v)

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 1                 whether Defendants’ conduct was proscribed by the VCPA pursuant to Section

 2                 59.1-207.46(A)(3), which provides that “[i]f the offer includes a free trial, the

 3                 supplier shall also disclose in the acknowledgment how to cancel the free trial

 4                 before the consumer pays or becomes obligated to pay for the goods or

 5                 services”; (vi) whether Plaintiff Adams and members of the Virginia Class

 6                 suffered ascertainable loss of money or property as a result of Defendants’

 7                 conduct; (vii) whether Plaintiff Adams and members of the Virginia Class are

 8                 entitled to recover actual damages or $500, whichever is greater, per violation

 9                 pursuant to Va. Code § 59.1-204(A); (viii) whether Defendants’ use or

10                 employment of the unlawful practice(s) alleged herein was willful and/or

11                 reckless or knowing, and therefore Plaintiff Adams and members of the

12                 Virginia Class are entitled to damages of an amount not exceeding three times

13                 the actual damages sustained, or $1,000, whichever is greater pursuant to Va.

14                 Code § 59.1-204(A); (ix) whether Plaintiff Adams and the Virginia Class are

15                 entitled to attorneys’ fees and costs under Va. Code § 59.1-204(B); and (x)

16                 whether Defendants should be enjoined from further engaging in the

17                 misconduct alleged herein.

18            236.     Predominance and superiority: This proposed class action is appropriate for

19   certification. Class proceedings on behalf of the Class members are superior to all other available
20
     methods for the fair and efficient adjudication of this controversy, given that joinder of all members
21
     is impracticable. Resolution of the Class members’ claims through the class action device will
22
     present fewer management difficulties, and it will provide the benefit of a single adjudication,
23
     economies of scale, and comprehensive supervision by this Court.
24

25                                         VII.   CHOICE OF LAW

26            237.     Washington law applies to all Plaintiffs’ claims by virtue of a choice-of-law

27   provision that is set forth in “conditions of use” that appear on Amazon’s website:
28

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 1             By using any Amazon Service, you agree that applicable federal law, and the laws
               of the state of Washington, without regard to principles of conflict of laws, will
 2             govern these Conditions of Use and any dispute of any sort that might arise between
               you and Amazon.151
 3
               238.    In the event the Court should determine that Washington law does not apply on a
 4
     nationwide basis, Washington law applies, including per the above, to the claims of Washington
 5

 6   residents and putative class members. Further, Plaintiffs assert in the alternative that the laws of

 7   California, Oregon, and Virginia apply as alleged herein.

 8                                        VIII. CLAIM FOR RELIEF
 9                                                  COUNT I
10              VIOLATIONS OF THE WASHINGTON CONSUMER PROTECTION ACT
11                            (Wash. Rev. Code §§ 19.86.010, et seq.)

12                          (Pled on Behalf of All Plaintiffs and the Nationwide Class)

13             239.    Plaintiffs re-allege and incorporate by reference every allegation set forth in the

14   preceding paragraphs as though alleged in this Count.

15             240.     Plaintiffs bring this claim on behalf of themselves and each member of the

16   proposed Nationwide Class.

17             241.    The Washington Consumer Protection Act (“Washington CPA”) broadly prohibits

18   “[u]nfair methods of competition and unfair or deceptive acts or practices in the conduct of any

19   trade or commerce.” Wash. Rev. Code § 19.86.010.

20             242.    Amazon committed the acts complained of herein in the course of “trade” or

21   “commerce” within the meaning of Wash. Rev. Code § 19.86.010.

22             243.    Amazon engaged in unfair or deceptive acts or practices through the conduct

23   described herein by employing dark patterns to confuse or frustrate Plaintiffs and members of the

24   Class to nudge or trick them into continuing their Amazon Subscriptions i.e., Amazon Prime,

25   Amazon Prime Video, Amazon Prime Video Channels, Amazon Music, Amazon Music

26
         151
27           Amazon, Help & Customer Service: Conditions of Use (last updated Sept. 14, 2022),
     https://www.amazon.com/gp/help/customer/display.html%3FnodeId%3DGLSBYFE9MGKKQX
28   XM.

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 1   Unlimited, Amazon Prime Book Box, ComiXology Unlimited, Amazon Subscription Boxes, Blink

 2   for Home, Amazon Kids+, Amazon Photos, Kindle Unlimited, Audible, and Audible Premium

 3   Plus, despite their intention of quitting the services. Amazon’s online Amazon Subscriptions

 4   cancellation process, including as it pertains to Prime subscriptions, requires a user to navigate a

 5   complicated and manipulative interface that employs skewed wording, confusing choices, and

 6   repeated nudging. The tactics used in this process are deceptive because they tend to mislead users

 7   who wish to terminate their Prime subscriptions by steering consumers away from their intended

 8   outcome.

 9            244.     While attempting to cancel an Amazon Subscription, including an Amazon Prime

10   subscription, online, a user cannot reasonably avoid Amazon’s use of dark patterns and

11   manipulative interface design. Amazon’s acts and practices had the capacity to deceive a

12   substantial portion of the public and did in fact deceive reasonable consumers, including Plaintiffs,

13   by confusing or manipulating them, directing them away from the cancellation process, or

14   frustrating their resolve to quit the subscription.

15            245.     Amazon intentionally and knowingly misled Plaintiffs and Class members.

16   Amazon created and implemented its Project Iliad precisely to deceive members of the public, and

17   Amazon’s own internal documents confirm that it succeeded, e.g., by reducing cancellations by as

18   much as 17% at one point in 2017.

19            246.     Plaintiffs and Class members have suffered injuries in fact, including the payment

20   of subscription fees.

21            247.     Amazon employed dark patterns to hinder Plaintiffs and Class members from

22   ending their Prime subscriptions. But for Amazon’s unfair and deceptive practices, Plaintiffs and

23   Class members would have cancelled their Prime memberships (or would have cancelled earlier)

24   and would not have incurred additional subscription fees.

25            248.     Amazon continues to employ its dark patterns in the cancellation process. Plaintiffs

26   seek to enjoin further unfair and fraudulent acts or practices by Amazon, and to recover damages
27   and obtain all other relief allowed under Wash. Rev. Code § 19.86.010.

28

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 1                                   COUNTS IN THE ALTERNATIVE

 2         ALTERNATIVE COUNTS ON BEHALF OF PLAINTIFFS DALY, NACARINO,
            SYLVESTER, AND SONNENSCHEIN,; THE OREGON, CALIFORNIA, AND
 3                 VIRGINIA CLASSES; AND THE OREGON SUBCLASS

 4                                                 COUNT II

 5                VIOLATIONS OF OREGON’S UNLAWFUL TRADE PRACTICES ACT
                                    (ORS 646.608(1)(ttt))
 6

 7                    (Pled Alternatively on Behalf of Plaintiff Daly and the Oregon Class)

 8            249.     Plaintiffs re-allege and incorporate by reference every allegation set forth in the

 9   preceding paragraphs as though alleged in this Count.

10            250.     Plaintiff Mark Daly brings this alternative claim individually and on behalf of the

11   members of the proposed Oregon Class against Defendants.

12            251.     The Oregon Unlawful Trade Practices Act (“UTPA”), which was enacted in 1971

13   and is codified at ORS 646.605-646.656, is remedial statutory scheme enacted as a comprehensive

14   statute for the protection of consumers from unlawful trade practices. The UTPA prohibits

15   unlawful practices in the course of the person’s business, vocation, or occupation with respect to

16   both general and specific conduct. Specifically proscribed conduct is set forth under Section

17   646.608(1), which has 79 subsections and many of which refer to other provisions of the Oregon

18   Revised Statutes. See ORS 646.608(1)(a)–(aaaa).

19            252.     The UTPA authorizes private civil actions. Pursuant to Section 646.638(8)(a) of

20   the UTPA, “a person that suffers an ascertainable loss of money or property, real or personal, as a

21   result of another person’s willful use or employment of a method, act or practice declared unlawful

22   under ORS 646.608 … may bring an individual action in an appropriate court to recover actual

23   damages or statutory damages of $200, whichever is greater.” ORS 646.638(1); see also ORS

24   646.638(8). In a class action, plaintiffs may recover statutory damages only if they suffered an

25   ascertainable loss “as a result of a reckless or knowing use or employment” of an unlawful trade

26   practice. ORS 646.638(8)(a).

27            253.     Defendants are each a “Person” as defined in ORS 646.605(4).

28            254.     The Amazon Subscriptions are goods as defined by ORS 646.605(6)(a), because

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 1   the constitute products that may be obtained primarily for personal, family, or household uses.

 2            255.     “The UTPA prohibits businesses from charging customers other types of fees when

 3   they are not disclosed in the particular way that the law requires.” Stewart v. Albertson’s, Inc.,

 4   308 Or. App. 464, 492 n.17, review denied, 368 Or. 138 (2021); Scharfstein v. BP West Coast

 5   Products, LLC, 292 Or. App. 69, 89, review denied, 363 Or. 815 (2018) (same); see also Miller v.

 6   WinCo Foods, LLC, 2020 WL 6693149, at *7 (D. Or. Sept. 3, 2020), report and recommendation

 7   adopted, 2020 WL 6685697 (D. Or. Nov. 12, 2020); Russell v. Ray Klein, Inc., 2019 WL 6137455,

 8   at *4 (D. Or. Nov. 19, 2019); Tri-W. Const. Co. v. Hernandez, 43 Or. App. 961, 972 (1979);

 9   Sanders v. Francis, 277 Or. 593, 598-99 (1977); Rollins v. Wink Labs, Inc., 2021 WL 1976082, at

10   *5 (D. Or. Feb. 22, 2021).

11            256.     Defendants violated, and continue to violate, the ARL because, at all relevant times,

12   they failed, and continue to fail, to provide an acknowledgment that includes the automatic renewal

13   or continuous service offer terms, cancellation policy, and information regarding how to cancel in

14   a manner that is capable of being retained by the consumer, in violation of ORS 646A.295(1)(c).

15   Defendants also make it exceedingly difficult and unnecessarily confusing for consumers to cancel

16   their Amazon Subscriptions, in violation of ORS 646A.295(2).

17            257.     Each of these acts and practices constitutes an independent violation of the Oregon

18   ARL, and thus an independent violation of the Section 646.608(1) of the UTPA.

19            258.     Defendants’ noncompliance with the Oregon ARL is a direct violation of UTPA.

20   See ORS 646.608(1)(ttt) (“(1) A person engages in an unlawful practice if in the course of the

21   person’s business, vocation or occupation the person does any of the following: … (ttt) Violates a

22   provision of ORS 646A.295 (Prohibited actions).”).

23            259.     Thus, Defendants “failed to disclose the legally required information and assessed

24   a … fee in violation of the UTPA.” Scharfstein v. BP W. Coast Prod., LLC, 292 Or. App. 69, 90

25   (2018). “In doing so, [Defendants] illegally charged [their] customers [recurring subscription

26   fees], thereby causing the ascertainable loss.” Id.; see also Stewart v. Albertson’s, Inc., 308 Or.
27   App. 464, 492 n.17, review denied, 368 Or. 138 (2021); Miller v. WinCo Foods, LLC, 2020 WL

28   6693149, at *7 (D. Or. Sept. 3, 2020), report and recommendation adopted, 2020 WL 6685697

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 1   (D. Or. Nov. 12, 2020); Rollins v. Wink Labs, Inc., 2021 WL 1976082, at *5 (D. Or. Feb. 22,

 2   2021); Russell v. Ray Klein, Inc., 2019 WL 6137455, at *4 (D. Or. Nov. 19, 2019); Wright v. Kia

 3   Motors Am. Inc., 2007 WL 316351, at *3 (D. Or. Jan. 29, 2007); Tri-W. Const. Co. v. Hernandez,

 4   43 Or. App. 961, 972 (1979); Sanders v. Francis, 277 Or. 593, 598-99 (1977).

 5            260.     Moreover, pursuant to the ARL, all products received from Defendants in violation

 6   of the ARL “shall for all purposes be deemed unconditional gift[s] to the consumer[s.]” ORS

 7   646A.295(5). In other words, once Defendants tendered, and Plaintiff Daly and Oregon Class

 8   members were provided access to, the “goods, wares, merchandise or products” of the Amazon

 9   Subscriptions (i.e., their benefits) vis-à-vis their activation, Plaintiff and Class members assumed

10   title and ownership over such goods as their property, at which point Plaintiff and Class members

11   were vested with the right to “use or dispose of them in any manner the[y] see[] fit without any

12   obligation to [Defendants.]” Id.

13            261.     Thus, by ultimately revoking Plaintiff Daly’s and other similarly situated Class

14   members’ access to such goods once recurring payments were eventually stopped, Defendants

15   wrongfully deprived Plaintiff Daly and Oregon Class members of their property.

16            262.     Thus, Plaintiff Daly has sustained an ascertainable loss of money and property as

17   a result of Defendants’ use or employment of methods, acts, or practices declared unlawful by

18   ORS 646.608(1)(ttt) (i.e., Defendants’ conduct in violation of Oregon’s ARL).

19            263.     Because Defendants illegally charged Plaintiff Daly and the Oregon Class unlawful

20   fees in connection with the Amazon Subscriptions in violation of the Oregon ARL, Plaintiff Daly

21   and Oregon Class members are entitled to recover statutory damages of $200 per violation of the

22   UTPA under ORS 646.608(1)(ttt). See ORS 646.638(1) and (8)(a) (class members can recover

23   “actual damages or statutory damages of $200, whichever is greater”).

24            264.     In the alternative, Defendants’ unlawful conduct as described above caused

25   Plaintiff Daly’s and Oregon Class members’ ascertainable loss because Defendants’ acts and

26   practices were intended to deceive Plaintiff and the Class, and—as a result of Plaintiff Daly’s and
27   Oregon Class members’ reasonable reliance on Defendants’ omissions of material offer terms

28   required to be disclosed by the Oregon ARL—they have resulted, and will continue to result, in

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 1   damages to Plaintiff Daly and the Oregon Class in the form of ascertainable loss on money and

 2   property.

 3            265.     As a direct and proximate result of Defendants’ unlawful practices described

 4   herein, Defendants have received, and continues to hold, unlawfully obtained property and money

 5   belonging to Plaintiff Daly and the Oregon Class in the form of recurring payments collected from

 6   Plaintiff and Class members in connection with their Amazon Subscriptions. Defendants have

 7   profited from their unlawful acts and practices in the sum total amount of such recurring payments

 8   that were collected by Defendants during the relevant time period, and any and all interest accrued

 9   thereon. If Defendants had complied with the Oregon ARL, Defendants would not have made the

10   unlawful charges, and would not have obtained these monies from Plaintiff Daly and the Oregon

11   Class.

12            266.      As alleged above, Defendants’ violations of the UTPA under ORS 646.608(1)(ttt)

13   as described above were willful, as well as reckless and/or knowing, because, at the time

14   Defendants committed the violations at issue, Defendants knew or should have known that their

15   actions violated the Oregon UTPA. See, e.g., supra.

16            267.     Accordingly, Plaintiff Daly, individually and on behalf of similarly situated Oregon

17   consumers, seeks all monetary and non-monetary relief permitted by law under ORS 646.605 et

18   seq., including ORS 646.636 and ORS 646.638(1) and (8), including equitable relief, actual

19   damages or statutory damages of $200 per violation (whichever is greater), and pre- and-post

20   judgment interest, along with any other appropriate equitable relief deemed necessary or proper.

21            268.     Further, Plaintiff Daly and the Oregon Class seek recovery of punitive damages

22   from Defendants because Defendants’ conduct was reprehensible. Defendants inflicted economic

23   injury upon Plaintiff and the proposed Class in an intentional manner by, for instance, creating or

24   causing to exist dark patterns on the Amazon Platform in order to prevent user un-subscription

25   from the Amazon Subscriptions by adopting complex cancellation procedures to increase the

26   friction in the subscription cancellation process. In other words, the user interface and experience
27   of the Amazon Platform is fundamentally designed to prevent intentional cancellation, thereby

28   ensuring continued revenues from consumers by trapping them in the ongoing subscription

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 1   purchase.

 2            269.     Defendants utilized their singular control over the Amazon Subscriptions, and their

 3   exclusive knowledge of their omitted or inadequately disclosed policies applicable to subscribers,

 4   to induce Plaintiff Daly and the Oregon Class to purchase the Amazon Subscriptions over

 5   alternative automatic renewal programs for music and television streaming offered by competitors

 6   that feature similar benefits and content and are sold at similar and/or lesser price points.

 7            270.     Under ORS 646.638(3), Plaintiff Daly and Oregon Class members are also

 8   entitled to recover their reasonable attorney fees from Defendants for Defendants’ violations of

 9   Oregon law as detailed herein.

10                                                COUNT III

11                                VIOLATIONS OF THE OREGON UTPA
                                         (ORS 646.608(1)(sss))
12

13                (Pled Alternatively on Behalf of Plaintiff Daly and the Oregon Subclass)

14            271.     Plaintiffs re-allege and incorporate by reference every allegation set forth in the

15   preceding paragraphs as though alleged in this Count.

16            272.     Plaintiff Mark Daly brings this alternative claim individually and on behalf of the

17   members of the proposed Oregon Subclass against Defendants.

18            273.     “The UTPA prohibits businesses from charging customers other types of fees when

19   they are not disclosed in the particular way that the law requires.” Stewart v. Albertson’s, Inc.,

20   308 Or. App. 464, 492 n.17, review denied, 368 Or. 138 (2021); Scharfstein v. BP West Coast

21   Products, LLC, 292 Or. App. 69, 89-90, review denied, 363 Or. 815 (2018) (same); see also Miller

22   v. WinCo Foods, LLC, 2020 WL 6693149, at *7 (D. Or. Sept. 3, 2020), report and recommendation

23   adopted, 2020 WL 6685697 (D. Or. Nov. 12, 2020); Russell v. Ray Klein, Inc., 2019 WL 6137455,

24   at *4 (D. Or. Nov. 19, 2019); Wright v. Kia Motors Am. Inc., 2007 WL 316351, at *3 (D. Or. Jan.

25   29, 2007); Tri-W. Const. Co. v. Hernandez, 43 Or. App. 961, 972 (1979); Sanders v. Francis, 277

26   Or. 593, 598-99 (1977).

27            274.     Defendants violated the FOL under ORS 646.644(5) because, as alleged above, see

28   supra, they have “fail[ed] or refuse[d] to cancel the free offer [where] consumer[s have] used, or

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 1   made reasonable efforts to attempt to use, one of the procedures required by subsection (2)(e) of

 2   this section.” ORS 646.644(5). By way of example, as noted above, Plaintiff Daly attempted to

 3   cancel his Amazon Subscription by calling the toll-free number associated with Defendants’

 4   customer service line (i.e., one the procedures explicitly required by ORS 646.644(2)(e)) to notify

 5   Defendants that he did not authorize—and to request a refund of—the monthly charges he incurred

 6   in April and May of 2022. However, Defendants’ customer service representative told Plaintiff

 7   that they were unable to cancel his Prime subscription for him and denied Plaintiff’s refund request.

 8   Ultimately, Mr. Daly was only able to cancel his Prime subscription and avoid incurring further

 9   renewal charges by circumventing Amazon altogether and going through his financial institution

10   to cancel the Payment Method associated with his Amazon Subscription. Defendants’ “fail[ure]

11   or refus[al] to cancel the free offer” despite Plaintiff Daly’s “reasonable efforts to attempt to use[]

12   one of the procedures required by [ORS 646.644(2)(e)]” is a violation of the FOL under ORS

13   646.644(5).

14            275.     Inasmuch, Plaintiff and Subclass members have sustained an ascertainable loss of

15   money as a result of Defendants’ use or employment of methods, acts, or practices declared

16   unlawful by ORS 646.608(1)(sss) (i.e., Defendants’ conduct in violation of Oregon’s FOL).

17            276.     Because Defendants illegally charged Plaintiff Daly and the Subclass unlawful fees

18   in connection with their enrollments in free trials to the Amazon Subscriptions in violation of the

19   FOL, Plaintiff and Subclass members are entitled to recover statutory damages of $200 per

20   violation of the UTPA under ORS 646.608(1)(sss). See ORS 646.638(1) and (8)(a) (class members

21   can recover “actual damages or statutory damages of $200, whichever is greater”).

22            277.     As alleged above, Defendants’ violations of the UTPA under ORS

23   646.608(1)(sss) as described above were willful, as well as reckless and/or knowing, because, at

24   the time Defendants committed the violations at issue, Defendants knew or should have known

25   that their actions violated the Oregon UTPA. See supra.

26            278.     Accordingly, Plaintiff Daly, individually and on behalf of members of the proposed
27   Oregon Subclass, seeks all monetary and non-monetary relief permitted by law under ORS

28   646.605 et seq., including ORS 646.636 and ORS 646.638(1) and (8), including equitable relief,

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 1   actual damages or statutory damages of $200 per violation (whichever is greater), and pre- and-

 2   post judgment interest, along with any other appropriate equitable relief deemed necessary or

 3   proper.

 4             279.    Under ORS 646.638(3), Plaintiff Daly and Oregon Subclass members are also

 5   entitled to recover their reasonable attorney fees from Defendants for Defendants’ violations of

 6   Oregon law as detailed herein.

 7                                                COUNT IV

 8                    VIOLATIONS OF CALIFORNIA’S UNFAIR COMPETITION LAW
                                (Cal. Bus. & Prof. Code §§ 17200, et seq.)
 9
            (Pled Alternatively on Behalf of Plaintiffs Nacarino, Sylvester, and Sonnenschein, and
10                                           the California Class)

11             280.    Plaintiffs re-allege and incorporate by reference every allegation set forth in the

12   preceding paragraphs as though alleged in this Count.

13             281.    Plaintiffs Daly, Nacarino, Sylvester, and Sonnenschein, (collectively, the

14   “Proposed California Class Representatives”) bring this alternative claim individually and on

15   behalf of the members of the proposed California Class against Defendants.

16             282.    The UCL prohibits unfair competition in the form of “any unlawful, unfair, or

17   fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising and any

18   act[.]” Cal. Bus. & Prof. Code § 17200. The UCL allows “a person who has suffered injury in

19   fact and has lost money or property” to prosecute a civil action for violation of the UCL. Cal. Bus.

20   & Prof. Code § 17204. Such a person may bring such an action on behalf of himself or herself

21   and others similarly situated who are affected by the unlawful and/or unfair business practice or

22   act.

23             283.    As alleged in more detail below, Amazon’s acts and practices alleged herein are

24   “unlawful” within the meaning of the UCL because they violated the following laws, regulations,

25   and rules, including California’s Automatic Renewal Law (the “California ARL”), Cal. Bus. &

26   Prof. Code §§ 17600, et seq., as well as the CLRA, FAL, and all other consumer protection statutes
27   and common laws as asserted in Counts III through IX below.

28

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 1             Violations of California’s Automatic Renewal Law

 2             284.    Additionally, at all relevant times, Defendants have violated, and continue to

 3   violate, the UCL’s proscription against engaging in unlawful conduct as a result of their violations

 4   of the California ARL, Cal. Bus. & Prof. Code §§ 17600, et seq., as alleged in the above paragraphs

 5   of this complaint, which are incorporated herein by reference.

 6             285.    Specifically, Defendants failed, and continue to fail, to provide an acknowledgment

 7   that includes the automatic renewal or continuous service offer terms, cancellation policy, and

 8   information regarding how to cancel in a manner that is capable of being retained by the consumer,

 9   in violation of Cal. Bus. & Prof. Code §§ 17602(a)(3). Defendants also make it exceedingly

10   difficult and unnecessarily confusing for consumers to cancel their Amazon Subscriptions, in

11   violation of Cal. Bus. & Prof. Code § 17602(b).

12             286.    Each of these acts and practices constitutes an independent violation of the ARL,

13   and thus an independent violation of the UCL. That is, each and every monthly charge posted to

14   Plaintiffs’ Payment Methods in connection with the Amazon Subscriptions amounts to a distinct

15   economic injury as a result of Defendants’ continued and further unlawful conduct.

16             287.    Further, each of Defendants’ acts and practices as described violates the UCL in at

17   least two distinct ways, namely, because Defendants’ conduct is both “unlawful” and “unfair.”152

18             288.    First, because Defendants’ acts and practices violate the ARL, they are “unlawful”

19   business practices giving rise to claims under the UCL’s “unlawful” prong.

20             289.    Second, Defendants’ acts and practices give rise to claims under the UCL’s “unfair”

21   prong because all “goods, wares, merchandise, or products” received from Defendants in violation

22

23       152
            “Unfair competition” is defined in the UCL as any one of the following wrongs: (1) an
24   “unlawful” business act or practice; (2) an “unfair” business act or practice; (3) a “fraudulent”
     business act or practice; (4) “unfair, deceptive, untrue or misleading advertising”; and (5) any act
25   prohibited by Cal. Bus. & Prof. Code §§ 17500-17577.5. See Cal. Bus. & Prof. Code § 17200.
     These definitions are disjunctive, and each of the wrongs operates independently from the others.
26   See Cel-Tech Commc’ns, Inc. v. L.A. Cellular Tel. Co., 20 Cal. 4th 163, 180 (1999); see also
     Lepton Labs, LLC v. Walker, 55 F. Supp. 3d 1230, 1242 (C.D. Cal. 2014). “In other words, a
27   practice is prohibited as ‘unfair’ or [‘fraudulent’] even if not ‘unlawful’ and vice versa.” State
     Farm Fire & Cas. Co. v. Super. Ct., 45 Cal. App. 4th 1093, 1102 (1996), abrogated on other
28   grounds by Cel-Tech, 20 Cal. 4th 163.

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 1   of the ARL “shall for all purposes be deemed an unconditional gift153 to the consumer, who may

 2   use or dispose of the same in any manner he or she sees fit without any obligation whatsoever on

 3   the consumer’s part to the business, including, but not limited to, bearing the cost of, or

 4   responsibility for, shipping any goods, wares, merchandise, or products to the business.” Cal. Bus.

 5   Prof. Code § 17603 (the “unconditional gift provision”) (emphasis added). Thus, when Defendants

 6   charged Plaintiffs’ and Class Members’ Payment Methods in connection with the Amazon

 7   Subscriptions, they were withdrawing funds from Plaintiffs’ and Class Members’ Payment

 8   Methods for goods that—by operation of law—Plaintiffs and Class Members already owned,

 9   without any obligation of payment or return of such goods and products, and no right on part of

10   the Defendants to impose restrictions or limitations on Plaintiffs’ and Class Members’ use of such

11   goods and products.

12             290.    As a direct and proximate result of Defendants’ unlawful and/or unfair practices

13   described herein, Defendants have received, and continues to hold, unlawfully obtained property

14   and money belonging to the Proposed California Class Representatives and members of the

15   California Class in the form of payments made by Plaintiffs and the Class for their Amazon

16   Subscriptions. Defendants have profited from their unlawful and/or unfair acts and practices in

17

18       153
              According to Black’s Law Dictionary, the term “gift” refers to, in relevant that: (1) “[a]
19   voluntary transfer of personal property without consideration”; and (2) “[a] voluntary conveyance
     of land, or transfer of goods, from one person to another, made gratuitously, and not upon any
20   consideration of blood or money.” Gift, BLACK’S LAW DICTIONARY (4th ed. 1968), at p. 817,
     https://www.latestlaws.com/wp-content/uploads/2015/04/Blacks-Law-Dictionery.pdf; see also id.
21   at p. 379 (explaining that “consideration” is “[a]ny benefit conferred, or agreed to be conferred,
     upon the promisor, by any other person, to which the promisor is not lawfully entitled, or any
22   prejudice suffered, or agreed to be suffered, by such person, other than such as he is at the time of
     consent lawfully bound to suffer, as an inducement to the promisor” and noting that, “doing only
23   of what one is already under obligation to do is not ‘consideration’ for a contract”). Similarly, the
     People’s Law Dictionary defines “gift” as “the voluntary transfer of property (including money)
24   to another person completely free of payment or strings while both the giver and the recipient are
     still alive.” Gift, THE PEOPLE’S LAW DICTIONARY, https://dictionary.law.com/ (emphasis added);
25   accord Ctr. for Env’t Sci., Accuracy & Reliability v. Sacramento Reg’l Cnty. Sanitation Dist., 2016
     WL 8730775, at *4 (E.D. Cal. June 3, 2016) (“‘Give’ means to “voluntarily transfer (property) to
26   another without compensation’ or ‘to present for another to consider’ Give, Black’s Law
     Dictionary (10th ed. 2014). Merriam-Webster defines ‘given’ as ‘presented as a gift: bestowed
27   without compensation.’ Given [Def. 2], Merriam-Webster.com[.]”). See also Cal. Civ. Code §
     1148 (“A gift, other than a gift in view of impending death, cannot be revoked by the giver.”)
28   (emphasis added).

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 1   the amount of those business expenses and interest accrued thereon. Thus, the Proposed California

 2   Class Representatives have suffered injury in fact and lost money or property as a result of

 3   Amazon’s violations of the California ARL.

 4            Violations of Other California Statutes and Common Laws

 5            291.     Furthermore, as alleged below, Defendants have committed unlawful and/or unfair

 6   business practices under the UCL by: (a) making or disseminating untrue or misleading

 7   advertisements in violation of Cal. Bus. & Prof. Code §§ 17500, et seq.; (b) representing that

 8   Defendants’ goods and services have certain characteristics that they do not, in violation of Cal.

 9   Civil Code § 1770(a)(5); (c) advertising goods and services with the intent not to sell them as

10   advertised, in violation of Cal. Civil Code § 1770(a)(9); and (d) converting to Defendants’ own

11   use and benefit money that rightfully belongs to the Proposed California Class Representatives

12   and members of the California Class.

13            292.     Defendants’ acts and omissions as alleged herein violate obligations imposed by

14   statute, are substantially injurious to consumers, offend public policy, and are immoral, unethical,

15   oppressive, and unscrupulous as the gravity of the conduct outweighs any alleged benefits

16   attributable to such conduct.

17            293.     There were reasonably available alternatives to further Defendants’ legitimate

18   business interests, other than the conduct described herein.

19            294.     Defendants’ acts, omissions, nondisclosures, and misleading statements as alleged

20   herein were and are false, misleading, and/or likely to deceive the consuming public.

21            295.     Plaintiffs and the members of the Class have suffered a substantial injury in fact

22   and lost money by virtue of Defendants’ acts of unfair competition, which caused them to purchase

23   the Amazon Subscriptions. Had Defendants complied with their disclosure obligations under the

24   ARL, Plaintiffs and members of the Class would not have purchased their Amazon Subscriptions

25   or would have cancelled their Amazon Subscriptions prior to the renewal of the subscriptions, so

26   as not to incur additional fees. Thus, Plaintiffs and members of the Class were damaged and have
27   suffered economic injuries as a direct and proximate result of Defendants’ unlawful and/or unfair

28   business practices.

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 1            296.     Defendants’ violations have continuing and adverse effects because Defendants’

 2   unlawful conduct is continuing, with no indication that Defendants intend to cease this unlawful

 3   course of conduct. The public and the Class are subject to ongoing harm because the unlawful

 4   and/or unfair business practices associated with the Amazon Subscriptions are still used by

 5   Defendants today.

 6            297.     Plaintiffs and the Class seek restitution pursuant to Cal. Bus. & Prof. Code § 17203

 7   of all amounts that Defendants charged or caused to be charged to Plaintiffs’ and the Class’s

 8   Payment Methods in connection with their Amazon Subscriptions during the four years preceding

 9   the filing of this Complaint. Defendants should be required to disgorge all the profits and gains

10   they have reaped and to restore such profits and gains to Plaintiffs and the Class, from whom the

11   monies were unlawfully taken.

12            298.     Pursuant to Cal. Bus. & Prof. Code § 17203, Plaintiffs and members of the

13   California Class seek a court order enjoining Defendants from such future misconduct, and any

14   other such orders that may be necessary to rectify the unlawful business practices of Defendants.

15            299.     The Proposed California Class Representatives, individually and on behalf of

16   similarly situated California consumers, bring this action as private attorneys general and to

17   vindicate and enforce an important right affecting the public interest. Plaintiffs and the California

18   Class are therefore entitled to an award of attorneys’ fees under Code of Civil Proc. § 1021.5 for

19   bringing this action.

20                                                 COUNT V

21                    VIOLATIONS OF CALIFORNIA’S FALSE ADVERTISING LAW
                               (Cal. Bus. & Prof. Code §§ 17500, et seq.)
22

23         (Pled Alternatively on Behalf of Plaintiffs Nacarino, Sylvester, and Sonnenschein and
                                            the California Class)
24
              300.     Plaintiffs re-allege and incorporate by reference every allegation set forth in the
25
     preceding paragraphs as though alleged in this Count.
26
              301.     The Proposed California Class Representatives bring this alternative claim
27
     individually and on behalf of the members of the proposed California Class against Defendants.
28

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 1            302.     California’s False Advertising Law (“FAL”), Cal. Bus. & Prof. Code §§ 17500, et

 2   seq., makes it “unlawful for any person to make or disseminate or cause to be made or disseminated

 3   before the public in this state, … in any advertising device … or in any other manner or means

 4   whatever, including over the Internet, any statement, concerning … personal property or services,

 5   professional or otherwise, or performance or disposition thereof, which is untrue or misleading

 6   and which is known, or which by the exercise of reasonable care should be known, to be untrue or

 7   misleading.” Cal. Bus. & Prof. Code § 17500.

 8            303.     Defendants committed acts of false advertising, as defined by § 17500, by

 9   intentionally making and disseminating statements to consumers in California and the general

10   public concerning Defendants’ products and services, as well as circumstances and facts connected

11   to such products and services, which are untrue and misleading on their face and by omission, and

12   which are known (or which by the exercise of reasonable care should be known) by Defendants to

13   be untrue or misleading. Defendants have also intentionally made or disseminated such untrue or

14   misleading statements and material omissions to consumers in California and to the public as part

15   of a plan or scheme with intent not to sell those services as advertised.

16            304.     Defendants’ statements include but are not limited to representations and omissions

17   made to consumers after enrollment in Defendants’ Amazon Subscriptions regarding the terms of

18   payment for and cancellation of a consumer’s automatic payments. For instance, Defendants’

19   represents on the Acknowledgment Email that members can “cancel [their Amazon Subscriptions]

20   anytime” is contradicted by their policy set forth elsewhere in the Amazon Website that customers

21   must cancel their Amazon Subscriptions prior to the next charge. In light of Defendants’ disclosure

22   of the former and silence as to the latter in the Acknowledgment Email for the Amazon

23   Subscriptions, the representations and omissions in the Acknowledgment Email constitute false

24   and deceptive advertisements.

25            305.     Defendants’ actions in violation of § 17500, as described herein, were false and

26   misleading such that the general public is and was likely to be deceived.
27            306.     Plaintiffs and the members of the California Class were deceived by Defendants’

28   statements and omissions made in the Acknowledgment Emails, and other California consumers

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 1   and members of the public were also or are likely to be deceived as well. Any reasonable consumer

 2   would be misled by Defendants’ false and misleading statements and material omissions.

 3   Plaintiffs and other members of the Class relied on Defendants’ statements and omissions to their

 4   detriment.

 5            307.     Plaintiffs and the California Class lost money or property as a result of Defendants’

 6   FAL violations because they would have cancelled their Amazon Subscriptions earlier if the true

 7   facts were known about the product and the Amazon Subscriptions do not have the characteristics

 8   as promised by Defendants.

 9            308.     The Proposed California Class Representatives, individually and on behalf of all

10   similarly situated California consumers, seeks individual, representative, and public injunctive

11   relief and any other necessary orders or judgments that will prevent Defendants from continuing

12   with their false and deceptive advertisements and omissions; restitution that will restore the full

13   amount of their money or property; disgorgement of Defendants’ relevant profits and proceeds;

14   and an award of costs and reasonable attorneys’ fees.

15                                                 COUNT VI

16             VIOLATIONS OF CALIFORNIA’S CONSUMERS LEGAL REMEDIES ACT
                                (Cal. Civ. Code §§ 1750, et seq.)
17

18         (Pled Alternatively on Behalf of Plaintiffs Nacarino, Sylvester, and Sonnenschein and
                                            the California Class)
19
              309.     Plaintiffs re-allege and incorporate by reference every allegation set forth in the
20
     preceding paragraphs as though alleged in this Count.
21
              310.     The Proposed California Class Representatives bring this alternative claim
22
     individually and on behalf of the members of the proposed California Class against Defendants.
23
     As noted supra, with respect to Plaintiffs’ alternative CLRA claims alleged in this Count, all
24
     “Amazon Subscriptions” as defined above are products at issue except for subscription programs
25
     not specified in the Pre-suit Notice Letter sent by Plaintiffs Daly, Nacarino, Sylvester, and
26
     Sonnenschein—namely, ComiXology, Blink, Prime Video Channels, and Book Box.
27
              311.     Plaintiffs and the members of the California Class are “consumers” within the
28

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 1   meaning of Cal. Civil Code § 1761(d) in that Plaintiffs and the Class sought or acquired

 2   Defendants’ goods and/or services for personal, family, or household purposes.

 3            312.     Defendants’ selection and/or subscription offers and the video, music, and other

 4   products pertaining thereto are “goods” and/or “services” within the meaning of Cal. Civil Code §

 5   1761(a) and (b). The purchases by Plaintiffs and the California Class are “transactions” within the

 6   meaning of Cal. Civil Code § 1761(e).

 7            313.     The acts and practices of Defendants as described above were intended to deceive

 8   Plaintiffs and the California Class as described herein, and have resulted, and will result, in

 9   damages to Plaintiffs and the California Class. These actions violated, and continue to violate, the

10   CLRA in at least the following respects: (a) Defendants’ acts and practices constitute

11   representations or omissions deceiving that the Amazon Subscriptions have characteristics, uses,

12   and/or benefits, which they do not, in violation of Cal. Civil Code §1770(a)(5); and (b) Defendants’

13   acts and practices constitute the advertisement of the goods in question without the intent to sell

14   them as advertised, in violation of Cal. Civil Code § 1770(a)(9).

15            314.     Plaintiffs and the California Class suffered economic injury as a direct result of

16   Defendants’ misrepresentations and/or omissions because they were induced pay renewal fees they

17   would not have otherwise purchased and/or paid. Had Defendants fully and clearly disclosed the

18   terms associated with the Amazon Subscriptions in the Acknowledgment email, Plaintiffs and the

19   Class would have cancelled their Amazon Subscriptions earlier, i.e., prior to the expiration of the

20   initial subscription period.

21            315.     Plaintiffs, on behalf of themselves and all other members the California Class, seek

22   an injunction prohibiting Defendants from continuing their unlawful practices in violation of the

23   CLRA.

24            316.     In compliance with the provisions of California Civil Code § 1782, Plaintiff

25   Nacarino sent written notice to Defendant Amazon.com, Inc., on September 8, 2021, informing

26   Defendants of her intention to seek damages under California Civil Code § 1750. The letter was
27   sent via certified mail, return receipt requested, and it advised Defendants that they were in

28   violation of the CLRA and demanded that Defendants cease and desist from such violations and

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 1   make full restitution by refunding the monies received therefrom. The letter expressly stated that

 2   it was sent on behalf of Plaintiff Nacarino and “all other persons similarly situated.” The letter

 3   was delivered to Defendants on September 13, 2021, as reflected by the proof of delivery issued

 4   by the United States Postal Service. Defendants did not take action to rectify the injuries caused

 5   by their unlawful conduct as described in the 9/8/21 letter and above on a class-wide basis within

 6   30 days of receipt of the letter. Accordingly, Plaintiffs Nacarino, Sylvester, and Sonnenschein

 7   individually and on behalf of the proposed California Class, seek monetary damages from

 8   Defendants as permitted by Civil Code § 1782(d) for Defendants’ violations of the CLRA.

 9                 Alternative Count on Behalf of Plaintiff Adams and the Virginia Class

10                                                COUNT VII

11                    VIOLATIONS OF VIRGINIA’S CONSUMER PROTECTION ACT
                                    (Va. Code §§ 59.1-200(A)(58))
12

13                   (Pled Alternatively on Behalf of Plaintiff Adams and the Virginia Class)

14            317.     Plaintiffs re-allege and incorporate by reference every allegation set forth in the

15   preceding paragraphs as though alleged in this Count.

16            318.     Plaintiff Cynthia Adams brings this alternative claim individually and on behalf of

17   the members of the proposed Virginia Class against Defendants.

18            319.     The Virginia Consumer Protection Act (“VCPA”), which was enacted in 1977 and

19   is codified at Va. Code § 59.1-196, et seq., is a remedial statutory scheme enacted as a

20   comprehensive statute for the protection of consumers from unlawful trade practices. The VCPA

21   prohibits unlawful practices in the course of the person’s business, vocation, or occupation with

22   respect to both general and specific conduct. Specifically proscribed conduct is set forth under

23   Section 59.1-200, which has 72 subsections and many of which refer to other provisions of the

24   Code of Virginia. See Va. Code § 59.1-200(A)-(B).

25            320.     The VCPA authorizes private civil actions. Pursuant to Section 59.1-204(A) of the

26   VCPA, “[a]ny person who suffers loss as the result of a violation of this chapter shall be entitled
27   to initiate an action to recovery actual damages, or $500, whichever is greater.” Va. Code § 59.1-

28   204(A).

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 1            321.     Each Defendant is a “Person” as defined in Va. Code § 59.1-198.

 2            322.     The Amazon Subscriptions are goods as defined by Va. Code § 59.1-198, because

 3   they constitute products that may be obtained primarily for personal, family, or household uses.

 4            323.     Defendants violated, and continue to violate, the ARL because, at all relevant times,

 5   they failed, and continue to fail, to provide an acknowledgment that includes the automatic renewal

 6   or continuous service offer terms, cancellation policy, and information regarding how to cancel in

 7   a manner that is capable of being retained by the consumer, in violation of Va. Code § 59.1-

 8   207.46(A)(3). Defendants also make it exceedingly difficult and unnecessarily confusing for

 9   consumers to cancel their Amazon Subscriptions, in violation of Va. Code § 59.1-207.46(B).

10            324.     Defendants’ noncompliance with the Virginia ARL is a direct violation of VCPA.

11   See Va. Code § 59.1-200 (“(A) The following fraudulent acts or practices committed by a supplier

12   in connection with a consumer transaction are hereby declared unlawful: … (58) Violating any

13   provision of Chapter 17.8 (§ 59.1-207.45, et seq.)”).

14            325.     Each of these acts and practices constitutes an independent violation of the Virginia

15   ARL, and thus an independent violation of the Section 59.1-200 of the VCPA.

16            326.     As discussed above, Defendants were prohibited from making the automatic

17   renewal charges to Plaintiff Adams’s and Virginia Class members’ Payment Methods without,

18   inter alia, providing the consumer with “an acknowledgment that includes the automatic renewal

19   or continuous service offer terms, cancellation policy, and information regarding how to cancel in

20   a manner that is capable of being retained by the consumer.” Va. Code § 59.1-207.46(A)(3) (“No

21   supplier making an automatic renewal or continuous service offer to a consumer in the

22   Commonwealth shall do any of the following: ….”). Additionally, the Virginia ARL explicitly

23   requires that Defendants “provide a toll-free telephone number, an electronic mail address, a postal

24   address only when the supplier directly bills the consumer, or another cost-effective, timely, and

25   easy-to-use mechanism for cancellation that shall be described in the acknowledgment specified

26   in subdivision A 3.” Va. Code § 59.1-207.46(B). Nevertheless, Defendants failed to comply with
27   either requirement, in violation of the Virginia ARL.

28            327.     Moreover, pursuant to the ARL, all products received from Defendants in violation

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 1   of the ARL “shall for all purposes be deemed an unconditional gift to the consumer.” Va. Code §

 2   59.1-207.47. In other words, once Defendants tendered, and Plaintiff Adams and Virginia Class

 3   members were provided access to, the “goods, wares, merchandise or products” of the Amazon

 4   Subscriptions (i.e., their benefits) vis-à-vis their activation, Plaintiff and Class members assumed

 5   title and ownership over such goods as their property, at which point Plaintiff and Class members

 6   were vested with the right to “use or dispose of them in any manner the[y] see[] fit without any

 7   obligation to [Defendants.]” Id.

 8            328.     Thus, by ultimately revoking Plaintiff Adams’s and other similarly situated Class

 9   members’ access to such goods once recurring payments were eventually stopped, Defendants

10   wrongfully deprived Plaintiff Adams and Virginia Class members of their property.

11            329.     Plaintiff Adams thus has sustained an ascertainable loss of money and property as

12   a result of Defendants’ use or employment of methods, acts, or practices declared unlawful by

13   Va. Code § 59.1-200 (i.e., Defendants’ conduct in violation of Virginia’s ARL).

14            330.     Because Defendants illegally charged Plaintiff Adams and the Virginia Class

15   unlawful fees in connection with the Amazon Subscriptions in violation of the Virginia ARL,

16   Plaintiff Adams and Virginia Class members are entitled to recover statutory damages of $500 per

17   violation of the VCPA under Va. Code § 59.1-204(A). See Va. Code § 59.1-204(A) (class

18   members can recover “actual damages, or $500, whichever is greater”).

19            331.     In the alternative, Defendants’ unlawful conduct as described above caused

20   Plaintiff Adams’s and Virginia Class members’ ascertainable loss because Defendants’ acts and

21   practices were intended to deceive Plaintiff and the Class, and—as a result of Plaintiff Adams’s

22   and Virginia Class members’ reasonable reliance on Defendants’ omissions of material offer terms

23   required to be disclosed by the Virginia ARL—they have resulted, and will continue to result, in

24   damages to Plaintiff Adams and the Virginia Class in the form of ascertainable loss on money and

25   property.

26            332.     As a direct and proximate result of Defendants’ unlawful practices described
27   herein, Defendants have received, and continues to hold, unlawfully obtained property and money

28   belonging to Plaintiff Adams and the Virginia Class in the form of recurring payments collected

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 1   from Plaintiff and Class members in connection with their Amazon Subscriptions. Defendants

 2   have profited from their unlawful acts and practices in the sum total amount of such recurring

 3   payments that were collected by Defendants during the relevant time period, and any and all

 4   interest accrued thereon. If Defendants had complied with the Virginia ARL, Defendants would

 5   not have made the unlawful charges, and would not have obtained these monies from Plaintiff

 6   Adams and the Virginia Class.

 7            333.     As alleged above, Defendants’ violations of the VCPA under Va. Code § 59.1-200

 8   as described above were willful, as well as reckless and/or knowing, because, at the time

 9   Defendants committed the violations at issue, Defendants knew or should have known that their

10   actions violated the Virginia VCPA. Therefore, because Defendants willfully charged Plaintiff

11   Adams and the Virginia Class unlawful fees in connection with the Amazon Subscriptions in

12   violation of the Virginia ARL, Plaintiff Adams and Virginia Class members are entitled to recover

13   statutory damages of $1,000 per violation of the VCPA under Va. Code § 59.1-204(A). See id.

14   (“If the trier of fact finds that the violation was willful, it may increase damages to an amount not

15   exceeding three times the actual damages sustained, or $1,000, whichever is greater.”).

16            334.     Accordingly, Plaintiff Adams, individually and on behalf of similarly situated

17   Virginia consumers, seeks all monetary and non-monetary relief permitted by law under Va. Code

18   § 59.1-200 et seq., including Va. Code § 59.1-204(A), including equitable relief, actual damages

19   or statutory damages of $1,000 per violation (whichever is greater), and pre- and-post judgment

20   interest, along with any other appropriate relief deemed necessary or proper.

21            335.     Further, Plaintiff Adams and the Virginia Class seek recovery of punitive damages

22   from Defendants because Defendants’ conduct was reprehensible. Defendants inflicted economic

23   injury upon Plaintiff and the proposed Class in an intentional manner by, for instance, creating or

24   causing to exist dark patterns on the Amazon Platform in order to prevent user un-subscription from

25   the Amazon Subscriptions by adopting complex cancellation procedures to increase the friction in

26   the subscription cancellation process. In other words, the user interface and experience of the
27   Amazon Platform is fundamentally designed to prevent intentional cancellation, thereby ensuring

28   continued revenues from consumers by trapping them in the ongoing subscription purchase.

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 1            336.     Defendants utilized their singular control over the Amazon Subscriptions, and their

 2   exclusive knowledge of their omitted or inadequately disclosed policies applicable to subscribers,

 3   to induce Plaintiff Adams and the Virginia Class to purchase the Amazon Subscriptions over

 4   alternative automatic renewal programs for music and television streaming offered by competitors

 5   that feature similar benefits and content and are sold at similar and/or lesser price points.

 6            337.     Under Va. Code § 59.1-204(B), Plaintiff Adams and Virginia Class members are

 7   also entitled to recover their reasonable attorney fees from Defendants for Defendants’ violations

 8   of Virginia law as detailed herein.

 9                                       JURY TRIAL DEMANDED

10            Plaintiffs hereby demand a trial by jury.

11                                         PRAYER FOR RELIEF
12            WHEREFORE, Plaintiffs pray for judgment against Amazon, i.e., the Amazon Defendants,
13   as follows:
14            A.       That the Court determine that this action may be maintained as a class action
15   under Rules 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, appoint Plaintiffs as
16   Class Representatives and their counsel of record as Class Counsel, and direct that notice of this
17   action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be given to the
18   Class, once certified;
19            B.       That the Court issue an order enjoining Amazon’s use of dark patterns in the
20   Amazon Subscriptions cancellation process(es), including the Amazon Prime cancellation
21   process, and ordering Amazon to simplify its cancellation process as it has done in Europe;
22            C.       That the Court award actual damages in an amount to be determined at trial;
23            D.       That the Court award treble damages pursuant to Wash. Rev. Code § 19.86.090;
24            E.       That the Court award damages, including treble or other multiple damages, as
25   available under the other state laws relied upon in the alternative herein;
26            F.       That the Court issue an order requiring Amazon to pay both pre- and post-
27   judgment interest on any amounts awarded; and
28            G.       That the Court award such other or further relief as may be appropriate.
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 1   DATED this 19th day of April, 2024.    Respectfully submitted,

 2                                          HAGENS BERMAN SOBOL SHAPIRO LLP

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 1   DATED this 19th day of April, 2024.    Respectfully submitted,

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22                                          * Pro Hac Vice Application Forthcoming

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